       Case 1:18-cv-21914-RNS Document 31-8
                                        1   Entered on FLSD Docket 05/21/2019 Page 1 of 43
                                                                                                                                      3
  1
                    UNITED STATES DISTRICT COURT                             1   Thereupon,
  2                 SOUTHERN DISTRICT OF FLORIDA
                                                                             2               SALLY KOLITZ RUSSELL, PH.D.,

  3                 CASE NO:          18-21914-CIV-SCOLA                     3   was called as a witness and, having been first duly

                                                                             4   sworn, was examined and testified as follows:
  4
      CHARLENE MAJOR,                                                        5                 THE WITNESS:    Yes.
  5
                                                                             6                    DIRECT EXAMINATION
             Plaintiff,
  6                                                                          7   BY MR. PELAEZ:
      vs.
  7                                                                          8          Q.     Good morning, Dr. Russell.       My name is
      CARNIVAL CORPORATION,                                                  9   Victor Pelaez.       I'm an attorney with Mase Mebane &
  8
           Defendant.                                                      10    Briggs, and I represent the defendant, Carnival
  9   _______________________________/                                     11    Corporation, in a lawsuit that's been filed by Ms.

 10                                                                        12    Charlene Major.       You're aware of that lawsuit;

                                                                           13    correct?
 11
                   OFFICES OF DR. SALLY KOLITZ RUSSELL                     14           A.     Yes.
 12                9350 South Dixie Highway
                                                                           15           Q.     Okay.    And just jumped into it.   Can
                  Suite 1260
 13               Miami, Florida 33156                                     16    you please state your full name for the record.
                  Friday, 9:50 a.m.
                                                                           17           A.     Dr. Sally Lynn Kolitz Russell.
 14               May 17, 2019
                                                                           18           Q.     Okay.    Dr. Russell, can you please
 15
                                                                           19    tell me, when were you first contacted about
 16
 17              DEPOSITION OF DR. SALLY KOLITZ RUSSELL                    20    serving as an expert witness in this matter?
 18
 19         Taken before Corinne Grassini, Florida                         21           A.     Okay.    Let me look at this file here.
 20   Professional Reporter, Notary Public in and for the                  22    There should be -- my office manager takes an
 21   State of Florida at Large, pursuant to Notice of
 22   Taking Deposition filed in the above case.                           23    intake sheet, but I can tell you the retainer date.
 23                                                                        24    You'd have to ask her when the call first came in,
 24
 25                                                                        25    because she has a sheet of paper, probably, with
                                                             2
  1   APPEARANCES:                                                                                                                    4

  2   ON BEHALF OF THE PLAINTIFF:                                            1   it.
      DIMOND KAPLAN & ROTHSTEIN, P.A.
  3   Offices of Grand Bay Plaza                                             2          Q.     Well, when were you first retained,
      2665 South Bayshore Drive
  4   PH-2B                                                                  3   then, officially?
      Miami, Florida 33133
  5   BY: Christopher M. Drury, Esquire                                      4          A.     Okay.    This says November 8th, 2018.

                                                                             5          Q.     And who were you retained by?
  6   MEISTER LAW, LLC
      Courthouse Tower
                                                                             6          A.     Ms. Meister.
  7   Suite 750
      44 West Flagler Street
                                                                             7          Q.     And what was the nature of the
  8   Miami, Florida 33130
      BY: Tonya J. Meister, Esquire                                          8   assignment for which you were retained in this
  9
                                                                             9   matter?
 10   ON BEHALF OF THE DEFENDANT:
      MASE MEBANE & BRIGGS, P.A.                                           10           A.     I was to conduct a neuropsychological
 11   2601 South Bayshore Drive
      Suite 800                                                            11    evaluation.
 12   Miami, Florida 33133
      BY: Victor J. Pelaez, Esquire                                        12           Q.     Can you tell us what a
 13
                                                                           13    neuropsychological evaluation entails?
 14                  - - - - - -
                                                                           14           A.     It entails testing every part of the
 15                       I N D E X
                                                                           15    brain that is testable with approximately eight
 16              - - - - - -
      SALLY KOLITZ RUSSELL, PH.D.                     PAGE                 16    hours of testing, including one hour or more,
 17   Direct Examination By Mr. Pelaez
      Cross-Examination By Mr. Drury                                       17    depending, of a clinical history or interview.           And
 18
                    EXHIBITS FOR IDENTIFICATION                            18    prior to that, reading whatever information is sent
 19
      PLAINTIFF'S                PAGE                                      19    to me, and then writing a report.
 20   No. 1 SIMS
      No. 2 TSI-2                                                          20           Q.     So you mentioned this involves about
 21   No. 3 WPS
      No. 4 Composite                                                      21    eight hours of testing; correct?
 22   No. 5 Composite
      No. 6 Expert Witness Testimony                                       22           A.     Correct.
 23   No. 7 Curriculum Vitae
                                                                           23           Q.     In this case, were those eight hours
 24   DEFENDANT'S                PAGE
      No. 1 Neuropsychological Evaluation                                  24    spread over multiple days or was all of the testing
 25
                                                                           25    performed on the same day?

1 of 43 sheets                                                   Page 1 to 4 of 115                                      05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 2 of 43
                                                        5                                                          7
 1             A. No. It was spread out. We never              1   just see what the -- it looks like the first
 2   perform on the same day -- all on the same day. It        2   reading was 6.75 hours, and deducted the $2,000
 3   was spread out, 11-14 and 11-15-2018.                     3   retainer for the reading. So that left $1,712.50.
 4             Q. How many hours of testing was                4   So those two were the reading bills.
 5   performed on the plaintiff, Ms. Major, on each of         5           Q. How much have you charged to date for
 6   those two dates?                                          6   all of your services as an expert witness in this
 7             A. I'll have to look at the schedule. It        7   matter?
 8   probably was -- but I don't want to say. You want         8           A. I could ask my office manager to --
 9   me to ask Lisa to look at 11-14 and 11-15 --              9           Q. Is it just --
10             Q. If you don't recall, then yes.              10           A. -- add it up, because I can't.
11             A. Yeah, I don't recall. I mean, we            11           Q. Okay. But it's just those invoices
12   split it up, but I don't recall if it's five and         12   which we've now discussed, the 7,920, then the
13   four or four and five.                                   13   8,912.50 for reading and review of documents, and
14             Q. Okay. We'll take a quick break.             14   then another 1,712.50 for the initial review of the
15             A. I always do the interview first, so --      15   documents?
16   the first day.                                           16           A. It looks like that's what it is, but
17                  MR. PELAEZ: Off the record.               17   additionally, deposition preparation was $2,900,
18                  (Thereupon, a short recess was taken.)    18   which included the preparation and a preparation
19                  THE WITNESS: Four hours on the 14th,      19   for the deposition. So that was 2,900. She can
20             after two hours, an hour lunch break, and      20   add it up easily, if you want me to give it to her.
21             then two hours after lunch. And then on        21           Q. And you also had a $2,000 initial
22             the 15th, five hours, three hours, then an     22   retainer, which was applied to the first reading of
23             hour lunch break, and then two hours.          23   documents; correct?
24   BY MR. PELAEZ:                                           24           A. Correct. Correct.
25             Q. Okay. So it was about nine hours of         25           Q. So what I've got then is 7,920 for the
                                                        6                                                          8
 1   testing in total then?                                    1   evaluation, scoring and testing, then 8,912.50 for
 2             A. Well, the first hour or so was the           2   the additional reading and review of documents,
 3   interview, and her interview with me was almost two       3   1,712.50 for the initial review of documents, plus
 4   hours.                                                    4   the 2,000 retainer --
 5             Q. What areas do you hold yourself out as       5           A. Correct.
 6   an expert in?                                             6           Q. -- which was provided up front, and
 7             A. Neuropsychology and clinical                 7   then an additional 2,900 for your preparation for
 8   psychology.                                               8   today's deposition; correct?
 9             Q. How much are you being paid by the           9           A. Yes. The 7,920 for the
10   plaintiff's counsel for your services in this            10   neuropsychological evaluation included the $2,000,
11   matter?                                                  11   because the evaluation is 5,920. And then the
12             A. This is the financial file. Let's           12   2,000 is a refundable retainer towards the reading.
13   see. The neuropsychological evaluation, including        13           Q. Okay. Understood.
14   the reading, which is $2,000 of a refundable             14                How much of your work is currently
15   retainer, and two hours of scoring and five hours        15   dedicated to serving -- to cases where you're
16   for a report was 7,920. Then -- there was a lot of       16   involved as an expert witness, like you are here
17   reading, so I have to go through all the bills here      17   today?
18   for the reading. If you want me to do that, I            18           A. It's hard for me to say, but it's so
19   will.                                                    19   labor intensive that the way I answer it is 60 to
20             Q. Yes, please.                                20   70 percent, because when I have private cases, it's
21             A. It looks like there's a bill here for       21   a matter of reading a physician's report, doing
22   15.50 hours of reading at 575 per hour, which was        22   testing and issuing a report, and that's it.
23   $8,912.50. That was the last reading I did. But          23           Q. Do you still maintain a clinical
24   there was another, because I had a lot of records        24   practice outside of expert work?
25   to read after I issued the report, too. And let me       25           A. I go by what our professional
05/20/2019 12:26:12 AM                              Page 5 to 8 of 115                                      2 of 43 sheets
       Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 3 of 43
                                                       9                                                              11
 1    organizations say in the position papers. Test or         1   I was also part-time at the VA Hospital on the
 2    treatment, never both. So there's -- I have               2   psychology staff.
 3    treated in the past, before I got involved in legal       3           Q. How many cases do you currently have
 4    work, but not for 15 years has this office ever           4   where you're serving as an expert witness on behalf
 5    made any income from treatment. Everything's              5   of clients who are represented by either Mr. Drury
 6    referred out of the office. And that's what the           6   or Ms. Meister?
 7    National Academy of Neuropsychology, the American         7           A. I never worked with Ms. Meister before
 8    Psychological Association, the International              8   that I know of.
 9    Neuropsychological Association -- I'm trying to           9                Mr. Drury, I was just informed that he
10    think of everything I belong to. That is in our         10    was on a case that I didn't realize he was on.
11    position papers, because we don't want to be an         11    Whether I've had more cases that you've been on, I
12    advocate for anyone we test. And when you treat,        12    don't really know, because sometimes there are two
13    you become an advocate.                                 13    or three attorneys and I don't even know who's on
14             Q. So then 60 to 70 percent of the work        14    the case. But I don't think it's been very many
15    that you've performed, all of the work involves         15    with Mr. Drury. A couple. I don't know.
16    testing?                                                16                 MR. DRURY: I don't think I've ever
17             A. All of the work is psychological            17            actually retained you.
18    testing, neuropsychological testing, sometimes          18                 THE WITNESS: Oh, okay. So he's never
19    reading for a review of records and giving a verbal     19            actually retained me.
20    report or a written report, research, I'm involved      20                 MR. DRURY: Yes. I worked on that
21    in writing for professional journals. What else?        21            case, the Atkins case.
22    That's about it.                                        22                 THE WITNESS: That, you worked on.
23             Q. What percentage of your overall income      23                 And Ms. Meister, I didn't meet until
24    is derived from work on cases in which you're           24            today.
25    serving as an expert witness in legal matters?          25
                                                   10                                                              12
 1            A. Well, I would think it would have to           1   BY MR. PELAEZ:
 2    be about the same as, you know, the 60 to                 2            Q. Okay.
 3    70 percent.                                               3                   MR. DRURY: And I think this was the
 4            Q. Okay. In those cases in which you're           4            first time we've met face-to-face.
 5    serving as an expert witness, what is the breakdown       5                   THE WITNESS: Oh, yes. Exactly.
 6    in terms of the percentages of those cases in which       6   BY MR. PELAEZ:
 7    you serve as an expert on behalf of plaintiffs,           7            Q. So you met with Ms. Major, then, the
 8    like you're doing here today, versus cases where          8   plaintiff in this case, for the first time on
 9    you're serving as an expert on behalf of                  9   November 14, 2018; is that correct?
10    defendants?                                             10             A. That's correct.
11            A. As best we can figure it out in the          11             Q. Okay. And on that day, you performed
12    past few years, 50/50 right down the line.              12    your initial clinical interview of Ms. Major;
13            Q. When did you first start working as an       13    correct?
14    expert witness in lawsuits and legal matters?           14             A. That's correct.
15            A. Well, I know the first few years, when       15             Q. And I believe you stated the clinical
16    I got my degree and passed the boards, Dr. Elbert       16    interview lasted for about two hours; correct?
17    Russell did all of the legal work for the first         17             A. Almost, yes.
18    couple of years, because I wouldn't go near it. To      18             Q. What did you discuss with Ms. Major
19    be -- you know, when I was green, I didn't want to      19    during that two-hour initial interview?
20    start that. So I would say it was at least 1993,        20             A. Let me just get to my interview part.
21    approximately 1993, 1994 that I began serving as an     21    On page 8 of my report is where it begins, and I
22    expert witness. And that's not exact. I can't           22    discussed her family history, her parental history,
23    tell you. But I know that Dr. -- the other              23    her husband, and what was going on with him, her
24    Dr. Russell was an expert witness for at least two      24    children. Then we discussed educational history
25    or three years when I started my practice, because      25    and work history, and then we went on to questions
3 of 43 sheets                                      Page 9 to 12 of 115                                05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 4 of 43
                                                        13                                                               15
 1   that I normally use that are questions of sensory,           1           Q. What conditions did you --
 2   eyesight, hearing, balance, coordination, these are          2           A. Well, let me just go back to --
 3   things I have to establish in the beginning,                 3           Q. -- did you see in her medical history?
 4   because if someone says they can't see, obviously            4           A. -- her history. Preaccident, which
 5   the tests I can't give, or they can't hear or they           5   begins on page 1. So I -- as I've listed with the
 6   can't coordinate with their fingers. So that was             6   UCSF Medical Center in 2011, I reviewed things
 7   the first part.                                              7   about the hearing loss, hypertension, knee pain,
 8                 Then I question about medical and              8   anemia, eczema, anxiety, being placed on diazepam,
 9   psychological history pre incident. And after                9   then I went to the Permanente Medical Group and
10   that, medications, any kind of -- well, I said              10   read the records about her suffering from some
11   psychological or psychiatric treatment. Then                11   anxiety, her prediabetes, osteoarthritis of her
12   anything in her life that she wants to tell me that         12   finger, and all kinds of things that didn't relate
13   has caused her problems, and in this case, there            13   really to my testing. I don't know if you want me
14   were a lot of things that she told me about. And            14   to go through them. Umbilical abscesses, things
15   then talk about what she remembers of the incident          15   with a bone, chronic osteomyelitis, diverticulitis.
16   that occurred that the case is about. And then I            16           Q. I was just interested to ask what, if
17   asked her to tell me all of the problems she feels          17   anything, in terms of psychological --
18   she has as a result of that incident. And that's            18           A. Yeah, that's what I would think.
19   the outline of what I questioned --                         19           Q. -- or psychiatric history itself.
20            Q. Okay.                                           20           A. She also had -- I -- there was the
21            A. -- her about.                                   21   accident on 11-16-2016, and it was noted in the
22            Q. Before you met with Ms. Major to                22   records there was no head trauma. She did suffer a
23   conduct that initial interview, you had reviewed            23   mild headache. No photophobia. Negative for
24   her medical history and medical records before              24   seizures. Negative for loss of consciousness. So
25   then; correct?                                              25   that was important. And then I --
                                                     14                                                                16
 1           A. Not all of them, no.                              1             Q. Did you see anything relating to the
 2           Q. Okay.                                             2   accident, the automobile accident on 11-16-2016?
 3           A. That was the first, whatever I said,              3             A. Yes. There were records -- well, this
 4   six hours of reading, and that was medical history           4   was in Kaiser Foundation Hospitals that that --
 5   and history of the incident. But then, after I               5             Q. I was going to ask a specific
 6   issued the report, I got a lot more records that             6   question. Whether you saw anything in those
 7   have to do with depositions and Dr. Hamilton's               7   records relating to the accident, indicating that
 8   report and Dr. Hamilton's deposition and so forth.           8   she may have suffered some degree of posttraumatic
 9   So that was post issuing the report.                         9   stress disorder following that accident?
10           Q. Okay. But before meeting with                    10             A. I think there was one place, and I'm
11   Ms. Major, did you review her medical records from          11   not sure if it was there, that someone said
12   Kaiser Permanente and her records regarding                 12   possible posttraumatic stress disorder.
13   psychological treatment she received there?                 13             Q. Do you know if she was diagnosed with
14           A. Yes.                                             14   posttraumatic stress order, or PTSD, after that
15           Q. Okay. Did you review the records by a            15   automobile accident?
16   therapist named Mr. Vanderhoof?                             16             A. I don't know if she was or wasn't.
17           A. Well, I think that was after I read              17   But certainly, it caused her stress. I mean, I
18   his deposition. That was after I tested her and             18   don't remember if there was a definitive diagnosis,
19   issued the report, I received a deposition and              19   but someone did mention possible PTSD, and I'm not
20   progress notes in the file.                                 20   sure if it was there.
21           Q. In reviewing the medical records for             21             Q. You didn't indicate that in your
22   Ms. Major, did you note any past psychological              22   actual report, that there was a mention of
23   issues or history regarding psychological                   23   potential posttraumatic stress disorder after the
24   conditions?                                                 24   automobile accident; correct?
25           A. Yes, I did.                                      25             A. I don't think I did, because it
05/20/2019 12:26:12 AM                                Page 13 to 16 of 115                                       4 of 43 sheets
       Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 5 of 43
                                                            17                                                                     19
 1    wouldn't have mattered.                                           1           A.     In most of the records and what I've
 2               Q.   Why not?                                          2   read, it was 10 to 20 years, but she wasn't taking
 3               A.   Because someone can have posttraumatic            3   it constantly. So that's the only way I can answer
 4    stress disorder and then have another event of                    4   that.
 5    posttraumatic stress disorder, which makes the                    5           Q.     In her medical records from Kaiser
 6    second event worse because they're more fragile                   6   Permanente, did you see entries dealing with her
 7    from the first event. And I did mention in my                     7   complaints to her medical providers whenever they
 8    report all of the different things that have caused               8   would try to wean her off of the Valium?
 9    her stress in her life. The fact that she really                  9           A.     I think I remember they wanted to put
10    did not have -- was not brought up by her parents,               10   her on other medication, and she didn't want to
11    her mother was on and off in her life, her mother                11   take it because she knew the Valium did not cause
12    died when she was 45. She had a father and a                     12   her problems, so she didn't want to be switched to
13    brother she was very close to, died within nine                  13   other medications. I saw comments about that in
14    days of one another. She was taking care of them.                14   the records.
15    She had stress at Kaiser Permanente in her job as a              15           Q.     Did you see in the records, the
16    coder. Then she had an automobile accident that we               16   medical history, before the subject incident on
17    just spoke about. So all these things I talked                   17   Carnival cruise ship, anything regarding a history
18    about in the report, and that all adds up to making              18   of prior issues with alcohol use?
19    someone extremely fragile with all these events,                 19           A.     Yes. She said that she had tried to
20    but she was coping. She was coping in her life at                20   cope with the death of her father and brother with
21    that point.                                                      21   alcohol, and then she tried to get her act together
22               Q.   So you mentioned a lot of issues                 22   and not use that. I mean, I'm not saying she never
23    there. And Ms. Major struggled with depression                   23   drank, but not be as heavy a drinker. So I saw
24    after the death of her brother and her father                    24   those issues as well.
25    before this incident on the Carnival cruise ship;                25           Q.     So Ms. Major was drinking heavily
                                                            18                                                                     20
 1    correct?                                                          1   after the death of her brother and father; correct?
 2               A.   Yes. Correct.                                     2                  MR. DRURY: Objection. Form.
 3               Q.   That's indicated in the medical                   3                  THE WITNESS: I don't know how
 4    records; correct?                                                 4           heavily. I really can't answer that,
 5               A.   Correct. And she told me that                     5           because I don't know specifically what
 6    herself, too.                                                     6           heavily meant. But she was drinking more
 7               Q.   Ms. Major also had a history of                   7           than she wanted to to cope with the deaths
 8    dealing with anxiety issues; correct?                             8           of her brother and father.
 9               A.   Yes. Correct.                                     9   BY MR. PELAEZ:
10               Q.   And that's well-documented in the                10           Q.     Is there any significance to that,
11    prior medical history before the incident on the                 11   from your perspective as a psychologist, as
12    Carnival cruise ship; correct?                                   12   somebody who's using alcohol as a coping mechanism?
13               A.   Yes.                                             13           A.     Well, it's significant, since she was
14               Q.   I believe you mentioned she was                  14   under a lot of stress, which I've quoted in my
15    treating that anxiety with diazepam; correct?                    15   report. And she was a very fragile woman in that
16               A.   Yes. Off and on she was.                         16   she had all these stresses to deal with, but she
17               Q.   Diazepam --                                      17   wasn't fragile in the fact that she coped with
18               A.   That was a Dr. Zablotny, or something,           18   them. She didn't go on and become a hermit. She
19    who she had been seeing. I'm not pronouncing it                  19   actually had foster children. Other than her own
20    right.                                                           20   child, she was fostering children up to that time.
21               Q.   Diazepam is Valium; correct?                     21   She was working as a coder.
22               A.   Correct.                                         22           Q.     Ms. Major was using marijuana to cope
23               Q.   Do you know how long Ms. Major had               23   with her stress after the death of her father and
24    been treating her anxiety with Valium for before                 24   brother as well; correct?
25    the incident on the Carnival cruise ship?                        25                  MR. DRURY: Objection to form.
5 of 43 sheets                                              Page 17 to 20 of 115                                      05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 6 of 43
                                                          21                                                                      23
 1                 THE WITNESS: Off and on she was.                    1   probably four or five glasses, but I never measured
 2           And, again, I can't answer to what extent                 2   it.
 3           that was happening.                                       3            Q.   Shortly after the incident on the
 4   BY MR. PELAEZ:                                                    4   Carnival cruise ship, I believe it was maybe a few
 5           Q.    Do you know if Ms. Major was ever                   5   months later, Ms. Major was involved in another
 6   given a prescription for marijuana?                               6   incident at a social gathering where she was
 7           A.    I don't know.                                       7   assaulted by another man; correct?
 8           Q.    Did Ms. Major -- or strike that.                    8            A.   Well, as I understand it, she didn't
 9                 What did Ms. Major tell you about how               9   -- she wanted to leave the party, her friend --
10   often or how frequently she was drinking after the               10   someone convinced her to come back. The other man,
11   death of her father and brother and before the                   11   I think was the host, and he accidentally struck
12   subject cruise?                                                  12   her and she fell into a glass table. I don't
13           A.    Let me just look at my interview notes             13   understand that he was after her, specifically.
14   and I'll see if I can -- I asked about a drug                    14   But it was an accident that happened and she got
15   history, she said -- this is page 10, "I sometimes               15   cut by glass.
16   take marijuana, but now not often." And that's all               16            Q.   Looking at page 6 of your report, the
17   that she really said. And I didn't notice in any                 17   fourth paragraph down, starting with "On
18   of the records anyone saying how often or to what                18   September 18, 2017," you indicated in your report,
19   degree.                                                          19   "her friends talked her back into the party, where
20           Q.    So Ms. Major recounted to you that she             20   she was assaulted by the host. Patient fell
21   still uses marijuana occasionally?                               21   through a glass table and her body was cut in many
22           A.    She said occasionally now, not often,              22   places."
23   is what she told me.                                             23                 That's what's in your report; correct?
24           Q.    Did she tell you what "occasionally"               24            A.   Yeah. That's what she told me, and
25   means? How frequently?                                           25   that she had been retraumatized. I mean, that just
                                                          22                                                                      24
 1           A. No, she really didn't. She said she                    1   added to the --
 2   was -- I mean, I don't remember in between, but                   2         Q. So Ms. Major told you that she was
 3   that's how she answered me.                                       3   assaulted by the host; correct?
 4           Q.    Did Ms. Major tell you anything about               4            A.   She said that, but I don't know if she
 5   her drinking habits now, since the incident?                      5   meant the host directly tried to assault her or it
 6           A. Let's see. When questioned about past                  6   was an accident. I think I sort of read somewhere
 7   use of alcohol or drugs, she said she'd been a                    7   that it wasn't, like, against her specifically, but
 8   cigarette smoker for 30 years, drinks about a                     8   she did fall through a glass table and get cut.
 9   bottle of wine over the weekends, but directly                    9            Q.   Do you know anything about the host
10   after the assault, had been drinking more heavily                10   who is alleged to have assaulted her at that party,
11   for about two months. Meaning the assault on the                 11   whether he was an African American? Caucasian?
12   cruise ship. But then she stopped it. I mean, she                12   Hispanic? Anything about him?
13   stopped the heavy drinking.                                      13            A.   No. No. And that wouldn't have made
14          Q. So according to Ms. Major, she told                    14   a difference to my conclusions anyway.
15   you that she'll drink about one bottle of wine over              15           Q. Still looking at page 6 of your
16   the course of a weekend now?                                     16   report, on the second paragraph, it says a few
17           A.    Drinks almost a bottle of wine over                17   lines down, "She also stated she," open quote,
18   the weekends. That's about what she thought she                  18   "used to talk a lot of s-h-," close quotation, "but
19   said. I mean, I thought she said. But after the                  19   no longer felt," quote-unquote, "fearless, like she
20   assault, the two months after the assault, it might              20   used to, due to worrying," open quote, "what if
21   have been more.                                                  21   someone pulls out a gun and shoots me," close
22           Q.    Okay. How much is a bottle of wine,                22   quote.
23   if you know? Is that four glasses? Five glasses?                 23               What did Ms. Major mean by that when
24           A. I don't know, since I drink half a                    24   she said that she used to talk a lot of trash,
25   glass every month. I have no idea. I would say                   25   apparently?
05/20/2019 12:26:12 AM                                     Page 21 to 24 of 115                                                 6 of 43 sheets
       Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 7 of 43
                                                        25                                                           27
 1            A. Meaning she used to be a -- she said a         1   bottle from Costco? What exactly it was that she
 2    fun chick. I put that in quotes. And more social,         2   was buying or drinking at the time?
 3    joking around, you know, things like that. But she        3            A. I didn't ask her.
 4    wasn't like that anymore. She was angry -- she            4            Q. The next page, on page 7, on your --
 5    said always angry, always mad, always irritable,          5   looking at your report, it indicates that Ms. Major
 6    tried to isolate herself. She -- when she said she        6   and her family own two houses in San Francisco and
 7    used to feel fearless, she doesn't feel that              7   they rent an apartment for patient's daughter. Is
 8    anymore, obviously. It's -- the way she explained         8   that something that Ms. Major told you?
 9    it to me, it's a scary world for her now.                 9            A. She told me that. This is nothing
10            Q. But before this incident, she                 10   that I got from the records. It was what she was
11    apparently felt no hesitation of talking trash to        11   telling me.
12    other people; is that what she's saying?                 12            Q. Okay. Ms. Major also told you that
13                   MR. DRURY: Object to the form of the      13   she's investing in a cafe that will sell liquor?
14            question.                                        14            A. That's what she told me.
15                   THE WITNESS: I don't know. I don't        15            Q. So when you met with Ms. Major in
16            know if that's really what she meant, or         16   November of 2018, she had some interest in becoming
17            she really said to me she was much more          17   a business investor; correct?
18            social, she was fearless, she was -- I           18            A. I don't really know whether she did or
19            guess she could handle herself. But now          19   she didn't. I mean, this is what she's saying. I
20            she felt isolated and worried about              20   can't check it out. As far as I know, that never
21            everything and fearful about a lot of            21   happened. And she was most concerned with her
22            things.                                          22   husband, who had, at that point, had had a back
23    BY MR. PELAEZ:                                           23   injury, that her marriage was suffering.
24            Q. The next paragraph down on page 6, you        24            Q. Ms. Major, she's married; correct?
25    indicated that it was noted that at around the time      25            A. Yes.
                                                       26                                                          28
 1    of her brother's and father's deaths, she had been        1          Q. I believe you stated in your report
 2    drinking four to five times a week, and would, open       2   that she's been married for over 20 years?
 3    quote, go through the $100 bottle from Costco in          3                MR. DRURY: At this point, I'm going
 4    about two weeks or faster.                                4           to make a motion to strike these questions
 5             A. Uh-huh. Yes, said that.                       5           and answers on the basis that they lack
 6             Q. That's something she told to you              6           predicate. I believe this is the section
 7    directly?                                                 7           of Dr. Russell's report that is review of
 8             A. Yes, she did. Everything here is what         8           records and not specifically her interview.
 9    she told me directly. She was trying to explain to        9                MR. PELAEZ: I'm asking Dr. Russell
10    me in the alcohol use, how at terrible times in her      10           questions and she's telling me that
11    life, she tried to see if that would help her,           11           Ms. Major told her that.
12    but --                                                   12                MR. DRURY: Well, I think the
13             Q. Do you know how soon before the cruise       13           questions were confusing. I think the
14    in question that it was that she was drinking that       14           questions were confusing. So I'm going to
15    heavily and going through an entire $100 bottle,         15           move to strike the questions and answers on
16    apparently, in two weeks?                                16           that basis and I just bring that to
17             A. As I understand it, that was not             17           everyone's attention.
18    before the cruise. She had pulled herself together       18                MR. PELAEZ: Well, I asked her if
19    more before the cruise and wanted to celebrate her       19           Ms. Major told her these things, and she
20    birthday.                                                20           confirmed that.
21             Q. How soon before the cruise did her           21                THE WITNESS: Well, what I'm saying is
22    father pass; do you know?                                22           these are not from records. This is what
23             A. I'm not sure of the exact dates of the       23           she was telling me. I don't -- investing
24    father and the brother.                                  24           in a cafe, as far as I know, she hadn't
25             Q. Do you know what she meant by $100           25           done that. She was -- whether this was
7 of 43 sheets                                      Page 25 to 28 of 115                               05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 8 of 43
                                                        29                                                            31
 1           just something she was telling me, I don't         1   She had left this threat in a voicemail. It ended
 2           know. But the main thing she was trying to         2   up that she had to sue Kaiser," and she said,
 3           get across to me is that her marriage was          3   "won." I didn't go into what all that was about,
 4           suffering, her husband was rarely home, she        4   "and her termination was changed to a resignation
 5           was very irritable, and you know, reclusive        5   and not a termination. 'This was very long and
 6           herself, and she was -- she was very               6   drawn out.'" And that was basically what she told
 7           visibly upset. As I've said at the end of          7   me.
 8           my interview or somewhere here, she cried          8            Q. Okay. Do you know whether Ms. Major
 9           throughout the entire interview, rambled           9   was working before the incident in question?
10           throughout the entire interview. She was          10            A. I don't think she was. I think that
11           in a state of agitation, obviously,               11   after her brother and father died, she was not
12           recounting all the different things in her        12   working for a time. But then she did tell me, in
13           life, and particularly when she got to the        13   one place -- let me just see where it was, because
14           cruise ship incident.                             14   I just read it, that she was unable to work right
15   BY MR. PELAEZ:                                            15   now as a coder. I'm trying to find where I read
16           Q. What do you mean when you say that she         16   it. But she wasn't working at a job, that I know
17   was rambling throughout the interview?                    17   of, at that point.
18           A. "Rambling," meaning she wanted to tell         18            Q. Before the incident; correct?
19   me everything and it wasn't in a cohesive order.          19            A. Before the --
20   She was perfectly capable of telling me, but it was       20                  MR. DRURY: Object to the form of the
21   like she'd go to one topic and then she'd go to           21            question.
22   another, and I'd bring her back to the topic, and         22                  THE WITNESS: -- incident, correct.
23   then she'd go to another. Because when you're             23   BY MR. PELAEZ:
24   crying and you're agitated and you're upset, you          24            Q. Do you know whether Ms. Major's done
25   ramble usually. You're not as, you know,                  25   any work at all after the incident in question?
                                                      30                                                           32
 1   cohesively presenting a history. So that's what I          1            A. I'm not sure. I don't know.
 2   meant by rambling. And she was crying throughout           2            Q. I'm looking at page 7, the third
 3   the entire interview, which I put in my report.            3   paragraph down, beginning on February 8, 2018, down
 4           Q. But you just said that she was                  4   towards the bottom of that paragraph, it says, "She
 5   perfectly capable of communicating and explaining          5   has not been able to work on a regular basis. If
 6   to you the --                                              6   she does any work, 'I code from home.'"
 7           A. Yes.                                            7            A. That's what I was trying to find.
 8           Q. -- incident and what took place;                8   Thank you.
 9   correct?                                                   9            Q. Did Ms. Major tell you that she's
10           A. Yes. Well, she was rambling. I don't           10   worked from home since the accident on occasion?
11   mean she couldn't communicate. It just was going          11            A. I didn't get the feeling from her that
12   off of one topic onto another, back to another. So        12   she was really working on a -- in a job situation,
13   I kept bringing her back to wherever we were.             13   but you know, she said if she does anything, it has
14   That's what I meant by rambling.                          14   to be at home. And it's not on a regular basis.
15           Q. What did Ms. Major tell you about her          15   So I don't know if she -- really what that meant.
16   work history during your interview?                       16   But she was trying to impress upon me she doesn't
17           A. Let me go back to that. Okay. The              17   like to go out much. I mean, not that she won't,
18   bottom of page 8, "When questioned about her work         18   but she's fearful and -- and she's fearful in the
19   history, she said she worked at St. Luke's Hospital       19   environment because of her attack on the cruise
20   as an assistant to the director from 1985 to 1989,        20   ship, and also the environment of the country. So
21   and then followed her boss to Kaiser, where she           21   I think that makes it even worse for her.
22   worked up to the coder position and was there for         22                 MR. DRURY: I reiterate my motion to
23   22 years. Ms. Major explained that she was                23            strike based on the fact that these are not
24   terminated because she had verbally threatened an         24            apparently things that Ms. Major said in
25   employee because he was cheating on his timecard.         25            the interview, but rather from the records
05/20/2019 12:26:12 AM                              Page 29 to 32 of 115                                         8 of 43 sheets
       Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 9 of 43
                                                        33                                                         35
 1             review.                                         1   Ph.D. During those ten years, I was doing therapy,
 2    BY MR. PELAEZ:                                           2   being supervised by another psychologist, and a lot
 3             Q. Dr. Russell, I know you mentioned            3   of the patients I treated were PTSD patients.
 4    before, and we've discussed what it is that you do       4           Q. What were the years of that ten-year
 5    as a neuropsychologist, and you said your work           5   period?
 6    focuses on administering testing and issuing             6           A. It would have been probably in the --
 7    reports; correct?                                        7   well, let me look at my work experience. That's
 8             A. Correct.                                     8   the easier way to do it. On page 2, I worked in a
 9             Q. Have you ever treated patients who had       9   social service agency from 1973 to 1977 with my
10    a posttraumatic stress disorder?                        10   master's degree. That was doing all kinds of
11             A. For ten years, yes.                         11   therapy. That's all I did. No testing. And then
12             Q. You worked --                               12   with my master's degree when I left the social
13             A. I treated people at the VA Hospital,        13   service agency, I was working with two clinical
14    at -- I was in private practice with my master's        14   psychologists in their practice, doing all kinds of
15    degree, working under someone else, and I did a lot     15   therapy, counseling, with PTSD patients and all
16    of treating of PTSD patients. Not testing, just         16   kinds of patients.
17    treating. All in all, I've had ten years'               17           Q. What years was that?
18    experience doing all kinds of therapy before I came     18           A. That would have been before I got my
19    -- became a neuropsychologist.                          19   -- before 1987. So from 1977 to 1981, I was
20             Q. When was it that you were working as a      20   working with open heart surgery patients, and it
21    treater at the VA Hospital those ten years?             21   was during that time I also was working under the
22             A. Well, it was part of my year of             22   auspices of two psychologists in their practice,
23    internship and my year of postdoctoral work, and my     23   doing therapy with different types of patients.
24    third year of supervision that was required in          24   And then at the psychology clinic of University of
25    those days before you could sit for the state and       25   Miami, when I was going for my Ph.D. degree, I was
                                                        34                                                         36
 1    national boards. So all during that time, I was          1   also a supervisor in the clinic and did therapy and
 2    doing therapy with patients.                             2   supervised other students in the clinic at the
 3             Q. When was that?                               3   University of Miami, and a good deal of that was
 4             A. Well, I got my degree in -- what does        4   posttraumatic stress disorder patients. And then
 5    it say there? Let me get my CV, so I don't               5   three years at the VA was both neuropsychological
 6    misquote myself.                                         6   testing and treating, and the treatment was all
 7                  MR. DRURY: The master's? The               7   PTSD patients at the VA.
 8             bachelor's? What are you looking for?           8           Q. Okay. So then the last time you would
 9                  THE WITNESS: Well, first, the              9   have treated actual patients suffering from PTSD
10             master's.                                      10   would have been on or about 1987; is that fair to
11                  MR. DRURY: Well, the master's, I          11   say?
12             don't think, is on the wall. We've got the     12           A. Probably beyond that, because the
13             doctor of philosophy, we've got the            13   position paper of -- from our different
14             bachelor of arts. But I don't see the          14   organizations say test and treat, not both, did not
15             master's on the wall.                          15   come out in the late 1980s. So when I first
16                  THE WITNESS: I should -- yeah,            16   started my practice, I was doing treatment more
17             University of Florida is when I -- let's       17   than testing. It was all therapy. And then in
18             see. Does someone have my CV? I can tell       18   about 19 -- the early 1990s, at some point I
19             you exactly.                                   19   started to do neuropsychological testing,
20    BY MR. PELAEZ:                                          20   psychological testing, was still treating patients.
21             Q. I think it's there.                         21   Once the position papers came out, and I'd have to
22             A. Okay. Okay. Got my -- it doesn't say        22   look at what year all those came out, I stopped
23    the year. University of Florida, my master's in         23   treatment. But all in all, I've had over ten years
24    counseling psychology. And after that, there was        24   of treating patients, and an extensive part of it
25    at least ten years before I went back to get my         25   was PTSD patients.
9 of 43 sheets                                     Page 33 to 36 of 115                              05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 10 of 43
                                                       37                                                            39
 1            Q. Would you say it's been at least 20            1   psychological status is, what their age is, whether
 2   years since you were involved in the treatment of          2   they're the kind of person who freely talks about
 3   patients with PTSD?                                        3   their emotions or holds everything in. I mean,
 4            A. I would say probably more like                 4   there are just so many things, variables. If
 5   15 years. Correct.                                         5   anyone says that there's one treatment for PTSD, I
 6            Q. Okay. So at least 15 years?                    6   wouldn't believe it.
 7            A. At least 15 years before I -- now,             7           Q. You just said that you don't know what
 8   I've tested quite a few PTSD patients, but no              8   the new treatments are for PTSD, since it's been
 9   treatment.                                                 9   some time since you've treated patients with PTSD;
10            Q. Can you tell me, when you test                10   correct?
11   patients for PTSD, in your practice here, outside         11                MR. DRURY: Object to the form of the
12   of your work as an expert witness, what kinds of          12           question.
13   recommendations would you make for a patient who          13                THE WITNESS: Well, if there are any
14   has PTSD to test positive for?                            14           new protocols, I don't know. I just know
15            A. It depends on the patient. I mean,            15           that -- I mean, when people are treating
16   there's no generic recommendation for PTSD                16           for PTSD, they're still doing therapy,
17   patients. It depends how long they've had PTSD,           17           they're doing medication, there's some
18   how many stressors they've had in their life prior,       18           other treatments, cognitive, behavioral
19   if they've been, you know, what -- what different         19           that has come into effect in the past,
20   avenues. Some people would be group therapy, but          20           maybe, ten years really, you know, more --
21   some people would not be candidates for group             21           used more. Insurance companies are not
22   therapy because they're too inward with their             22           allowing people extensive treatments, so
23   emotions and it would scare them. I mean, you             23           there's shorter term treatment for PTSD.
24   can't have a genetic recommendation for PTSD.             24           There are just many different variables of
25            Q. Do you agree with me that PTSD is a           25           treatment.
                                                   38                                                              40
 1   treatable condition?                                       1   BY MR. PELAEZ:
 2            A. Well, it's treatable, but sometimes if         2           Q. When you see patients outside of your
 3   there are enough stressors in someone's life and           3   work as an expert witness, and you perform testing
 4   one huge stressor, it's going to be permanent. But         4   on them, do you make treatment recommendations for
 5   certainly, some people can get over their PTSD, and        5   those patients?
 6   other people, it's going to be with them for the           6           A. Yes, I usually do. They're more
 7   rest of their life, if not every day, at other             7   generic, though. In other words, I will suggest
 8   stress points in their life, it all comes back to          8   they're in counseling with a psychologist,
 9   haunt them. And such was the case with many of the         9   sometimes under supervision of a psychiatrist, if I
10   individuals I treated at the VA Hospital.                 10   feel they need medication. Some people with PTSD
11            Q. The individuals that you treat at the         11   also have brain injury, so I want them to be
12   VA Hospital, were they combat veterans for the most       12   followed by a neurologist.
13   part?                                                     13           Q. So in other words, as part of your
14            A. Not all of them were combat, no.              14   day-to-day practice outside of lawsuits, you would
15            Q. Do you know if there's an accepted            15   make generic -- general recommendations --
16   protocol in terms of the treatment recommendations        16           A. Yes.
17   for patients with PTSD?                                   17           Q. -- in terms of treatment, but you
18            A. There are some treatment                      18   wouldn't follow up with a patient on a day-to-day
19   recommendations. I know that. I -- since I                19   basis after you perform your testing; correct?
20   haven't treated in a while, I don't know what the         20           A. That would be unethical. Correct.
21   new ones are. But you always have to go by the            21   Nor would I --
22   actual patient. There's no one solution and               22           Q. They're treating --
23   treatment carte blanche for everyone who has PTSD.        23           A. Nor would I share a report with
24   It also depends on the upbringing of the person,          24   someone I tested in a legal case.
25   what they've had in their former life, what their         25           Q. So all of the patients that you see in
05/20/2019 12:26:12 AM                              Page 37 to 40 of 115                                        10 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 11 of 43
                                                     41                                                                43
 1    your practice outside of the work as an expert            1            A. Oh, during the incident? No, not
 2    witness, are people who are already treating with         2   really. I mean, I -- I think the -- the main thing
 3    other psychologists or psychiatrists?                     3   is that this woman was in shock. She was dazed.
 4            A. Not at -- no, not necessarily. I may           4   She had obviously a brief loss of consciousness, it
 5    get a referral from a physician who feels that            5   appears. But, you know, whether she did or didn't,
 6    their patient needs treatment and they want a             6   that's not absolutely the necessary variable. And
 7    psychological evaluation, or sometimes a                  7   whether the -- I'm not saying the Carnival records
 8    neuropsychological evaluation, and they may not be        8   didn't say everything or not, but you know, who
 9    treating at that point. They may need treatment,          9   knows the accuracy. I think I put the most
10    but they may not be.                                     10   accuracy on this, the independent witness in the
11            Q. But you don't manage the ongoing care         11   casino. I read his deposition, Tobias -- I can't
12    for any patients who you deem to have PTSD;              12   remember the last name.
13    correct?                                                 13            Q. Tucker?
14            A. No, I do not. No. I mean that's               14            A. Yes. That's it. Thank you. I have
15    correct, yes.                                            15   the list here.
16            Q. Now, Doctor, you reviewed the medical         16            Q. So you read Mr. Tucker's deposition;
17    records from the Carnival IMAGINATION following the      17   correct?
18    incident on board the ship with Ms. Major as part        18            A. Yes, I did.
19    of your assignment here; correct?                        19            Q. Did Mr. Tucker indicate anywhere in
20            A. Yes.                                          20   his deposition that Ms. Major had lost
21            Q. Okay. As part of your review of those         21   consciousness during this incident?
22    medical records, did you note the portion where the      22            A. No, he didn't. But then I read the
23    doctor who was evaluating Ms. Major indicated that       23   deposition of the manager of the casino, who had a
24    Ms. Major denied having any blackouts during the         24   medical background, and I think when she was asked
25    incident?                                                25   whether it was alcohol or a concussion, she said
                                                      42                                                           44
 1             A. Let me just see where I talked about          1   she couldn't determine that because she's not
 2    those records.                                            2   practicing as a medical person. It seems like
 3             Q. Page 7, at the bottom it mentions             3   there were all different manifestations of what
 4    them.                                                     4   people were saying, but I think the -- the main
 5             A. Your question is did they comment on          5   thing is you can't necessarily know if someone had
 6    any blackouts?                                            6   a brief loss of consciousness. It's not like
 7             Q. My question was whether you saw, from         7   something that you necessarily see. And then they
 8    your review of the records, the medical records           8   can, if they have a brief loss of consciousness,
 9    from the Carnival IMAGINATION following this              9   they are able to stand up sometimes and talk. I
10    incident, any indication where Ms. Major denied          10   mean, if she had a loss of consciousness, it would
11    having blackouts during the incident?                    11   have been brief.
12             A. I don't remember that.                       12            Q. When you say "brief," how brief are
13             Q. You didn't see that in your review of        13   you talking about?
14    the medical record from Carnival?                        14            A. I have no idea.
15                 MR. DRURY: Asked and answered.              15            Q. A split second?
16                 THE WITNESS: I -- I don't remember --       16            A. I have no idea.
17    BY MR. PELAEZ:                                           17                 MR. DRURY: Objection to the form.
18             Q. Okay.                                        18                 THE WITNESS: It's almost like asking
19             A. -- if I did or I didn't.                     19            me how many glasses of wine there are in a
20             Q. Would that be something important to         20            bottle. I really don't know.
21    note, if the medical record from the IMAGINATION         21   BY MR. PELAEZ:
22    did indicate that Ms. Major denied having any            22            Q. You said you reviewed the deposition
23    blackouts?                                               23   transcript of the casino manager as well; correct?
24             A. You mean previous to this?                   24            A. Correct.
25             Q. During the incident.                         25            Q. She denied having seen Ms. Major lose
11 of 43 sheets                                     Page 41 to 44 of 115                               05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 12 of 43
                                                       45                                                            47
 1   consciousness at any point in time; correct?               1            A. Well, according to her history, and I
 2           A. If I remember correctly, she said she           2   don't have this written down, she was not brought
 3   could not tell between whether Ms. Major had been          3   up by her parents, her mother was in and out of her
 4   drinking alcohol or had a loss of consciousness.           4   life, her mother died when she was 45 years old.
 5   If you want me to get it, I know exactly where the         5   And then, of course, we go to the whole factor of
 6   deposition is, so I don't --                               6   her father and her brother, who she was taking care
 7           Q. That's okay.                                    7   of, dying within nine days of one another. She had
 8           A. It's down here. You want me to look             8   this car accident where she didn't have a brain
 9   at her, because I have --                                  9   injury or head trauma, but that has got to be
10           Q. No, it's all right.                            10   something that was a big stressor, anytime you have
11           A. I've marked it.                                11   an accident.
12           Q. Did you review the deposition                  12            Q. What do you know about that accident
13   transcript of the alleged assailant, Elain Barrera?       13   and the seriousness of it?
14           A. Yes, I did.                                    14            A. Well, I know that she had some back
15           Q. Okay. Do you know --                           15   problems, neck problems, but in the records, and I
16           A. Yes.                                           16   don't want to misquote myself, but I have talked
17           Q. Do you know if Ms. Barrera ever                17   about it in my report. On page 2 from the Kaiser
18   indicated that Ms. Major ever lost consciousness          18   Foundation Hospital, it said, "It was noted that
19   during the attack, or the incident?                       19   Ms. Major was rear-ended on the freeway the evening
20           A. I think she said she didn't, but then          20   before. Her car spun around, but did not hit
21   there were a lot of things she said that disagreed        21   anything else. No head trauma was indicated. When
22   with the objective person who observed and -- and         22   she woke up that morning, she noted diffuse
23   since she was one of the attackers, I really take         23   myalgias, had bilateral neck pain and left shoulder
24   at face value. I'm not saying she lied, but I             24   pain, as well as diffuse back pain, pain down the
25   don't think I can go by those facts, nor would it         25   right leg with bruised knees. It was also
                                                   46                                                           48
 1   matter in my conclusions, quite frankly.                   1   indicated that she was able to walk without
 2           Q. When you reviewed the medical records           2   difficulty, denied weakness, had a mild headache,
 3   from the Carnival IMAGINATION, did you note the            3   but no photophobia. Neurological was negative for
 4   portion of those records where the doctor indicated        4   seizures and loss of consciousness." That's what I
 5   that the patient, Ms. Major, was alert and                 5   read in the Kaiser records.
 6   oriented?                                                  6            Q. Did Ms. Major tell you that she
 7           A. I think I did.                                  7   thought she was going to die in that car accident?
 8           Q. Okay.                                           8            A. Oh, let me go back to my interview.
 9           A. I remember that.                                9   You probably have found it more quickly than I
10           Q. Do you know what protective factors            10   have, but sounds familiar. I don't know that I
11   are, Dr. Russell?                                         11   have it in here.
12           A. Protective factors?                            12            Q. Okay.
13           Q. Yes.                                           13            A. No, I don't think so.
14           A. In what sense?                                 14            Q. Ms. Major graduated from high school
15           Q. In terms of individuals been diagnosed         15   and completed some level of college education as
16   with PTSD and their prognosis for recovery.               16   well; correct?
17           A. Well, first of all, the most                   17            A. Yes.
18   protective factor is someone who has not had a            18            Q. Do you know if that qualifies as a
19   series of stressful incidents in their life prior.        19   protective factor in terms of her prognosis and
20   That's why I keep talking about the fact that she         20   potential recovery from it, PTSD --
21   was a very, you know, she had so many different           21            A. I don't know why that would be a
22   stressors in her life previous to this incident.          22   protective factor, because that's not an emotional
23           Q. Let's talk about those.                        23   or psychological kind of indicator. It just means
24                 What were those previous stressors in       24   that she was accomplished.
25   her life?                                                 25            Q. So educational achievement or her
05/20/2019 12:26:12 AM                              Page 45 to 48 of 115                                     12 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 13 of 43
                                                       49                                                           51
 1    background is not a protective factor; is that          1   memory was -- was normal; correct?
 2    correct?                                                2             A. Yes, her memory was normal, and
 3                 MR. DRURY: Object to the form of the       3   certainly someone who's under psychological stress
 4            question.                                       4   can have concentration problems in life. Life is
 5                 THE WITNESS: I think I just answered       5   different from a testing setting, where it's one to
 6            it. Protective factor, in my way of             6   one. And having PTSD does not mean you have to
 7            working with people, is what their              7   have memory problems. Unlike what I read in Dr.
 8            psychological state is, what they have          8   Hamilton's report, I have research articles here
 9            experienced in their upbringing, what kind      9   that show, if you want them, that someone can have
10            of tensions they've had in their lives.        10   PTSD and not have memory problems. But that
11    BY MR. PELAEZ:                                         11   doesn't mean in day-to-day life, if you're upset
12            Q. Ms. Major told you during her               12   and stressed, that you don't forget things, because
13    interview with you that her abuse history and legal    13   you do. But in a quiet one-to-one setting, she did
14    history were negative; correct?                        14   well on the memory test.
15            A. Yes.                                        15             Q. Okay. Ms. Major told you that she
16            Q. Okay. That means that she told you          16   still drives; correct?
17    she had never been abused; correct?                    17             A. Yes.
18            A. Well, never physically or sexually          18             Q. So if she's driving, then she's
19    abused. That's what that means.                        19   leaving her home from time to time to drive
20            Q. Okay. And by -- when she told you           20   somewhere; correct?
21    that her legal history was negative, what does that    21             A. I suppose so.
22    mean?                                                  22             Q. Ms. Major told you that she attends a
23                 MR. DRURY: I object to the form of        23   group at her church; correct?
24            the question.                                  24             A. Either she told me that or I read it
25                 THE WITNESS: Well, that should mean       25   in the Kaiser records from Edward Vanderhoof, I
                                                       50                                                           52
 1            that she wasn't put in jail or, you know,       1   believe, said that she attends a group therapy
 2            anything of significance, as far as that.       2   session outside of Kaiser.
 3            It doesn't mean she never had an automobile     3             Q. I'm looking at page 12 of your report,
 4            ticket or anything like that. But that's        4   under behavioral observations. You indicated that
 5            what it means.                                  5   "There were no obvious problems noted with her
 6    BY MR. PELAEZ:                                          6   receptive or expressive language abilities";
 7            Q. Would a DUI qualify as something that        7   correct?
 8    would make a legal history positive?                    8             A. Correct.
 9            A. Well, I mean, certainly someone could        9             Q. What do you mean by that?
10    be arrested for a DUI, but it just depends what the    10             A. Meaning she was able to understand the
11    circumstances were. I can't answer that because I      11   directions, understand questions, and she could
12    don't know.                                            12   express herself in the interview. That didn't mean
13            Q. Okay. But she never told you anything       13   that she wasn't rambling and upset, but she
14    about any DUIs or anything?                            14   certainly could express herself.
15            A. I don't think she did.                      15             Q. You then stated that "Ms. Major
16            Q. I'm looking at page 11 of your report,      16   appeared to understand test directions readily, and
17    number 4. Ms. Major told you that she forgets a        17   no more than the typical number of breaks during
18    lot and that she feels so sad about it, that she       18   the testing sessions were required." Correct?
19    needs her husband to help her with her memory;         19             A. Correct.
20    correct?                                               20             Q. You indicated that she worked steadily
21            A. Yes.                                        21   throughout the testing sessions; correct?
22            Q. Now, you performed testing on Ms.           22             A. Correct.
23    Major's memory; correct?                               23             Q. You indicated that she held up well
24            A. Yes, I did.                                 24   during the testing sessions, she was interested and
25            Q. And that testing showed that her            25   occupied with the tasks administered to her;
13 of 43 sheets                                   Page 49 to 52 of 115                              05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 14 of 43
                                                     53                                                           55
 1   correct?                                                1   day's work just fine during the time that she was
 2            A. Correct.                                    2   taking this test; right?
 3            Q. Okay. There was no indication that          3           A. The first day it was four hours, with
 4   she was suffering from any extreme depression or        4   an hour lunch break, and about ten minutes every
 5   anxiety, which would have interfered with her           5   hour of a break. And the second day it was five
 6   testing; correct?                                       6   hours, with an hour lunch break, and about every
 7            A. Correct.                                    7   hour she had at least ten minutes off.
 8            Q. You stated that she only took typical       8           Q. And that first day, those four hours
 9   breaks during the testing. Is that what we              9   of testing, that came after two hours of interview;
10   discussed before, how the testing broke down, is       10   correct?
11   basically a lunch break; right?                        11           A. Yes. She had two hours of an
12            A. No. It's more than that. We never          12   interview, then she gets a short break, then --
13   test more than one hour without giving a ten-minute    13   because I did the testing the first day. And she
14   break, whether someone needs it or not. It's just      14   has some testing and then there's a lunch break, I
15   the way we do it. It could be one hour and five        15   believe. And then I think she came back. If it
16   minutes, or it could be 50 minutes, but we never       16   were four hours, she would've come back probably
17   test for hours on end without breaks.                  17   for an hour after lunch.
18            Q. Okay. Where were those tests               18           Q. You stated that during that two-hour
19   administered? Were they here in your office?           19   interview, she was basically crying and rambling
20            A. Yes.                                       20   the whole time; correct?
21            Q. She understood your directions             21           A. Well, most of the time, yes.
22   regarding the test and was able to complete them;      22           Q. Most the time?
23   right?                                                 23           A. Yes.
24            A. Yes. There was only one test she           24           Q. But then she was able to pull it
25   could not complete, which was psychologically very     25   together and sit through several hours of testing
                                                     54                                                           56
 1   interesting to me, and that was a sensory               1   and focus and concentrate on those tests after?
 2   perceptual test. When my technician had to touch        2           A. Yeah. That's quite typical. There
 3   her fingers and her cheek, these are to test out        3   are research articles that show that usually people
 4   suppressions of feeling, she broke down and got         4   hold up well when they're given tasks, if they're
 5   anxious, and we had to stop the testing. I went         5   giving good effort, but -- because they get into
 6   into the room and talked to her and she was visibly     6   the task, some of them are timed and so forth. But
 7   shaken by that, so we ended the test and did not        7   in an interview, oftentimes I find patients can be
 8   complete it. That's the only test we have where         8   very upset as they're talking about their personal
 9   you physically have to touch someone. I thought         9   history, and any incident or accident that they
10   that was very significant from a psychological         10   had. So there was nothing unusual about that.
11   standpoint.                                            11           Q. We've been discussing breaks, and I
12            Q. Okay. You indicated that she worked        12   think I need a quick five-minute break.
13   steadily throughout the testing; right?                13           A. Me, too.
14            A. Yes, she did.                              14                MR. PELAEZ: Off the record.
15            Q. Okay. So she was able to focus and         15                (Thereupon, a short recess was taken.)
16   concentrate on the tests while taking them;            16   BY MR. PELAEZ:
17   correct?                                               17           Q. Dr. Russell, I'm looking at page 14 of
18            A. Yes, she was.                              18   your report, where you indicate certain testing and
19            Q. Other than the test that involved the      19   the percentiles in which Ms. Major fell. The digit
20   sensory issues and the touching, Ms. Major was able    20   span test, what exactly is that test and what is it
21   to work perfectly fine for several hours in the day    21   testing for?
22   while taking these testing; correct?                   22           A. Digit span is immediate memory.
23            A. With the breaks every hour, and with       23   Someone has to repeat numbers forwards and
24   the hour lunch, correct.                               24   backwards right after the examiner, and it's fairly
25            Q. So she basically put in almost a full      25   insensitive to brain injury. You give tests that
05/20/2019 12:26:12 AM                           Page 53 to 56 of 115                                     14 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 15 of 43
                                                       57                                                          59
 1    you look at what brain injured people have problems     1   left and five on the right. If one of those
 2    with, and what usually they don't, unless they're       2   designs is on the right, you have to scratch off a
 3    severely brain injured. So that's what digit span       3   box yes; if there are none of the designs on the
 4    is.                                                     4   right that are on the left, you have to scratch off
 5            Q. What is the significance, if any, of         5   a box no, and you have to work quickly and
 6    Ms. Major scoring 37 percentile on that test?           6   accurately on that. It's somewhat akin to symbol
 7            A. Well, I would assume she would. With         7   search, but a different type of task.
 8    mild brain injury, I wouldn't think she'd have too      8           Q. And then the processing speed test;
 9    much trouble with that.                                 9   what does that entail?
10            Q. Okay. And then below that, you              10           A. That's a summation of the tests that
11    indicate the certain performance subtests, the         11   are timed, showing what a person's ability is to
12    digit symbol-coding, block design and symbol           12   work quickly and accurately.
13    search. What are those tests?                          13           Q. On the paragraph below, you indicate
14            A. Those are very difficult tests for          14   that you only administered the subtests which would
15    people who have any kind of a brain injury. Digit      15   determine both premorbid functioning in those
16    symbol-coding is what's called complex psychomotor     16   subtests known to be most sensitive to cognitive
17    speed. Block design is probably the most sensitive     17   impairment?
18    test to brain injury in the whole IQ. And symbol       18           A. Correct.
19    search, again, is a speeded task that is of a          19           Q. Because you were not able to
20    complex nature, other than, like, digit span.          20   administer the entire WAIS-III IQ test; correct?
21            Q. What does the actual digit                  21           A. Right. That's correct.
22    symbol-coding test entail?                             22           Q. Which subtest did you omit from the IQ
23            A. You have to -- there are boxes on the       23   test administered to Ms. Major?
24    top with numbers, and then a little box underneath     24           A. Okay. Let me -- let me look at the IQ
25    has a symbol. Then on the bottom, there are lines      25   and I can tell you exactly. Information,
                                                 58                                                                60
 1    of numbers in boxes, but no -- no little symbol         1   arithmetic, comprehension is never given in the
 2    underneath. So a person, as quickly as possible,        2   HRNES-R battery anyway. Omitted picture completion
 3    has to look at the number from the key and copy the     3   because it's insensitive to brain injury. Omitted
 4    design under the box that's empty, and work as          4   picture arrangement. Object assembly is something
 5    quickly and accurately as they can. That's what         5   that's auxiliary. You don't have to administer it.
 6    the digit symbol-coding is.                             6   And letter number sequencing was omitted, and
 7              Q. What about the block design test, what     7   matrix reasoning. And because of the time element,
 8    does that entail?                                       8   I wanted to choose those tests that most give us a
 9              A. Block design, you have blocks where        9   score of someone's premorbid functioning.
10    two sides are white, two are red, two are red and      10   Vocabulary is not interfered within brain damage
11    white, and you start out making a design with the      11   unless it's severe, and she was average with that.
12    four blocks, and the person has to, as quickly as      12   And then you give a reading test, which she also
13    possible, make the same design. And you go through     13   was -- actually, with the vocabulary, she was above
14    a couple of those to be sure the person understands    14   average with the Heaton norms and average with the
15    it, then you give them pictures of more complex        15   HRNES norms. And then the rest of the testing, the
16    designs, and they have to make the design to fit       16   performance subtest that I gave are timed. These
17    the picture that they see, and it gets more and        17   are the ones most sensitive to brain injury, and
18    more difficult, and they have to do it quickly. So     18   that's why I wanted to choose the ones that would
19    that's -- block design is a very complex test.         19   give us an idea of her brain functioning and the
20              Q. What about the symbol search subtest,     20   ones that would give us an idea of what her
21    what does that entail?                                 21   pre-incident functioning was, and then also you
22              A. Symbol search, you have about five        22   give a reading test, which also gives you an idea
23    little designs on the left, and then you have about    23   of what someone's premorbid abilities were, that's
24    five little designs on the right, and if one of        24   the Wechsler test of adult reading. She was
25    those designs -- I'm sorry, there are two on the       25   average there. So, I could see that her IQ,
15 of 43 sheets                                   Page 57 to 60 of 115                              05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 16 of 43
                                                      61                                                         63
 1   preaccident, consistent with her education history,     1           had depression, but not major depression.
 2   and her work history, was at least average.             2   BY MR. PELAEZ:
 3            Q. Would you agree that it's possible for      3           Q. You characterize Ms. Major's brain
 4   a patient like Ms. Major to intentionally               4   injury as mild in this case; correct?
 5   manipulate these examinations and get answers           5           A. That's correct. And it came out that
 6   wrong --                                                6   way on two scientific validated test batteries,
 7                 MR. DRURY: Objection to form.             7   both the Heaton comprehensive norms,
 8   BY MR. PELAEZ:                                          8   demographically adjusted, and was almost identical
 9            Q. -- on purpose?                              9   with the Halstead Russell neuropsychological
10            A. Well, of course. That's why we give        10   evaluation system, revised, which were the other
11   tests of effort and motivation, performance            11   set of norms.
12   validity tests. But also in addition to giving         12           Q. On page 21 of your report, you make a
13   those was what she passed both of them, you look at    13   general recommendation that Ms. Major be followed
14   the pattern of test results. And just as I said,       14   by a neurologist and that she follow a consistent
15   the tests that are more difficult for people who       15   course of psychotherapy; correct?
16   have any kind of brain injury, she did poorly on.      16           A. Correct.
17   The ones that hold up well in all but the most         17           Q. Okay. You didn't make any specific
18   severe brain injury, she did well on. And that         18   recommendations as to how often she should pursue
19   pattern continued through all of the testing. So       19   psychotherapy or for how long; correct?
20   you look at the tests of effort and motivation, and    20                MR. DRURY: Object to the form of the
21   you also look at the pattern as to whether what        21           question.
22   she's doing makes sense. Also, you wouldn't have       22                THE WITNESS: No. I could never do
23   someone with poor motivation who did well on all of    23           that, because it depends on how she
24   the memory tests. Most people think if you're          24           performs in the psychological counseling,
25   brain injured, those are the things you have to do     25           and also the psychologist makes that
                                                      62                                                         64
 1   poorly on. She did not. I have that all the time.       1           determination. But also, I recommend
 2   I think that's the only thing that brain injured        2           comprehensive psychiatric evaluation for
 3   people have problems with. So all in all, the           3           medication, and those three things are
 4   pattern of test results were certainly consistent       4           essential for her. But as to how long and
 5   with someone giving good effort.                        5           to what extent, and I said it's stress
 6            Q. Looking at page 18 of your report, you      6           points in her life, she may need these
 7   indicate that Ms. Major suffered from a generalized     7           again, no matter how long these are
 8   anxiety disorder.                                       8           necessary for.
 9                 Do you agree with me that that is a       9   BY MR. PELAEZ:
10   preexisting condition that she suffered from before    10           Q. But you don't have an opinion -- or
11   this incident on the cruise ship?                      11   you didn't give an opinion in your report as to how
12                 MR. DRURY: Objection to form.            12   much psychotherapy she would need in the future or
13                 THE WITNESS: I would agree that she      13   for how long; correct?
14            had anxiety prior, and it could have been     14                MR. DRURY: Objection to form.
15            generalized anxiety disorder. She had         15                THE WITNESS: I couldn't do that. I
16            enough incidents in her life to make her      16           mean, certainly that's going to be up to
17            more anxious.                                 17           the psychologist, up to the psychiatrist
18   BY MR. PELAEZ:                                         18           how well she responds and what's going on
19            Q. Would you agree that major depression      19           in her life. Because once you have PTSD,
20   also may have been a preexisting condition that Ms.    20           and you have it as severely as she has it,
21   Major suffered from before this incident, based on     21           there are going to be usually things in
22   her recounting of how she dealt with the deaths of     22           your life that are going to set you back.
23   her brother and father?                                23           If you didn't have PTSD, you can usually
24                 MR. DRURY: Objection to form.            24           cope fairly well with whatever comes up in
25                 THE WITNESS: No. I would agree she       25           your life.
05/20/2019 12:26:12 AM                           Page 61 to 64 of 115                                    16 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 17 of 43
                                                          65                                                         67
 1    BY MR. PELAEZ:                                             1   extended therapy; correct?
 2            Q. It's fair to say, then, that you don't          2                MR. DRURY: Objection to form.
 3    know how much therapy Ms. Major would need in the          3                THE WITNESS: I didn't make a
 4    future; correct?                                           4           recommendation, because, again, that will
 5                  MR. DRURY: Object to the form of the         5           depend on the treaters, the psychiatrist
 6            question.                                          6           and the psychologist.
 7                  THE WITNESS: It's fair to say I don't        7   BY MR. PELAEZ:
 8            know exactly. Certainly it shouldn't be a          8           Q. You didn't make any recommendation,
 9            couple of months. It should be much longer         9   but you also didn't express, or indicate in your
10            than that. But I can't tell you how long.         10   report anywhere the need for any such extended
11    BY MR. PELAEZ:                                            11   inpatient therapy; correct?
12            Q. Okay. You didn't make any                      12                MR. DRURY: Objection to form.
13    recommendations advising that Ms. Major pursue any        13                THE WITNESS: I think I just answered
14    type of group therapy either; correct?                    14           the question. That will depend on the
15                  MR. DRURY: Object to the form of the        15           treaters, and she may or may not need that.
16            question.                                         16           I don't know. I can't be a soothsayer and
17                  THE WITNESS: No. The psychologist           17           foresee what her future will bring her.
18            will decide that, and she will decide that,       18   BY MR. PELAEZ:
19            as to what -- whether she can handle group        19           Q. In your report, you didn't express any
20            therapy. Not everyone can. She has been           20   opinion that I saw regarding Ms. Major's ability to
21            in group therapy, but was outside of              21   work gainfully; did you?
22            Kaiser, and it was -- I think she had been        22           A. On page 22, I said, "Unfortunately,
23            doing this for about eight months. So that        23   these multiple cognitive deficits, as well as a
24            will be determined by the therapists and          24   significant posttraumatic stress disorder, appear
25            the psychiatrist.                                 25   to be preventing Ms. Major from being able to work
                                                   66                                                                 68
 1    BY MR. PELAEZ:                                             1   in the medical coding field." Now, I'm not going
 2            Q. You didn't give any opinions or                 2   to opine whether she can ever do it or she can't.
 3    recommendations regarding the future need for              3   I don't know.
 4    psychiatric hospitalization; correct?                      4            Q. So you don't have any opinion as to
 5                  MR. DRURY: Object to the form of the         5   whether Ms. Major will be able to work again in the
 6            question.                                          6   future; correct?
 7                  THE WITNESS: No. I wouldn't do that,         7            A. I don't have an opinion one way or the
 8            but that doesn't mean she won't need it.           8   other, but if I had to answer it for how she is
 9            But, again, that would depend on the               9   now, my opinion is she could not. But then again,
10            psychologist and the psychiatrist.                10   I don't know a year or two from now what may be.
11    BY MR. PELAEZ:                                            11            Q. Okay. And then the last sentence of
12            Q. So you don't know whether she would            12   your report there you indicate that Ms. Major is
13    ever need any type of future psychiatric or               13   unable to cope with even activities of daily
14    psychological hospitalization; correct?                   14   living; correct?
15                  MR. DRURY: Asked and answered.              15            A. Correct.
16            Object to the form of the question.               16            Q. But Ms. Major indicated to you that
17                  THE WITNESS: I don't know. I mean,          17   she still drives; correct?
18            it's certainly a possibility, but I can't         18            A. Yes, she drives, but that's not
19            say it will definitely happen. It depends         19   complete activities of daily living. She drives.
20            on what life deals her also from now on.          20   I would -- don't know how far, I don't know whether
21    BY MR. PELAEZ:                                            21   she should or she shouldn't, but there are other
22            Q. What about extended inpatient                  22   things of daily living. I mean, if she loses her
23    psychological therapy? You didn't make any                23   temper, becomes irritable, more seclusive, having
24    recommendations or express any opinions regarding         24   problems in her marriage, she said she's not really
25    the future need for any such anticipated inpatient        25   cooking anymore. I mean, these are activities of
17 of 43 sheets                                      Page 65 to 68 of 115                               05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 18 of 43
                                                     69                                                               71
 1   daily living. Driving is one part and only one            1   Psychological Services.
 2   part.                                                     2            Q. Okay. Who was that set of norms
 3            Q. Did Ms. Major tell you whether she's          3   developed by or created by?
 4   been able to take vacations or take any trips with        4            A. It was developed by Dr. Elbert Russell
 5   her family since this incident?                           5   and Regina Starkey originally. Then, Western
 6            A. I don't know. I think she was able to         6   Psychological Services is one of our three big
 7   take some things, but not everything. I mean, I           7   publishing companies, used their statisticians and
 8   hope she -- it would be better to get out of              8   added other tests to -- well, it was basically the
 9   herself if she could take some things. But I know         9   same version of the testing, and it has been
10   that I read the deposition of her close friend, who      10   published by them and revised. And now this is the
11   said she hasn't visited her in Las Vegas, she's          11   manual that people use.
12   missed two Thanksgivings. So she's obviously             12            Q. Okay. When was that set of norms
13   secluding herself. But there's no reason why she         13   created?
14   shouldn't be able to take some trips and she should      14            A. It was created, interestingly, it's --
15   be encouraged to do so.                                  15   it's not as old as the Heaton norms, which were
16            Q. That would be good for her; right?           16   gathered several years before. But it was first
17   Getting out?                                             17   published in 1993, and then revised, I believe, in
18            A. It would be good for her if she can          18   2001 or 2002. "Revised," meaning statistics were
19   take it. You know, she's got to be the judge of          19   again performed and tests were added. And 2001, it
20   whether she can handle it.                               20   was revised.
21            Q. Did you review Ms. Major's deposition?       21            Q. One of the creators was an Elbert
22            A. Yes, I did.                                  22   Russell, you said?
23            Q. Did you see in her deposition where          23            A. Elbert Russell.
24   she said that she was able to go to visit her            24            Q. Any relation to you?
25   family in Jacksonville, I think, for some period of      25            A. Yes, he's my husband.
                                                  70                                                               72
 1   time?                                                     1            Q. So your husband developed that set of
 2           A. I think I remember she visited family.         2   norms; correct?
 3   I don't remember where it was.                            3            A. He first developed the test battery
 4           Q. Okay. Did you see also in her                  4   over gathering data for about 20 years at the
 5   deposition where Ms. Major admitted she was able to       5   Cincinnati Hospital, the Cincinnati VA, the VA and
 6   take a vacation with her family to the Dominican          6   the University of Miami Medical School. Then, once
 7   Republic?                                                 7   he developed the battery, Western Psychological
 8           A. Yes, I did. And I'm not surprised.             8   Services wanted to publish it and use their
 9   And I hope she does more of that. Her family              9   statisticians to go over all the things, like
10   around her is going to give her more strength and        10   validity, error, probability statistics and so
11   more security. I cannot see her taking -- flying         11   forth. So then they reworked it and published it
12   to Las Vegas on her own and visit a friend, or           12   in 1993 and revised it in 2001.
13   going alone on trips. But if she has a family            13            Q. Would you agree with me that that set
14   around her, she should be able, and encouraged to        14   norms, the HRNES-R, is not generally accepted in
15   take some vacations.                                     15   the field for purposes of scoring data for PTSD
16           Q. Let me see if I have anything else for        16   testing?
17   you, Doctor.                                             17                 MR. DRURY: Object to the form of the
18               You use a set of norms for evaluating        18            question.
19   the test data for Ms. Major called the HRNES-R;          19                 THE WITNESS: No, I would not agree
20   correct?                                                 20            with you. Western Psychological Services
21           A. Yes.                                          21            put out a piece of paper from 1999 to 2015
22           Q. What does that stand for?                     22            showing it was sold in Alabama, Arizona,
23           A. It stands for the -- where is it?             23            Arizona, California, Colorado, Connecticut,
24   Thank you. The Halstead Russell Neuropsychological       24            Florida, Georgia, Hawaii, Illinois,
25   Evaluation System Revised, published by Western          25            Indiana, Kansas, Kentucky, LA -- I mean LA,
05/20/2019 12:26:12 AM                             Page 69 to 72 of 115                                      18 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 19 of 43
                                                               73                                                                     75
 1                Louisiana is LA, on and on and on, and we                 1   the chemicals that are released in the brain when
 2                found out, surprisingly, about half a year                2   someone is under extreme stress.
 3                ago it's being published by a company in                  3           Q.   Dr. Russell, what did you do to
 4                Australia, and is being used in Australia                 4   prepare for today's deposition?
 5                and New Zealand and Dr. Russell has been                  5           A.   What did I do? I reviewed all of this
 6                asked to write a chapter, along with myself               6   again. That was yesterday. Underlined all my
 7                and my partner, Dr. Kolitz, in a handbook                 7   report and did some further research on Dr.
 8                of neuropsychology. So unlike what Dr.                    8   Hamilton's report using some of the manuals here.
 9                Hamilton said, that I'm the only one that                 9           Q.   Besides the opinions that have been
10                uses it, this is the document from Western               10   rendered in your report that we've been discussing
11                Psychological Services only to 2015, and                 11   at length here today, are there any other opinions
12                Dr. Russell still receives minimum,                      12   that you intend to provide in this matter?
13                whatever you call them, royalties from                   13                MR. DRURY: Object to the form of the
14                this. Once it's sold, you can use it for a               14           question.
15                lifetime. So when they sell all these,                   15                THE WITNESS: There may be.
16                people don't have to buy it again. So, no,               16   BY MR. PELAEZ:
17                I would not agree.                                       17           Q.   As we sit here today?
18    BY MR. PELAEZ:                                                       18           A.   There may be, because I don't know
19                Q.   Does that set of norms, the HRNES-R,                19   what's going to -- what I'm going to be questioned
20    does that include any factors built in to                            20   on if I go to trial. I don't know if I'm going to
21    distinguish patients based on gender, race, age or                   21   receive further information. So I never say these
22    education?                                                           22   are all of the opinions I'm ever going to have.
23                A.   Education, yes. Race, yes. Gender,                  23           Q.   Okay. As you sit here today, are
24    yes. Years of education, yes. Gender research                        24   those the opinions that you have, what's expressed
25    shows is not applicable except for motor tests,                      25   in your report that we've been discussing?
                                                               74                                                                     76
 1    meaning women and men don't need separate norms for                   1                MR. DRURY: Object to the form of the
 2    things other than motor tests. But gender is built                    2           question.
 3    into it. Just like in the Heaton comprehensive                        3                THE WITNESS: No, because I have other
 4    norms.                                                                4           opinions, based on my research on some of
 5                Q.   Your opinion that Ms. Major suffered a               5           the things that Dr. Hamilton put in his
 6    mild brain injury, is that opinion in any way                         6           report, that I did not have his report when
 7    dependent on Ms. Major's report that she lost                         7           I was writing my report, I'm still waiting
 8    consciousness for a brief period during the                           8           for his raw test data. It's been over two
 9    altercation?                                                          9           weeks that we've asked for it. So I have
10                A.   Not at all.                                         10           other opinions than what I've opined on
11                Q.   So even if Ms. Major didn't report any              11           today.
12    loss of consciousness, you would still have that                     12   BY MR. PELAEZ:
13    opinion; is that what you're saying?                                 13           Q.   Well, as we sit here today, you have
14                A.   Absolutely. Research shows that                     14   not issued any addendums or supplemental reports;
15    someone who has even a major whiplash and does not                   15   correct?
16    lose consciousness can have a brain injury. So                       16                MR. DRURY: Object to the form of the
17    loss of consciousness is not necessary for a brain                   17           question.
18    injury. But as I quoted in my report, and there                      18                MR. PELAEZ: What's wrong with the
19    are about four articles which I have here, over the                  19           question?
20    past five to six years, by use of the functional                     20                MR. DRURY: There is an addendum.
21    MRI and PET scans, scientists have determined that                   21                THE WITNESS: There is an addendum.
22    there are actual changes in the brain with severe                    22                MR. PELAEZ: Where did this come from?
23    PTSD and prolonged PTSD. And that's quoted in all                    23                MR. DRURY: This is filed under the
24    -- in the last pages of my report. I have all of                     24           federal docket.
25    the articles here. And that's because of all of                      25                MR. PELAEZ: When was it filed?
19 of 43 sheets                                                 Page 73 to 76 of 115                                      05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 20 of 43
                                                       77                                                           79
 1                  MS. MEISTER: The same time.                1          A. Yes. Well, yes, his report I did.
 2                  MR. DRURY: It was filed on March 8th.      2          Q. Okay. Do you have any comments about
 3                  MR. PELAEZ: Can I see it?                  3   Dr. Hamilton's report or his deposition?
 4                  MR. DRURY: Of course, yes.                 4               MR. PELAEZ: Objection. Scope.
 5   BY MR. PELAEZ:                                            5               THE WITNESS: Yes.
 6            Q. Do you have a copy of your addendum to        6   BY MR. DRURY:
 7   your report with you here, Doctor?                        7          Q. And what are those comments that you
 8            A. Right here. Yes.                              8   have?
 9            Q. Okay. So in your addendum, you make           9               MR. PELAEZ: Objection. Outside the
10   additional recommendations regarding specific            10          scope.
11   treatment or therapy for Ms. Major; correct?             11               THE WITNESS: Well, the trauma symptom
12            A. Yes. I -- one -- a minimum of one            12          inventory number 2 that he administered,
13   year. But I still couldn't answer whether she'd          13          that Dr. Hamilton talked about Ms. Major
14   need more than that. That's why I answered --            14          endorsing a high frequency of unusual
15            Q. What caused you to issue that addendum       15          symptoms, he said that she obtained an
16   report?                                                  16          atypical response validity raw score of 9,
17            A. I don't even remember what caused me         17          which exceeds the test manufacturer's
18   to issue it. It might have been receiving more           18          recommended cutoff score of 8. And if you
19   records. I don't know. But I was wanting to put          19          look at the manual here, it says a raw
20   in this addendum a comparison of my testing with         20          score of 15 on the atypical response scale,
21   Dr. Hamilton's, but I did not receive his raw data.      21          they call it ATR, indicates invalidity.
22   So if I'm asked, I may have to issue another             22          Hers was 9. So it was not invalid at all.
23   addendum.                                                23          So that's one very important difference.
24            Q. But as we sit here today, you have not       24          And then the SIMS, the structure inventory
25   issued any further addendums besides that one;           25          of malingered symptomatology, which Dr.
                                                  78                                                           80
 1   correct?                                                  1          Hamilton talks about in his report, that
 2          A. No. No, I have not.                             2          her total score was 16, when the cutoff
 3          Q. Do you have a copy that we can mark of          3          should be 14. The classification of
 4   your report and the addendum as an exhibit to             4          malingering in the first paragraph of the
 5   today's deposition?                                       5          manual says, however, it is possible that
 6          A. Sure.                                           6          feigned and actual symptoms may occur
 7          Q. We'll go ahead and mark those as                7          simultaneously. That is a diagnosis of
 8   Composite Exhibit 1.                                      8          malingering. Does not preclude the
 9                (Thereupon, Defendant's Exhibit No. 1        9          presence of another actual disorder, and it
10          was marked for identification.)                   10          goes on.
11                MR. DRURY: And Victor, just so you          11               So that this does not mean that Ms.
12          know, the docket entry is 24-6.                   12          Major failed the SIMS, nor does it
13                MR. PELAEZ: Okay.                           13          certainly mean that she failed the trauma
14                MS. MEISTER: It's the same -- it was        14          symptom inventory-2. So these are two
15          filed -- I mean, it was filed all together.       15          important critiques I have.
16                MR. PELAEZ: Okay.                           16               There are other things. The WAIS-III,
17                I have no further questions for you,        17          the Wechsler adult intelligence scale III,
18          Doctor. Thank you for your time.                  18          which Dr. Hamilton criticized me for using,
19                    CROSS-EXAMINATION                       19          is part of the Heaton norms, which he used.
20   BY MR. DRURY:                                            20          So he took the WAIS-III out of the Heaton
21          Q. I just have a few follow-ups.                  21          norms, and he used the WAIS-IV, which means
22                Dr. Russell, you mentioned that you         22          the comprehensive norms that he used are no
23   reviewed Dr. Hamilton's report. I think you also         23          longer scientifically valid, and makes it
24   mentioned -- you may or may not have mentioned that      24          an unscientific battery now.
25   you reviewed Dr. Singer's report?                        25
05/20/2019 12:26:12 AM                             Page 77 to 80 of 115                                     20 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 21 of 43
                                                      81                                                              83
 1    BY MR. DRURY:                                             1          A.    So that's another thing.
 2            Q. Why does it make it an unscientific            2                And let me just see if there's
 3    battery when you take one test out of the norms and       3   anything else that's major.
 4    put another test in there?                                4           Q. While you're looking through there,
 5            A. Well, all validity is dependent on the         5   I'm going to attach these three documents as
 6    same individuals in the brain damage group and in         6   exhibits. These will be Plaintiff's 1, 2 and 3.
 7    the control group who has no brain damage, taking         7                (Thereupon, Plaintiff's Exhibit Nos.
 8    all the same tests. And then statistics are               8           1, 2 and 3 were marked for identification.)
 9    performed to determine error measurements, validity       9                THE WITNESS: Another thing, Dr.
10    measurements, and so forth, probability of brain         10           Hamilton, on page 7 of his report, talks
11    injury. If you change a test, then there is no           11           about the fact that he doesn't understand
12    scientific research on the WAIS-IV and the               12           that she was moderately impaired on trails
13    comprehensive norms, so it makes it what we call a       13           B for me and only mildly with him, but
14    flexible battery, just putting a bunch of tests          14           nowhere does he talk about practice
15    together, but not being able to ascertain any            15           effects. Dr. Hamilton's testing was just
16    probability of brain damage, measure anything else.      16           three months post my testing.
17                 The other big concern I have when I         17   BY MR. DRURY:
18    read Dr. Hamilton's report and his deposition is         18           Q. Can you tell us about the practice
19    that he said I think only 70 percent of my testing       19   effect?
20    could be valid because I used the HRNES-R and I          20           A. Yes.
21    used the comprehensive norms, but he obviously did       21           Q. What that means?
22    not look at the normative system that I had for          22           A. Yes. It means that if an individual
23    both of these tests, both of the batteries,              23   is administered the same tests within a short
24    actually, which came out generally exactly the           24   amount of time, and three months is short, they
25    same.                                                    25   will do better because they've just had the test.
                                                         82                                                           84
 1                   The Heaton norms came out, and I'm not     1   And there's much research to talk about practice
 2    going to go through all of this, because it will          2   effects. That's why one tries to always put -- and
 3    bore everyone to tears. But --                            3   there's not a hard and fast rule, but let's say at
 4             Q. It won't bore me.                             4   least six months between testing. It's why I don't
 5             A. It will bore everyone to tears. It            5   think you're allowed to take the LSAT every week.
 6    had an average impairment rating, this is the             6   I know we're not allowed to take the GRE every
 7    Heaton comprehensive demographic norms of below           7   month. We've got to put a year, you know, even
 8    average. Those are the tests that are most                8   though the questions change. So nowhere in Dr.
 9    sensitive to brain injury. In the HRNES-R norms,          9   Hamilton's report do I see him talking about the
10    it was very mild impairment, with a 64 percent           10   practice effect, and why some of her scores were
11    probability of brain injury. And this is where I         11   better than with me. So that was another big
12    have difference with Dr. Singer, who talked about        12   portion. And let me just see, because I made
13    64 percent could be chance alone. I don't think he       13   notes. Let me just look at my other -- where is --
14    understands that the 64 percent is based on the          14   and, of course, I already talked about the fact
15    statistics in the HRNES-R. So it cannot be chance        15   that I'm not the only one who uses the HRNES-R, so
16    alone. It's in the battery statistical program.          16   we have that.
17                   So the -- and then if you look at the     17           Q. Let me ask you one question about what
18    individual scores and ratings on the comprehensive       18   we were talking about before, the substitution of
19    norms of Heaton and the individual scores, and I         19   the WAIS-IV by Dr. Hamilton into the Halstead
20    went through all this in my report, on the Halstead      20   Russell norms.
21    Russell norms, they generally agree exactly. So          21                Isn't the peer review approval also
22    why one would exclude this HRNES-R and just say          22   based on the complete battery of tests without
23    this is valid, I don't understand, because they          23   substitution of other tests?
24    agree.                                                   24                MR. PELAEZ: Objection. Beyond the
25             Q. Okay.                                        25           scope.
21 of 43 sheets                                     Page 81 to 84 of 115                                05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 22 of 43
                                                      85                                                           87
 1                THE WITNESS: Yes. Yes. In other               1           structured inventory of malingered
 2           words, you can't -- if you use the Heaton          2           symptomatology, which I believe he based
 3           comprehensive norms, which uses the                3           the majority of his opinion on.
 4           WAIS-III, because the WAIS-III has had             4   BY MR. DRURY:
 5           enumerable research articles written on how        5           Q. So do you have an opinion, within a
 6           each subtest corresponds to bring                  6   reasonable degree of neuropsychological
 7           functions. The WAIS-IV, although it's been         7   probability, as to whether Dr. Richard Hamilton
 8           out for a number of years, we don't have           8   miss-scored the trauma symptom inventory-2 results
 9           all of that research, which is why the             9   with respect to Charlene Major?
10           HRNES-R and the Heaton norms use the              10                MR. PELAEZ: Objection. Beyond the
11           WAIS-III. If you take the WAIS-III, which         11           scope of direct examination. I'm also
12           is that whole IQ test, out of the Heaton          12           objecting to this entire line of
13           norms, and then you do your own WAIS-IV,          13           questioning and moving to strike this
14           then you can't get an average impairment          14           testimony regarding previously undisclosed,
15           score. You can't get a probability of             15           apparently rebuttal opinions to the
16           brain injury, you get the average                 16           opinions rendered by Dr. Hamilton. These
17           impairment score that I got on the Heaton         17           are opinions that are being issued here for
18           norms, which is a 2, which is mildly              18           the first time today. There's been no
19           impaired. You can't get any of that. So           19           report disclosing any of these opinions. I
20           if you're going to use the Heaton norms,          20           move to strike all of them under Rule 26.
21           which is a validated battery, then you've         21                THE WITNESS: Yes, I do have an
22           got to use it as a whole, so you can get          22           opinion.
23           the average impairment score and you can          23   BY MR. DRURY:
24           get the how each of the subtests on the           24           Q. And what is your opinion?
25           WAIS-III rates. It doesn't have anything          25                MR. PELAEZ: Same objection.
                                                        86                                                            88
 1           about the WAIS-IV in there. There's no way         1                 THE WITNESS: The testing in invalid.
 2           that Dr. Heaton has anything in the WAIS-IV        2   BY MR. DRURY:
 3           showing how someone does, whether it's             3            Q. Okay. Can you tell us, do you have
 4           below average, what the T score is or              4   any comments regarding Dr. Hamilton's methodology
 5           anything.                                          5   in this case?
 6   BY MR. DRURY:                                              6                 MR. PELAEZ: Same objection regarding
 7           Q. Do you have an opinion, within a                7            beyond the scope and undisclosed expert
 8   reasonable degree of neuropsychological                    8            opinions.
 9   probability, as to whether Dr. Richard Hamilton's          9                 THE WITNESS: Yes, I do.
10   test results for Charlene Major were invalid?             10   BY MR. DRURY:
11                 MR. PELAEZ: Objection. Beyond the           11            Q. And what comments do you have about
12           scope.                                            12   Dr. Hamilton's methodology in this case?
13                 THE WITNESS: Yes, I do.                     13                 MR. PELAEZ: Same objection. Will you
14   BY MR. DRURY:                                             14            give me a standing objection on this?
15           Q. And what is that opinion?                      15                 MR. DRURY: Yes. Sure.
16                 MR. PELAEZ: Objection. Beyond the           16                 MR. PELAEZ: Okay. Thank you,
17           scope.                                            17            Counsel.
18                 THE WITNESS: They are invalid,              18                 THE WITNESS: Okay. The testing was
19           particularly because of substituting the          19            done too close to my testing to be able to
20           WAIS-IV, not having a validated battery,          20            really understand how Ms. Major is
21           not being able to get an average impairment       21            performing on the cognitive testing because
22           score, the fact of the practice effect just       22            of the practice effect. He did not -- he
23           three months between. And most                    23            was not able to use a valid dated
24           significantly, that Ms. Major did not fail        24            scientific battery that will give him
25           the trauma symptom inventory-2 or the             25            average impairment ratings, that will give
05/20/2019 12:26:12 AM                              Page 85 to 88 of 115                                     22 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 23 of 43
                                                      89                                                          91
 1           him the actual scientific method of scoring      1   agreement?
 2           on the Heaton norms, because he took out         2           A. Well, the --
 3           the WAIS-III and decided to use the              3                MR. PELAEZ: Same objection.
 4           WAIS-IV, of which it's not included in any       4                THE WITNESS: -- most basic factor is
 5           of the statistics on the Heaton norms.           5           the average impairment rating on the Heaton
 6           These TSI, trauma symptom inventory-2, and       6           norms was below average. The average --
 7           the structured inventory of malingered           7           the AIS, which is the average impairment
 8           symptomatology were reported incorrectly.        8           score on the HRNES-R, those are the two big
 9           She passed both of them, according to the        9           measures, was mildly impaired. Then, if
10           manuals of the tests themselves. And let        10           you go to all the individual tests, which I
11           me see if there's anything else. I think        11           have commented on in my report, you will
12           those are the major reasons why I think the     12           see where in almost every case, that the
13           testing is invalid.                             13           Heaton norms says she's impaired, she's
14    BY MR. DRURY:                                          14           impaired on the HRNES-R. I think there was
15          Q. Okay. Do you have any comments                15           one test different, where on the Heaton
16    regarding Dr. Singer's report or conclusions?          16           norms she was impaired, but on the HRNES-R,
17                 MR. PELAEZ: Same objection regarding      17           she was normal. But other than that,
18           beyond the scope --                             18           they're in agreement and I don't think
19                 THE WITNESS: Yes, I do.                   19           Dr. Hamilton understood -- Dr. Hamilton --
20                 MR. PELAEZ: -- as well as previously      20           Dr. Singer understood that these norms are
21           undisclosed expert opinions as it relates       21           in agreement with one another when
22           to Dr. Singer as well.                          22           assessing brain injury. And -- and then I
23                 THE WITNESS: Yes, I do. In his            23           disagree, he said I did not use standard
24           report, he said that scores on the HRNES-R      24           measures from malingering. I certainly
25           over 96 are considered abnormal. Scores         25           did. I used the test of memory and
                                                      90                                                          92
 1           below 96 are considered abnormal. So             1           malingering, the TOMM, and the nonverbal
 2           that's incorrect. I mention he says              2           MSVT. Those are standard measures of
 3           64 percent probability of brain damage           3           malingering, so I disagree with that.
 4           could not have -- could have -- be chance,       4   BY MR. DRURY:
 5           and I don't think he understands or has          5           Q. And how did Charlene Major do on those
 6           read the HRNES manual to show 64 percent         6   two tests of malingering?
 7           has nothing to do with chance. It has to         7           A. She passed them.
 8           do with the statistics of the battery and        8                And --
 9           what tests she was in the normal range and       9           Q. What does malingering mean?
10           what tests she was not, and which tests are     10           A. "Malingering" means consciously
11           most sensitive to brain damage. So that         11   performing poorly.
12           just is a -- it's a fallacious statement        12           Q. Okay.
13           there. He does not understand that the          13           A. Okay. And the other thing is that I
14           Heaton and the HRNES-R norms were in            14   don't think Dr. Singer understands or knows, or
15           agreement from my testing, because he has       15   maybe he does and didn't say it, and Dr. Hamilton
16           comments in there based on, I think,            16   as well, that there has been major research in the
17           probably Dr. Hamilton's report.                 17   past five years on the actual changes in the brain
18    BY MR. DRURY:                                          18   because of catecholamines and all kinds of
19          Q. You mentioned --                              19   different chemicals when someone has severe PTSD.
20          A. And --                                        20   And that, I think Dr. Singer said that I diagnosed
21          Q. -- the Heaton norms and the HRNES-R --        21   brain injury because of her emotional state. I
22          A. Yes.                                          22   diagnosed brain injury because that's the way she
23          Q. -- as being in agreement?                     23   performed on two standardized batteries. But in
24          A. Right.                                        24   addition, I stated the research in my report that
25          Q. Can you tell us why they were in              25   shows that brain structures actually change when
23 of 43 sheets                                   Page 89 to 92 of 115                             05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 24 of 43
                                                      93                                                         95
 1   someone has severe PTSD, which will, in effect,         1   Neuropsychiatry is, "Does PTSD Impair Cognition
 2   cause cognitive damage.                                 2   Beyond the Effect of Trauma," and all of these talk
 3           Q. Do you have an opinion, within a             3   about the changing of the brain functions and the
 4   reasonable degree of neuropsychological                 4   changing of the actual shape of some of the brain
 5   probability, as to whether Charlene Major is            5   structures, and what that does to cognition. There
 6   suffering from severe PTSD as a result of the           6   are many more articles. I just have four.
 7   incident on the cruise ship?                            7           Q. Are those peer-reviewed articles?
 8                 MR. PELAEZ: Objection. Form.              8           A. All of them are peer-reviewed, yes.
 9                 THE WITNESS: Yes, I do.                   9           Q. Do you have an opinion, within a
10   BY MR. DRURY:                                          10   reasonable degree of neuropsychological
11           Q. And what is your opinion in that            11   probability, as to whether Charlene Major sustained
12   regard?                                                12   a minor traumatic brain injury as a result of the
13           A. My opinion is she is suffering severe       13   incident on the cruise ship?
14   PTSD as a result of the incident on the cruise         14                MR. PELAEZ: Objection to form.
15   ship, and that she was in a more fragile state than    15                THE WITNESS: Yes, I do.
16   most people, but coping because she had all the        16   BY MR. DRURY:
17   other things happen in her life, which makes her, I    17           Q. And what is your opinion in that
18   think -- what do you call it? An eggshell              18   regard?
19   plaintiff. I remember that term. So, yes, I think      19           A. She did sustain a minor traumatic
20   she has severe PTSD.                                   20   brain injury as a result of the incident on the
21           Q. And do you have an opinion, within a        21   cruise ship.
22   reasonable degree of neuropsychological                22           Q. Did you have an opportunity to review
23   probability, as to whether Charlene Major's severe     23   Darlene Carruthers' report regarding life care
24   PTSD is affecting her brain chemistry?                 24   plan?
25                 MR. PELAEZ: Objection to form.           25           A. I think I have a copy of it. I'm not
                                                      94                                                         96
 1                 THE WITNESS: Yes, I do.                   1   sure where it was positioned, because I think my
 2   BY MR. DRURY:                                           2   office manager put it somewhere.
 3           Q. And what is your opinion in that             3           Q. That's okay.
 4   regard?                                                 4           A. But I reviewed it and my opinion was
 5           A. It is affecting her brain chemistry,         5   -- I would like to see it to know what my opinion
 6   as shown by research -- not my research,                6   -- but that was, I believe, your vocational expert,
 7   independent research, that I have gathered, as well     7   Carruthers, and I did agree with what she said, but
 8   as what has been known in the field for at least        8   I can't find where the report is here.
 9   five years now.                                         9           Q. Perhaps --
10           Q. What are the articles that you're           10                MS. MEISTER: If you want to take a
11   referring to that talk about the changes in brain      11           moment and ask Lisa.
12   chemistry as a result of severe PTSD?                  12                THE WITNESS: Can I ask her for it?
13           A. The articles that I am referring to         13   BY MR. DRURY:
14   are an article in neuropsychiatry, "Does PTSD          14           Q. Before you do that, did you concur
15   Impair Cognition Beyond the Effect of Trauma,"         15   with the recommendations that Darlene Carruthers
16   that's one article.                                    16   made in her life care plan?
17                 Another is from the Clinical             17                MR. PELAEZ: Objection to form.
18   Neuroscience Journal, dialogues in clinical            18                THE WITNESS: Yes, I did.
19   neuroscience, "Traumatic Stress Effects on the         19                MR. DRURY: Yes, if you want to get
20   Brain."                                                20           the report.
21                 Another article is from the Clinical     21                THE WITNESS: It might be here, but I
22   Neuroscience Journal, "Posttraumatic Stress            22           don't remember putting it in one of these
23   Disorder - the Neurobiological Impact of               23           Redweld files.
24   Psychological Trauma."                                 24                MS. MEISTER: No. No. Just let Lisa
25                 Another article from the Journal of      25           do it.
05/20/2019 12:26:12 AM                           Page 93 to 96 of 115                                    24 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 25 of 43
                                                          97                                                               99
 1                   THE WITNESS: Yes. She had something             1          A. Right.
 2             in a file and I think that was it. I don't            2          Q. -- to Darlene Carruthers' report.
 3             know if that was -- was that Carruthers'              3   Okay. Was to add the words PTSD and mild
 4             final report?                                         4   neurocognitive disorder?
 5                   MR. DRURY: I believe so.                        5          A. Correct.
 6                   THE WITNESS: Do you have Darlene                6                MR. PELAEZ: Objection. Form.
 7             Carruthers' final report?                             7   BY MR. DRURY:
 8                   MR. DRURY: There would have been --             8          Q. Okay. So we'll have Lisa make copies
 9             this can be off.                                      9   of those two and attach them.
10                   MR. PELAEZ: Yes, we can go off the            10           A. Okay.
11             record.                                             11                 (Thereupon, Plaintiff's Exhibit Nos.
12                   (Thereupon, a short recess was taken.)        12           4 and 5 were marked for identification.)
13                   MR. DRURY: We can go back on the              13    BY MR. DRURY:
14             record.                                             14           Q. So you mentioned that Ms. Major broke
15    BY MR. DRURY:                                                15    down during the test of sensory perception; is that
16            Q. All right. Dr. Kolitz Russell, I                  16    right?
17    believe you were mentioning your approval of                 17           A. Yes.
18    Darlene Carruthers' report, and now you have in              18           Q. Okay. Do you have an opinion, within
19    front of you --                                              19    a reasonable degree of neuropsychological
20            A. Yes.                                              20    probability, as to why Charlene Major broke down
21            Q. -- your questionnaire that you filled             21    during the test of sensory perception?
22    out for Darlene Carruthers, as well as the approval          22           A. Yes.
23    form; is that right?                                         23           Q. And what is your opinion in that
24            A. That's correct.                                   24    regard?
25            Q. Okay. And can you tell us if there                25           A. She's extremely sensitive, and
                                                       98                                                                100
 1    were any additions or revisions that you                       1   basically petrified because of the attack on her,
 2    recommended to Darlene Carruthers' report at any               2   of anyone unfamiliar touching her. So that is my
 3    point in time?                                                 3   opinion.
 4            A. I'm just trying to see here. I -- I                 4           Q. Even light touching?
 5    think, generally, I agreed with it.                            5                MR. PELAEZ: Objection. Form.
 6            Q. And you're looking at the                           6                THE WITNESS: It doesn't matter.
 7    questionnaire; right?                                          7           Someone that close to her, even light
 8            A. Yes. I'm looking at mine.                           8           touching.
 9            Q. And I believe in front of you, you                  9   BY MR. DRURY:
10    also have the approval form?                                 10            Q. What are the chemicals that are
11            A. Right.                                            11    released in the brain when someone experiences
12            Q. Which --                                          12    stress?
13            A. Which I signed.                                   13            A. Well, the catecholamines are the main
14            Q. -- I think says --                                14    thing, and they're the stress affect, like if
15            A. Except as noted by my comments, see               15    you're driving in a car and a car almost hits you,
16    page 5.                                                      16    you find yourself getting very hot. That's the
17                  MS. MEISTER: It's the next page of             17    catecholamines being released. There are a number
18            that.                                                18    of chemicals -- I'm not a scientist, so I don't
19                  THE WITNESS: Oh, here? Oh, I have              19    want to go into specific parts, that are released
20            under disability, I put in PTSD and mild             20    under stress factors and severe PTSD. And over
21            neurocognitive disorder. I think that was            21    time, in extreme PTSD, these do change the brain
22            not on the form here and I just added it.            22    structures, and this is based on actual functional
23    BY MR. DRURY:                                                23    MRIs, which can see the structures in the brain,
24            Q. Okay. So that was the only change                 24    and also PET scans. And that's what this research
25    that you made --                                             25    was talking about. We can actually now see changes
25 of 43 sheets                                         Page 97 to 100 of 115                                05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 26 of 43
                                                       101                                                         103
 1   in structures, so...                                      1           And that continues to cause depression and
 2            Q. Do you have an opinion within a               2           anxiety in someone.
 3   reasonable degree of neuropsychological probability       3   BY MR. DRURY:
 4   as to whether Charlene Major's PTSD is permanent?         4           Q. Do you have an opinion, within a
 5            A. I -- more likely than not, I think it         5   reasonable degree of neuropsychological
 6   is. It does not mean that she may not improve in          6   probability, as to whether the psychological
 7   some areas and be able to do more things than she         7   conditions and the impairments in Charlene Major's
 8   can do now. I can't say. As I've said, I can't            8   brain that you've discussed are related to and
 9   look into the future. But it is so severe that            9   directly caused by the incident on the cruise ship?
10   more likely than not, it is permanent, and more          10                MR. PELAEZ: Objection to form.
11   likely than not, she's not going to escape, like         11                THE WITNESS: Yes, I do.
12   any of us are, from other stress points and things       12   BY MR. DRURY:
13   in her life that are going to throw her backwards.       13           Q. And what is your opinion in that
14   Where someone who is more stable and does not have       14   regard?
15   major PTSD may have problems going through stress        15                MR. PELAEZ: Objection to form.
16   points in life, but not to the point where they          16                THE WITNESS: That they were directly
17   just throw them so they're incapable of                  17           caused by the incident on the cruise ship.
18   functioning.                                             18   BY MR. DRURY:
19            Q. Do you have an opinion, within a             19           Q. We talked earlier during direct
20   reasonable degree of neuropsychological                  20   examination, when Mr. Pelaez was asking you some
21   probability, as to whether Charlene Major's              21   questions, about a -- whether Charlene Major had
22   neurocognitive disorder is permanent?                    22   had a DUI in the past. Would that change your
23                 MR. PELAEZ: Objection to form.             23   opinion in any way?
24                 THE WITNESS: Yes, I do.                    24           A. No.
25                                                            25           Q. Okay. And there were also some
                                                  102                                                                104
 1   BY MR. DRURY:                                             1   questions about the party in which Charlene Major
 2          Q. And what is your opinion?                       2   fell through glass after the incident on the cruise
 3                MR. PELAEZ: Objection to form.               3   ship, and you mentioned that you thought you saw
 4                THE WITNESS: It is permanent.                4   somewhere that it was accidental.
 5   BY MR. DRURY:                                             5                Would -- does it refresh your memory
 6          Q. Do you have an opinion, within a                6   in terms of where you might have seen that, that it
 7   reasonable degree of neuropsychological                   7   was in her deposition?
 8   probability, as to whether Charlene Major has any         8                MR. PELAEZ: Objection to form.
 9   other psychological conditions that are permanent?        9                THE WITNESS: That's where I saw it
10                MR. PELAEZ: Objection. Form.                10            then. I know I saw it somewhere.
11                THE WITNESS: Well, along with the           11   BY MR. DRURY:
12          posttraumatic stress disorder is a                12            Q. And that it was accidental?
13          generalized anxiety disorder, and I think         13            A. Yes, it was.
14          that is always going to be with her, and          14                MR. PELAEZ: Objection to form.
15          the severe depression. But these two may          15   BY MR. DRURY:
16          mitigate slightly, I can't say that with          16            Q. It wasn't intentional?
17          the appropriate therapy, long term and            17            A. No. Someone did not go after her to
18          psychiatric help and medication, it's not         18   attack her.
19          going to get somewhat better. But dealing         19            Q. Okay. You mentioned that you reviewed
20          with a permanent cognitive disorder is            20   Dr. -- excuse me, Mr. Vanderhoof's notes and
21          going to make her very fragile because            21   deposition. That was after you prepared your
22          she's not -- and she's going to be aware,         22   report?
23          because it's, you know, minor cognitive           23            A. Correct.
24          problems. She's going to be aware of what         24            Q. Do you have any additional opinions
25          she could do but she cannot do anymore.           25   regarding his notes or deposition?
05/20/2019 12:26:12 AM                            Page 101 to 104 of 115                                      26 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 27 of 43
                                                       105                                                            107
 1             A. No, I agree with him. I agree with           1   and I don't have any practice in that.
 2    the diagnosis. I agree with the severe PTSD that         2                 "All right. So you don't know what
 3    he diagnosed, and the things that he said happened       3   the symptoms of a concussion are."
 4    in the sessions.                                         4                 She said, "I don't know."
 5                  MR. PELAEZ: Move to strike as              5                 And then it was asked, "You don't know
 6             previously undisclosed expert opinions          6   if it's lack of balance or inability to speak
 7             regarding the opinions of another.              7   clearly?"
 8    BY MR. DRURY:                                            8                 She said, "Okay, I just want to make
 9             Q. Okay. Dr. Kolitz Russell, there were         9   this clear. I graduated as nursing. I'm not
10    some questions about Jennifer Gianan, the casino        10   practicing as a nurse. I may have knowledge about
11    manager.                                                11   nursing, that was a long time ago."
12             A. Correct.                                    12                 And then she was asked, "Do you know
13             Q. And you were going to show us in her        13   the difference between the signs and symptoms of
14    deposition, a specific section regarding, I think,      14   intoxication versus the signs and symptoms of
15    concussion and whether there was a concussion or        15   concussion?"
16    whether Ms. Major was under the influence of            16                 She said, "I'm not working as a
17    alcohol --                                              17   medical field. I don't know exactly.
18             A. Excuse me.                                  18                 "So you're not offering any opinion as
19             Q. -- and she couldn't determine one way       19   to whether Ms. Major was intoxicated at the time of
20    or the other, even though she had a medical             20   the incident; correct?"
21    background. Could you show us which section you         21                 And she said, "What do you mean? I
22    were referring to?                                      22   don't say that she's intoxicated."
23             A. Yes, I can. There should be something       23                 And it went on. But then later it
24    labeled depositions here.                               24   says she was asked a question, "Okay, so you're
25             Q. Let me help you with that.                  25   not. I just want to be clear on this, because your
                                                       106                                                            108
 1             A. These are medical. These are -- maybe        1   testimony is a little unclear. Are you saying that
 2    -- let's see now. Let's see if this is it. It            2   Ms. Major was intoxicated at the time of the
 3    should be labeled depositions --                         3   incident?"
 4             Q. Other depos?                                 4                 And she said, "No, she's not."
 5             A. That's it. Good. Somewhere, I know.          5                 And that's what I remembered.
 6    I was trying to organize these by whatever. This         6             Q. Okay.
 7    is Tobias Tucker. This is her friend. It will be         7             A. I'm glad you found it.
 8    the last one, of course.                                 8             Q. So I'd like to pass you your case
 9                  MR. DRURY: Off the record.                 9   list.
10                  (Thereupon, a discussion was held off     10                 Have you had any cases that you've
11             the record.)                                   11   testified, either at trial or deposition, since
12    BY MR. DRURY:                                           12   March of 2019?
13             Q. Shall we go back on the record,             13             A. March, yes.
14    Doctor?                                                 14             Q. Okay. All right.
15             A. Yes, we can.                                15             A. Yes, I have.
16             Q. Okay.                                       16             Q. So this is an updated case list?
17             A. This is it. It would be something           17             A. This is updated. This has everything
18    that I had a paperclip on. That's all I can tell        18   on it that I've done, as far as depositions or
19    you.                                                    19   trial.
20                  Okay. Well, when she was asked, it        20             Q. We'll mark that as the next exhibit,
21    looks like it's page 175 of her deposition, when        21   6.
22    someone has a concussion, it can slow their words.      22                 (Thereupon, Plaintiff's Exhibit No. 6
23    She said, "I don't know about that.                     23             was marked for identification.)
24                  "Okay. You don't know that.               24   BY MR. DRURY:
25                  "I'm not working as a nurse anymore       25             Q. And then your curriculum vitae, has
27 of 43 sheets                                   Page 105 to 108 of 115                              05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 28 1of
                                                                                       1 143
                                                       109
                                                                    1            CERTIFICATE OF SHORTHAND REPORTER
 1   this been updated at all in 2019?                              2
                                                                        STATE OF FLORIDA )
 2           A.    I think it might have been, but that             3              ) SS.
 3   is the updated -- well, does it say 2018 or 2019 on                COUNTY OF MIAMI-DADE)
                                                                    4
 4   it, because that is the updated.                                               I, Corinne Grassini, Florida
                                                                    5   Professional Reporter, do hereby certify that I was
 5           Q.    I don't know.
                                                                        authorized to and did stenographically report
 6           A.    I'm sure it's the updated. Let's see.            6   deposition of DR. SALLY KOLITZ RUSSELL, that a
                                                                        review of the transcript was requested; and that
 7   This is definitely the updated one. So nothing                 7   the foregoing transcript, pages 1 through 110 is a
 8   else, I think, was added here.                                     true record of my stenographic notes.
                                                                    8
 9           Q.    Okay. So we'll attach that as the                                I FURTHER CERTIFY that I am not a
                                                                    9   relative, employee, or attorney, or counsel of any
10   next exhibit.                                                      of the parties, nor am I a relative or employee of
11                 (Thereupon, Plaintiff's Exhibit No. 7           10   any of the parties' attorney or counsel connected
                                                                        with the action, nor am I financially interested in
12           was marked for identification.)                       11   the action.
13   BY MR. DRURY:
                                                                   12                 DATED, this 20th day of May 2019.
14           Q.    Do you have an opinion, within a
                                                                   13
15   reasonable degree of neuropsychological
16   probability, as to whether Charlene Major sustained           14
                                                                           ____________________________________
17   a permanent aggravation of the anxiety that she               15      CORINNE GRASSINI
                                                                           Florida Professional Reporter
18   experienced prior to the incident on the cruise
                                                                   16
19   ship?
                                                                   17
20                 MR. PELAEZ: Objection. Form.
21                 THE WITNESS: Yes.                               18
                                                                   19
22   BY MR. DRURY:                                                 20
                                                                   21
23           Q.    And what is your opinion in that                22
24   regard?                                                       23
                                                                   24
25                 MR. PELAEZ: Objection. Form.                    25
                                                       110                                                           112
 1                 THE WITNESS: That there was an                   1                CERTIFICATE OF OATH
 2           exacerbation of any previous anxiety she               2

 3           had suffered in the past.                              3   STATE OF FLORIDA
                                                                    4   COUNTY OF DADE
 4   BY MR. DRURY:
                                                                    5
 5           Q.    And what was the cause of that
                                                                    6
 6   exacerbation?
                                                                    7             I, the undersigned authority, certify
 7                 MR. PELAEZ: Objection. Form.
                                                                    8   that DR. SALLY KOLITZ RUSSELL personally appeared
 8                 MR. DRURY: The attack on the cruise
                                                                    9   before me and was duly sworn.
 9           ship.                                                 10              WITNESS my hand and official seal this
10   BY MR. DRURY:                                                 11   20th day of May, 2019.
11           Q.    Is that your opinion within a                   12
12   reasonable degree of neuropsychological                       13
13   probability?                                                  14
14           A.    Yes, it is.                                     15      _ _ _ _ _ _ _ _ _ _ _ _ _ _
15                 MR. DRURY: Okay. Thank you very                 16      CORINNE GRASSINI

16           much, Dr. Russell.                                            Notary Public State of Florida
                                                                   17      My commission Expires: 11-16-22
17                 THE WITNESS: You're welcome.
                                                                           Commission #GG 268731
18                 MR. PELAEZ: Are you going to read or
                                                                   18
19           waive?
                                                                   19
20                 THE WITNESS: I want to read.
                                                                   20
21                 MR. PELAEZ: Thank you, Doctor.
                                                                   21
22                 MS. MEISTER: Thank you.                         22
23                 THE WITNESS: You're welcome.                    23
24                 (Thereupon, the deposition was                  24
25           concluded at 12:42 p.m.)                              25
05/20/2019 12:26:12 AM                                 Page 109 to 112 of 115                                        28 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8
                                        1 1 3 Entered on FLSD Docket 05/21/2019 Page 29 of 143
                                                                                             15
  1                 JURAT PAGE                                  1                ERRATA SHEET
                                                                2
  2   STATE OF FLORIDA      )
                                                                    F.R.C.P. RULE 1.310 PROVIDES IN PART:
                )SS.
                                                                3      (e)"...Any changes in form or substance that
  3   COUNTY OF DADE             )
                                                                    the witness wants to make shall be entered upon
  4                                                             4   a separate correction page by the officer with
  5                                                                 a statement of the reasons given by the witness
  6              I, hereby certify that I have read             5   for making them..."
  7   the foregoing transcript pages 1 to 110 and
  8   find the same to be true and accurate.                    6
  9              Any corrections made by me are set                  PAGE/LINE         CHANGE/CORRECTION         REASON
 10   forth on the errata page attached hereto.
                                                                7
 11
                                                                8   _______________________________________________
 12
 13                  ___________________________                9   _______________________________________________
 14                  (DR. SALLY KOLITZ RUSSELL)                10   _______________________________________________
 15                                                            11   _______________________________________________
 16   Sworn to and subscribed before me on this,               12   _______________________________________________
      ______ day of __________, 2019.                          13   _______________________________________________
 17                                                            14   _______________________________________________
                                                               15   _______________________________________________
 18   ____________________________
                                                               16   _______________________________________________
      Notary Public in and for the
                                                               17   _______________________________________________
 19   State of Florida at Large.
      My Commission expires:                                   18   _______________________________________________
 20                                                            19   ____________________________________________
                                                               20
 21                                                            21   I, ___________________, do hereby certify that
                                                                    I have read the foregoing transcript of my
 22                                                            22   deposition, given on May 17, 2019, and that
                                                                    together with any additions or corrections made
 23
                                                               23   herein, it is true and correct.

 24
                                                               24                _________________________
 25                                                                              DR. SALLY KOLITZ RUSSELL
                                                               25
                                                   114
  1                   JEANNIE REPORTING
                  28 West Flagler Street
  2                  Suite 610
                  Miami, Florida 33130
  3
  4

  5   TO: DR. SALLY KOLITZ RUSSELL
      C/O CHRISTOPHER M. DRURY, ESQUIRE
  6   DIMOND KAPLAN & ROTHSTEIN, P.A.
      Offices of Grand Bay Plaza
  7   2665 South Bayshore Drive
      PH-2B
  8   Miami, Florida 33133

  9
      May 20, 2019
 10
      IN RE: CHARLENE MAJOR v. CARNIVAL
 11   CASE NO: 18-21914-CIV-SCOLA

 12   Dear DR. SALLY KOLITZ RUSSELL,

 13   With reference to the examination of YOURSELF,
      deponent in the above-styled cause, taken on
 14   May 17, 2019 under oath, please be advised that
      the transcript of the Deposition has been
 15   transcribed and is awaiting your signature.

 16   Please arrange to conclude this matter at your
      earliest convenience. We would suggest that
 17   you telephone this office and arrange an
      appointment suitable for all concerned.
 18
      However, if this has not been taken care of by
 19   June 20, 2019 we shall conclude the reading and
      signing of said deposition has been waived, and
 20   shall then proceed to file the original of the
      said transcript with the party who took the
 21   deposition, without further notice to any
      parties.
 22
                    Sincerely,
 23
                  __________________________________
 24                  Corinne Grassini, FPR

 25   cc: All Counsel of Record.
29 of 43 sheets                                    Page 113 to 115 of 115                             05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 30 of 43
                                                                                        1


                                      1993 [4] - 10:20,                                       59:19, 67:25, 68:5,       92:24
                           $                                                 5
                                       10:21, 71:17, 72:12                                    69:4, 69:6, 69:14,       additional [4] - 8:2,
                                      1994 [1] - 10:21                                        69:24, 70:5, 70:14,       8:7, 77:10, 104:24
          $1,712.50 [1] - 7:3         1999 [1] - 72:21           5 [3] - 2:22, 98:16,         81:15, 86:21, 88:19,     additionally [1] - 7:17
          $100 [3] - 26:3, 26:15,                                 99:12                       88:23, 101:7             additions [2] - 98:1,
           26:25                                                 5,920 [1] - 8:11            abnormal [2] - 89:25,
                                                  2                                                                     115:22
          $2,000 [4] - 6:14, 7:2,                                50 [1] - 53:16               90:1                     adds [1] - 17:18
           7:21, 8:10                                            50/50 [1] - 10:12           above -styled [1] -       adjusted [1] - 63:8
          $2,900 [1] - 7:17           2 [7] - 2:20, 35:8,        575 [1] - 6:22               114:13                   administer [2] - 59:20,
          $8,912.50 [1] - 6:23         47:17, 79:12, 83:6,                                   abscesses [1] - 15:14      60:5
                                       83:8, 85:18
                                                                             6               absolutely [2] - 43:6,    administered [6] -
                                      2,000 [2] - 8:4, 8:12
                            '                                                                 74:14                     52:25, 53:19, 59:14,
                                      2,900 [2] - 7:19, 8:7                                  abuse [1] - 49:13          59:23, 79:12, 83:23
                                      20 [6] - 19:2, 28:2,       6 [6] - 2:22, 23:16,
                                                                                             abused [2] - 49:17,       administering [1] -
          'this   [1]   - 31:5         37:1, 72:4, 114:9,         24:15, 25:24,
                                                                                              49:19                     33:6
                                       114:19                     108:21, 108:22
                                                                                             Academy [1] - 9:7         admitted [1] - 70:5
                           1          2001 [3] - 71:18,          6.75 [1] - 7:2
                                                                                             accepted [2] - 38:15,     adult [2] - 60:24,
                                       71:19, 72:12              60 [3] - 8:19, 9:14,
                                                                                              72:14                     80:17
                                      2002 [1] - 71:18            10:2
          1 [9] - 2:20, 2:24, 15:5,                                                          accident [16] - 15:21,    advised [1] - 114:14
                                      2011 [1] - 15:6            610 [1] - 114:2
           78:8, 78:9, 83:6,                                                                  16:2, 16:7, 16:9,        advising [1] - 65:13
                                      2015 [2] - 72:21, 73:11    64 [5] - 82:10, 82:13,
           83:8, 111:7, 113:7                                                                 16:15, 16:24, 17:16,     advocate [2] - 9:12,
                                      2017 [1] - 23:18            82:14, 90:3, 90:6
          1,712.50 [2] - 7:14, 8:3                                                            23:14, 24:6, 32:10,       9:13
                                      2018 [5] - 4:4, 12:9,                                   47:8, 47:11, 47:12,
          1.310 [1] - 115:2                                                                                            affect [1] - 100:14
          10 [2] - 19:2, 21:15
                                       27:16, 32:3, 109:3                    7                48:7, 56:9               affecting [2] - 93:24,
                                      2019 [11] - 1:14,                                      accidental [2] - 104:4,
          11 [1] - 50:16                                                                                                94:5
                                       108:12, 109:1,                                         104:12
          11-14 [2] - 5:3, 5:9                                   7 [6] - 2:23, 27:4, 32:2,                             African [1] - 24:11
                                       109:3, 111:12,                                        accidentally [1] -
          11-15 [1] - 5:9                                         42:3, 83:10, 109:11                                  age [2] - 39:1, 73:21
                                       112:11, 113:16,                                        23:11
          11-15-2018 [1] - 5:3                                   7,920 [4] - 6:16, 7:12,                               agency [2] - 35:9,
                                       114:9, 114:14,                                        accomplished [1] -
          11-16-2016 [2] - 15:21,                                 7:25, 8:9                                             35:13
                                       114:19, 115:22                                         48:24
           16:2                                                  70 [4] - 8:20, 9:14,                                  aggravation [1] -
                                      20th [2] - 111:12,                                     according [3] - 22:14,
          11-16-22 [1] - 112:17                                   10:3, 81:19                                           109:17
                                       112:11                                                 47:1, 89:9
          110 [2] - 111:7, 113:7                                 750 [1] - 2:7                                         agitated [1] - 29:24
                                      21 [1] - 63:12                                         accuracy [2] - 43:9,
          12 [1] - 52:3                                                                                                agitation [1] - 29:11
                                      22 [2] - 30:23, 67:22                                   43:10
          1260 [1] - 1:12
                                      24-6 [1] - 78:12
                                                                             8                                         ago [2] - 73:3, 107:11
          12:42 [1] - 110:25                                                                 accurate [1] - 113:8      agree [15] - 37:25,
                                      26 [1] - 87:20                                         accurately [3] - 58:5,
          14 [3] - 12:9, 56:17,                                                                                         61:3, 62:9, 62:13,
                                      2601 [1] - 2:11            8 [4] - 12:21, 30:18,        59:6, 59:12
           80:3                                                                                                         62:19, 62:25, 72:13,
                                      2665 [2] - 2:3, 114:7       32:3, 79:18                achievement [1] -
          14th [1] - 5:19                                                                                               72:19, 73:17, 82:21,
                                      268731 [1] - 112:17        8,912.50 [2] - 7:13, 8:1     48:25
          15 [5] - 9:4, 37:5, 37:6,                                                                                     82:24, 96:7, 105:1,
                                      28 [1] - 114:1             800 [1] - 2:11              act [1] - 19:21            105:2
           37:7, 79:20
                                                                 8th [2] - 4:4, 77:2         action [2] - 111:10,      agreed [1] - 98:5
          15.50 [1] - 6:22
          15th [1] - 5:22                         3                                           111:11                   agreement [5] - 90:15,
          16 [1] - 80:2                                                      9               activities [3] - 68:13,    90:23, 91:1, 91:18,
                                                                                              68:19, 68:25              91:21
          17 [3] - 1:14, 114:14,      3 [3] - 2:21, 83:6, 83:8
           115:22                                                                            actual [11] - 16:22,      ahead [1] - 78:7
                                      30 [1] - 22:8              9 [2] - 79:16, 79:22
                                                                                              36:9, 38:22, 57:21,      AIS [1] - 91:7
          175 [1] - 106:21            33130 [2] - 2:8, 114:2     9350 [1] - 1:12
                                                                                              74:22, 80:6, 80:9,       akin [1] - 59:6
          18 [2] - 23:18, 62:6        33133 [3] - 2:4, 2:12,     96 [2] - 89:25, 90:1
                                                                                              89:1, 92:17, 95:4,       Alabama [1] - 72:22
          18-21914 -CIV-               114:8                     9:50 [1] - 1:13
                                                                                              100:22                   alcohol [8] - 19:18,
           SCOLA [2] - 1:3,           33156 [1] - 1:13
                                                                                             add [3] - 7:10, 7:20,      19:21, 20:12, 22:7,
           114:11                     37 [1] - 57:6                          A                99:3                      26:10, 43:25, 45:4,
          19 [1] - 36:18
                                                                                             added [5] - 24:1, 71:8,    105:17
          1973 [1] - 35:9                         4              a.m [1] - 1:13               71:19, 98:22, 109:8      alert [1] - 46:5
          1977 [2] - 35:9, 35:19
                                                                 abilities [2] - 52:6,       addendum [8] - 76:20,     alleged [2] - 24:10,
          1980s [1] - 36:15
                                      4 [3] - 2:21, 50:17,        60:23                       76:21, 77:6, 77:9,        45:13
          1981 [1] - 35:19
                                       99:12                     ability [2] - 59:11,         77:15, 77:20, 77:23,     allowed [2] - 84:5,
          1985 [1] - 30:20
                                      44 [1] - 2:7                67:20                       78:4                      84:6
          1987 [2] - 35:19, 36:10
                                      45 [2] - 17:12, 47:4       able [22] - 32:5, 44:9,     addendums [2] -           allowing [1] - 39:22
          1989 [1] - 30:20
                                                                  48:1, 52:10, 53:22,         76:14, 77:25             almost [8] - 6:3,
          1990s [1] - 36:18
                                                                  54:15, 54:20, 55:24,       addition [2] - 61:12,      12:17, 22:17, 44:18,

05/20/2019 12:26:12 AM                                               Page 1 to 1 of 14                                                      30 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 31 of 43
                                                                                        2


             54:25, 63:8, 91:12,      ascertain [1] - 81:15       107:6                      57:17, 58:7, 58:9,         20:8, 20:24, 21:11,
             100:15                   assailant [1] - 45:13      Barrera [2] - 45:13,        58:19                      26:24, 31:11, 47:6,
            alone [3] - 70:13,        assault [5] - 22:10,        45:17                     blocks [2] - 58:9,          62:23
             82:13, 82:16              22:11, 22:20, 24:5        based [9] - 32:23,          58:12                     brother 's [1] - 26:1
            altercation [1] - 74:9    assaulted [4] - 23:7,       62:21, 73:21, 76:4,       board [1] - 41:18          brought [2] - 17:10,
            American [2] - 9:7,        23:20, 24:3, 24:10         82:14, 84:22, 87:2,       boards [2] - 10:16,         47:2
             24:11                    assembly [1] - 60:4         90:16, 100:22              34:1                      bruised [1] - 47:25
            amount [1] - 83:24        assessing [1] - 91:22      basic [1] - 91:4           body [1] - 23:21           built [2] - 73:20, 74:2
            anemia [1] - 15:8         assignment [2] - 4:8,      basis [5] - 28:5, 28:16,   bone [1] - 15:15           bunch [1] - 81:14
            angry [2] - 25:4, 25:5     41:19                      32:5, 32:14, 40:19        bore [3] - 82:3, 82:4,     business [1] - 27:17
            answer [7] - 8:19,        assistant [1] - 30:20      batteries [3] - 63:6,       82:5                      buy [1] - 73:16
             19:3, 20:4, 21:2,        Association [2] - 9:8,      81:23, 92:23              boss [1] - 30:21           buying [1] - 27:2
             50:11, 68:8, 77:13        9:9                       battery [12] - 60:2,       bottle [8] - 22:9,         BY [71] - 2:5, 2:8, 2:12,
            answered [6] - 22:3,      assume [1] - 57:7           72:3, 72:7, 80:24,         22:15, 22:17, 22:22,       3:7, 5:24, 12:1, 12:6,
             42:15, 49:5, 66:15,      Atkins [1] - 11:21          81:3, 81:14, 82:16,        26:3, 26:15, 27:1,         20:9, 21:4, 25:23,
             67:13, 77:14             ATR [1] - 79:21             84:22, 85:21, 86:20,       44:20                      29:15, 31:23, 33:2,
            answers [3] - 28:5,       attach [3] - 83:5, 99:9,    88:24, 90:8               bottom [4] - 30:18,         34:20, 40:1, 42:17,
             28:15, 61:5               109:9                     Bay [2] - 2:3, 114:6        32:4, 42:3, 57:25          44:21, 49:11, 50:6,
            anticipated [1] - 66:25   attached [1] - 113:10      Bayshore [3] - 2:3,        box [4] - 57:24, 58:4,      56:16, 61:8, 62:18,
            anxiety [13] - 15:8,      attack [5] - 32:19,         2:11, 114:7                59:3, 59:5                 63:2, 64:9, 65:1,
             15:11, 18:8, 18:15,       45:19, 100:1,             became [1] - 33:19         boxes [2] - 57:23, 58:1     65:11, 66:1, 66:11,
             18:24, 53:5, 62:8,        104:18, 110:8             become [2] - 9:13,         Brain [1] - 94:20           66:21, 67:7, 67:18,
             62:14, 62:15,            attackers [1] - 45:23       20:18                     brain [48] - 4:15,          73:18, 75:16, 76:12,
             102:13, 103:2,           attends [2] - 51:22,       becomes [1] - 68:23         40:11, 47:8, 56:25,        77:5, 78:20, 79:6,
             109:17, 110:2             52:1                      becoming [1] - 27:16        57:1, 57:3, 57:8,          81:1, 83:17, 86:6,
            anxious [2] - 54:5,       attention [1] - 28:17      began [1] - 10:21           57:15, 57:18, 60:3,        86:14, 87:4, 87:23,
             62:17                    attorney [3] - 3:9,        beginning [2] - 13:3,       60:10, 60:17, 60:19,       88:2, 88:10, 89:14,
            anytime [1] - 47:10        111:9, 111:10              32:3                       61:16, 61:18, 61:25,       90:18, 92:4, 93:10,
            anyway [2] - 24:14,       attorneys [1] - 11:13      begins [2] - 12:21,         62:2, 63:3, 74:6,          94:2, 95:16, 96:13,
             60:2                     atypical [2] - 79:16,       15:5                       74:16, 74:17, 74:22,       97:15, 98:23, 99:7,
            apartment [1] - 27:7       79:20                     behalf [3] - 10:7, 10:9,    75:1, 81:6, 81:7,          99:13, 100:9, 102:1,
            appear [1] - 67:24                                    11:4                       81:10, 81:16, 82:9,        102:5, 103:3,
                                      auspices [1] - 35:22
            APPEARANCES [1] -                                    BEHALF [2] - 2:2, 2:10      82:11, 85:16, 90:3,        103:12, 103:18,
                                      Australia [2] - 73:4
             2:1                                                 behavioral [2] - 39:18,     90:11, 91:22, 92:17,       104:11, 104:15,
                                      authority [1] - 112:7
            appeared [2] - 52:16,                                 52:4                       92:21, 92:22, 92:25,       105:8, 106:12,
                                      authorized [1] - 111:5
             112:8                                               belong [1] - 9:10           93:24, 94:5, 94:11,        108:24, 109:13,
                                      automobile [5] - 16:2,
            applicable [1] - 73:25                               below [6] - 57:10,          95:3, 95:4, 95:12,         109:22, 110:4,
                                       16:15, 16:24, 17:16,
            applied [1] - 7:22                                    59:13, 82:7, 86:4,         95:20, 100:11,             110:10
                                       50:3
            appointment [1] -                                     90:1, 91:6                 100:21, 100:23,
                                      auxiliary [1] - 60:5
             114:17                   avenues [1] - 37:20        best [1] - 10:11            103:8                                C
            appropriate [1] -                                    better [4] - 69:8,         break [11] - 5:14, 5:20,
                                      average [17] - 60:11,
             102:17                                               83:25, 84:11, 102:19       5:23, 53:11, 53:14,
                                       60:14, 60:25, 61:2,                                                             C/O [1] - 114:5
            approval [4] - 84:21,                                between [5] - 22:2,         55:4, 55:5, 55:6,
                                       82:6, 82:8, 85:14,                                                              cafe [2] - 27:13, 28:24
             97:17, 97:22, 98:10                                  45:3, 84:4, 86:23,         55:12, 55:14, 56:12
                                       85:16, 85:23, 86:4,                                                             California [1] - 72:23
            areas [2] - 6:5, 101:7                                107:13                    breakdown [1] - 10:5
                                       86:21, 88:25, 91:5,                                                             candidates [1] - 37:21
            arithmetic [1] - 60:1                                Beyond [2] - 94:15,        breaks [5] - 52:17,
                                       91:6, 91:7                                                                      cannot [3] - 70:11,
            Arizona [2] - 72:22,                                  95:2                       53:9, 53:17, 54:23,
                                      awaiting [1] - 114:15                                                             82:15, 102:25
             72:23                                               beyond [7] - 36:12,         56:11
                                      aware [3] - 3:12,                                                                capable [2] - 29:20,
            arrange [2] - 114:16,                                 84:24, 86:11, 86:16,      brief [7] - 43:4, 44:6,
                                       102:22, 102:24                                                                   30:5
             114:17                                               87:10, 88:7, 89:18         44:8, 44:11, 44:12,
                                                                                                                       car [5] - 47:8, 47:20,
            arrangement [1] -                                    big [5] - 47:10, 71:6,      74:8
                                                 B                                          Briggs [1] - 3:10
                                                                                                                        48:7, 100:15
             60:4                                                 81:17, 84:11, 91:8
                                                                                                                       care [6] - 17:14, 41:11,
            arrested [1] - 50:10                                 bilateral [1] - 47:23      BRIGGS [1] - 2:10
                                                                                                                        47:6, 95:23, 96:16,
            article [4] - 94:14,      bachelor [1] - 34:14       bill [1] - 6:21            bring [4] - 28:16,
                                                                                                                        114:18
             94:16, 94:21, 94:25      bachelor 's [1] - 34:8     bills [2] - 6:17, 7:4       29:22, 67:17, 85:6
                                                                                                                       CARNIVAL [2] - 1:7,
            articles [9] - 51:8,      background [3] -           birthday [1] - 26:20       bringing [1] - 30:13
                                                                                                                        114:10
             56:3, 74:19, 74:25,       43:24, 49:1, 105:21       blackouts [4] - 41:24,     broke [4] - 53:10,
                                                                                                                       Carnival [11] - 3:10,
             85:5, 94:10, 94:13,      backwards [2] -             42:6, 42:11, 42:23         54:4, 99:14, 99:20
                                                                                                                        17:25, 18:12, 18:25,
             95:6, 95:7                56:24, 101:13             blanche [1] - 38:23        brother [11] - 17:13,
                                                                                                                        19:17, 23:4, 41:17,
            arts [1] - 34:14          balance [2] - 13:2,        block [5] - 57:12,          17:24, 19:20, 20:1,


31 of 43 sheets                                                     Page 2 to 2 of 14                                              05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 32 of 43
                                                                                        3


           42:9, 42:14, 43:7,       Charlene [15] - 3:12,       cohesive [1] - 29:19     condition [3] - 38:1,      18:22, 20:1, 20:24,
           46:3                      86:10, 87:9, 92:5,         cohesively [1] - 30:1     62:10, 62:20              23:7, 23:23, 24:3,
          Carruthers [3] - 96:7,     93:5, 93:23, 95:11,        college [1] - 48:15      conditions [4] - 14:24,    27:17, 27:24, 30:9,
           96:15, 97:22              99:20, 101:4,              Colorado [1] - 72:23      15:1, 102:9, 103:7        31:18, 31:22, 33:7,
          Carruthers ' [6] -         101:21, 102:8,             combat [2] - 38:12,      conduct [2] - 4:10,        33:8, 37:5, 39:10,
           95:23, 97:3, 97:7,        103:7, 103:21,              38:14                    13:23                     40:19, 40:20, 41:13,
           97:18, 98:2, 99:2         104:1, 109:16              comment [1] - 42:5       confirmed [1] - 28:20      41:15, 41:19, 43:17,
          carte [1] - 38:23         CHARLENE [2] - 1:4,         commented [1] -          confusing [2] - 28:13,     44:23, 44:24, 45:1,
          CASE [2] - 1:3, 114:11     114:10                      91:11                    28:14                     48:16, 49:2, 49:14,
          case [17] - 1:22, 4:23,   cheating [1] - 30:25        comments [8] - 19:13,    connected [1] -            49:17, 50:20, 50:23,
           11:10, 11:14, 11:21,     check [1] - 27:20            79:2, 79:7, 88:4,        111:10                    51:1, 51:16, 51:20,
           12:8, 13:13, 13:16,      cheek [1] - 54:3             88:11, 89:15, 90:16,    Connecticut [1] -          51:23, 52:7, 52:8,
           38:9, 40:24, 63:4,       chemicals [4] - 75:1,        98:15                    72:23                     52:18, 52:19, 52:21,
           88:5, 88:12, 91:12,       92:19, 100:10,             commission [1] -         consciously [1] -          52:22, 53:1, 53:2,
           108:8, 108:16             100:18                      112:17                   92:10                     53:6, 53:7, 54:17,
          cases [9] - 8:15, 8:20,   chemistry [3] - 93:24,      Commission [2] -         consciousness [14] -       54:22, 54:24, 55:10,
           9:24, 10:4, 10:6,         94:5, 94:12                 112:17, 113:19           15:24, 43:4, 43:21,       55:20, 59:18, 59:20,
           10:8, 11:3, 11:11,       chick [1] - 25:2            communicate [1] -         44:6, 44:8, 44:10,        59:21, 63:4, 63:5,
           108:10                   child [1] - 20:20            30:11                    45:1, 45:4, 45:18,        63:15, 63:16, 63:19,
          casino [4] - 43:11,       children [3] - 12:24,       communicating [1] -       48:4, 74:8, 74:12,        64:13, 65:4, 65:14,
           43:23, 44:23, 105:10      20:19, 20:20                30:5                     74:16, 74:17              66:4, 66:14, 67:1,
          catecholamines [3] -      choose [2] - 60:8,                                   considered [2] -           67:11, 68:6, 68:14,
                                                                companies [2] -
           92:18, 100:13,            60:18                                                89:25, 90:1               68:15, 68:17, 70:20,
                                                                 39:21, 71:7
           100:17                   CHRISTOPHER [1] -                                    consistent [3] - 61:1,     72:2, 76:15, 77:11,
                                                                company [1] - 73:3
          Caucasian [1] - 24:11      114:5                                                62:4, 63:14               78:1, 97:24, 99:5,
                                                                comparison [1] -
          caused [7] - 13:13,                                                            constantly [1] - 19:3      104:23, 105:12,
                                    Christopher [1] - 2:5        77:20
           16:17, 17:8, 77:15,                                                                                      107:20, 115:23
                                    chronic [1] - 15:15         complaints [1] - 19:7    contacted [1] - 3:19
           77:17, 103:9, 103:17                                                                                    correction [1] - 115:4
                                    church [1] - 51:23          complete [5] - 53:22,    continued [1] - 61:19
          cc [1] - 114:25                                                                                          corrections [2] -
                                    cigarette [1] - 22:8         53:25, 54:8, 68:19,     continues [1] - 103:1
          celebrate [1] - 26:19                                                                                     113:9, 115:22
                                    Cincinnati [2] - 72:5        84:22                   control [1] - 81:7
          Center [1] - 15:6                                                                                        correctly [1] - 45:2
                                    circumstances [1] -         completed [1] - 48:15    convenience [1] -
          certain [2] - 56:18,                                                                                     corresponds [1] -
                                     50:11                      completion [1] - 60:2     114:16
           57:11                                                                                                    85:6
                                    classification [1] -        complex [4] - 57:16,     convinced [1] - 23:10
          certainly [11] - 16:17,                                                                                  Costco [2] - 26:3, 27:1
                                     80:3                        57:20, 58:15, 58:19     cooking [1] - 68:25
           38:5, 50:9, 51:3,                                                                                       counsel [3] - 6:10,
                                    clear [2] - 107:9,          Composite [3] - 2:21,    coordinate [1] - 13:6
           52:14, 62:4, 64:16,                                                                                      111:9, 111:10
                                     107:25                      2:22, 78:8              coordination [1] -
           65:8, 66:18, 80:13,                                                                                     Counsel [2] - 88:17,
                                    clearly [1] - 107:7         comprehension [1] -       13:2
           91:24                                                                                                    114:25
                                    clients [1] - 11:5           60:1                    cope [5] - 19:20, 20:7,
          CERTIFICATE [2] -                                                                                        counseling [4] -
                                    clinic [3] - 35:24, 36:1,   comprehensive [9] -       20:22, 64:24, 68:13
           111:1, 112:1                                                                                             34:24, 35:15, 40:8,
                                     36:2                        63:7, 64:2, 74:3,       coped [1] - 20:17
          certify [4] - 111:5,                                                                                      63:24
                                    Clinical [2] - 94:17,        80:22, 81:13, 81:21,    copies [1] - 99:8
           112:7, 113:6, 115:21                                                                                    country [1] - 32:20
                                     94:21                       82:7, 82:18, 85:3       coping [4] - 17:20,
          CERTIFY [1] - 111:8                                                                                      COUNTY [3] - 111:3,
                                    clinical [7] - 4:17, 6:7,   concentrate [2] -         20:12, 93:16
          chance [4] - 82:13,                                                                                       112:4, 113:3
                                     8:23, 12:12, 12:15,         54:16, 56:1             copy [4] - 58:3, 77:6,
           82:15, 90:4, 90:7                                                                                       couple [4] - 10:18,
                                     35:13, 94:18               concentration [1] -       78:3, 95:25
          change [6] - 81:11,                                                                                       11:15, 58:14, 65:9
                                    close [6] - 17:13,           51:4                    Corinne [3] - 1:19,
           84:8, 92:25, 98:24,                                                                                     course [7] - 22:16,
                                     24:18, 24:21, 69:10,       concern [1] - 81:17       111:4, 114:24
           100:21, 103:22                                                                                           47:5, 61:10, 63:15,
                                     88:19, 100:7               concerned [2] - 27:21,   CORINNE [2] -
          CHANGE /                                                                                                  77:4, 84:14, 106:8
                                    code [1] - 32:6              114:17                   111:15, 112:16
           CORRECTION [1] -                                                                                        COURT [1] - 1:1
                                    coder [4] - 17:16,          conclude [2] - 114:16,   Corporation [1] - 3:11
           115:6                                                                                                   Courthouse [1] - 2:6
                                     20:21, 30:22, 31:15         114:19                  CORPORATION [1] -
          changed [1] - 31:4                                                                                       created [3] - 71:3,
                                    coding [5] - 57:12,         concluded [1] -           1:7
          changes [5] - 74:22,                                                                                      71:13, 71:14
                                     57:16, 57:22, 58:6,         110:25                  correct [103] - 3:13,
           92:17, 94:11,                                                                                           creators [1] - 71:21
                                     68:1                       conclusions [3] -         4:21, 4:22, 7:23,
           100:25, 115:3                                                                                           cried [1] - 29:8
                                    cognition [1] - 95:5         24:14, 46:1, 89:16       7:24, 8:5, 8:8, 12:9,
          changing [2] - 95:3,                                                                                     criticized [1] - 80:18
                                    Cognition [2] - 94:15,      concur [1] - 96:14        12:10, 12:13, 12:14,
           95:4                      95:1                                                 12:16, 13:25, 16:24,     critiques [1] - 80:15
                                                                concussion [6] -
          chapter [1] - 73:6        cogn itive [7] - 39:18,      43:25, 105:15,           18:1, 18:2, 18:4,        Cross [1] - 2:17
          characterize [1] - 63:3    59:16, 67:23, 88:21,        106:22, 107:3,           18:5, 18:8, 18:9,        CROSS [1] - 78:19
          charged [1] - 7:5          93:2, 102:20, 102:23        107:15                   18:12, 18:15, 18:21,     Cross -Examination


05/20/2019 12:26:12 AM                                             Page 3 to 3 of 14                                                    32 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 33 of 43
                                                                                        4


             [1] - 2:17                decide [2] - 65:18        derived [1] - 9:24         disclosing [1] - 87:19     86:9, 87:7, 87:16,
            CROSS -                    decided [1] - 89:3        design [9] - 57:12,        discuss [1] - 12:18        88:4, 88:12, 89:16,
             EXAMINATION [1] -         dedicated [1] - 8:15       57:17, 58:4, 58:7,        discussed [6] - 7:12,      89:22, 90:17, 91:19,
             78:19                     deducted [1] - 7:2         58:9, 58:11, 58:13,        12:22, 12:24, 33:4,       91:20, 92:14, 92:15,
            cruise [23] - 17:25,       deem [1] - 41:12           58:16, 58:19               53:10, 103:8              92:20, 97:16,
             18:12, 18:25, 19:17,      Defendant [1] - 1:8       designs [6] - 58:16,       discussing [3] -           104:20, 105:9,
             21:12, 22:12, 23:4,       defendant [1] - 3:10       58:23, 58:24, 58:25,       56:11, 75:10, 75:25       110:16
             26:13, 26:18, 26:19,      DEFENDANT [1] -            59:2, 59:3                discussion [1] -          drank [1] - 19:23
             26:21, 29:14, 32:19,       2:10                     determination [1] -         106:10                   drawn [1] - 31:6
             62:11, 93:7, 93:14,       Defendant 's [1] - 78:9    64:1                      disorder [17] - 16:9,     drink [2] - 22:15,
             95:13, 95:21, 103:9,      DEFENDANT 'S [1] -        determine [4] - 44:1,       16:12, 16:23, 17:4,       22:24
             103:17, 104:2,             2:24                      59:15, 81:9, 105:19        17:5, 33:10, 36:4,       drinker [1] - 19:23
             109:18, 110:8             defendants [1] - 10:10    determined [2] -            62:8, 62:15, 67:24,      drinking [10] - 19:25,
            crying [3] - 29:24,        deficits [1] - 67:23       65:24, 74:21               80:9, 98:21, 99:4,        20:6, 21:10, 22:5,
             30:2, 55:19               definitely [2] - 66:19,   developed [5] - 71:3,       101:22, 102:12,           22:10, 22:13, 26:2,
            Curriculum [1] - 2:23       109:7                     71:4, 72:1, 72:3,          102:13, 102:20            26:14, 27:2, 45:4
            curriculum [1] -           definitive [1] - 16:18     72:7                      Disorder [1] - 94:23      drinks [2] - 22:8,
             108:25                    degree [20] - 10:16,      diagnosed [5] - 16:13,     distinguish [1] - 73:21    22:17
            cut [3] - 23:15, 23:21,     16:8, 21:19, 33:15,       46:15, 92:20, 92:22,      DISTRICT [2] - 1:1, 1:2   drive [1] - 51:19
             24:8                       34:4, 35:10, 35:12,       105:3                     diverticulitis [1] -      Drive [3] - 2:3, 2:11,
            cutoff [2] - 79:18, 80:2    35:25, 86:8, 87:6,       diagnosis [3] - 16:18,      15:15                     114:7
            CV [2] - 34:5, 34:18        93:4, 93:22, 95:10,       80:7, 105:2               Dixie [1] - 1:12          drives [4] - 51:16,
                                        99:19, 101:3,            dialogues [1] - 94:18      docket [2] - 76:24,        68:17, 68:18, 68:19
                       D                101:20, 102:7,           diazepam [4] - 15:8,        78:12                    driving [3] - 51:18,
                                        103:5, 109:15,            18:15, 18:17, 18:21       doctor [3] - 34:13,        69:1, 100:15
                                        110:12                   die [1] - 48:7              41:23, 46:4              drug [1] - 21:14
            DADE [3] - 111:3,
                                       demographic [1] -         died [4] - 17:12, 17:13,   Doctor [6] - 41:16,       drugs [1] - 22:7
             112:4, 113:3
                                        82:7                      31:11, 47:4                70:17, 77:7, 78:18,      DRURY [82] - 11:16,
            daily [4] - 68:13,
                                       demographically [1] -     difference [4] - 24:14,     106:14, 110:21            11:20, 12:3, 20:2,
             68:19, 68:22, 69:1
                                        63:8                      79:23, 82:12, 107:13      document [1] - 73:10       20:25, 25:13, 28:3,
            damage [7] - 60:10,
                                       denied [5] - 41:24,       different [12] - 17:8,     document ed [1] -          28:12, 31:20, 32:22,
             81:6, 81:7, 81:16,
                                        42:10, 42:22, 44:25,      29:12, 35:23, 36:13,       18:10                     34:7, 34:11, 39:11,
             90:3, 90:11, 93:2
                                        48:2                      37:19, 39:24, 44:3,       documents [6] - 7:13,      42:15, 44:17, 49:3,
            Darlene [7] - 95:23,                                                                                       49:23, 61:7, 62:12,
                                       dependent [2] - 74:7,      46:21, 51:5, 59:7,         7:15, 7:23, 8:2, 8:3,
             96:15, 97:6, 97:18,                                                                                       62:24, 63:20, 64:14,
                                        81:5                      91:15, 92:19               83:5
             97:22, 98:2, 99:2                                                                                         65:5, 65:15, 66:5,
                                       deponent [1] - 114:13     difficult [3] - 57:14,     Dominican [1] - 70:6
            data [5] - 70:19, 72:4,                                                                                    66:15, 67:2, 67:12,
                                       depos [1] - 106:4          58:18, 61:15              done [4] - 28:25,
             72:15, 76:8, 77:21                                                                                        72:17, 75:13, 76:1,
                                       DEPOSITION [1] -          difficulty [1] - 48:2       31:24, 88:19, 108:18
            date [2] - 3:23, 7:5                                                                                       76:16, 76:20, 76:23,
                                        1:17                     diffuse [2] - 47:22,       down [13] - 10:12,
            dated [1] - 88:23                                                                                          77:2, 77:4, 78:11,
                                       deposition [32] - 7:17,    47:24                      23:17, 24:17, 25:24,
            DATED [1] - 111:12                                                                                         78:20, 79:6, 81:1,
                                        7:19, 8:8, 14:8,         digit [8] - 56:19,          32:3, 45:8, 47:2,
            dates [2] - 5:6, 26:23                                                                                     83:17, 86:6, 86:14,
                                        14:18, 14:19, 43:11,      56:22, 57:3, 57:12,        47:24, 53:10, 54:4,
            daughter [1] - 27:7                                   57:15, 57:20, 57:21,                                 87:4, 87:23, 88:2,
                                        43:16, 43:20, 43:23,                                 99:15, 99:20
            day's [1] - 55:1                                      58:6                                                 88:10, 88:15, 89:14,
                                        44:22, 45:6, 45:12,                                 DR [8] - 1:11, 1:17,
            day-to-day [3] - 40:14,                              DIMOND [2] - 2:2,           111:6, 112:8,             90:18, 92:4, 93:10,
                                        69:10, 69:21, 69:23,
             40:18, 51:11                                         114:6                      113:14, 114:5,            94:2, 95:16, 96:13,
                                        70:5, 75:4, 78:5,
            days [4] - 4:24, 17:14,                              Direct [1] - 2:17           114:12, 115:24            96:19, 97:5, 97:8,
                                        79:3, 81:18, 104:7,
             33:25, 47:7                                         direct [2] - 87:11,        Dr [56] - 3:8, 3:17,       97:13, 97:15, 98:23,
                                        104:21, 104:25,
            dazed [1] - 43:3            105:14, 106:21,           103:19                     3:18, 10:16, 10:23,       99:7, 99:13, 100:9,
            deal [2] - 20:16, 36:3      108:11, 110:24,          DIRECT [1] - 3:6            10:24, 14:7, 14:8,        102:1, 102:5, 103:3,
            dealing [3] - 18:8,         111:6, 114:19,           directions [3] - 52:11,     18:18, 28:7, 28:9,        103:12, 103:18,
             19:6, 102:19               114:21, 115:22            52:16, 53:21               33:3, 46:11, 51:7,        104:11, 104:15,
            deals [1] - 66:20          Deposition [2] - 1:22,    directly [6] - 22:9,        56:17, 71:4, 73:5,        105:8, 106:9,
            dealt [1] - 62:22           114:14                    24:5, 26:7, 26:9,          73:7, 73:8, 73:12,        106:12, 108:24,
            Dear [1] - 114:12          depositions [4] - 14:7,    103:9, 103:16              75:3, 75:7, 76:5,         109:13, 109:22,
            death [5] - 17:24,          105:24, 106:3,                                       77:21, 78:22, 78:23,      110:4, 110:8,
                                                                 director [1] - 30:20
             19:20, 20:1, 20:23,        108:18                                               78:25, 79:3, 79:13,       110:10, 110:15,
                                                                 disability [1] - 98:20
             21:11                                                                           79:25, 80:18, 81:18,      114:5
                                       depression [7] -          disagree [2] - 91:23,
            deaths [3] - 20:7,          17:23, 53:4, 62:19,                                  82:12, 83:9, 83:15,      Drury [5] - 2:5, 2:17,
                                                                  92:3
             26:1, 62:22                63:1, 102:15, 103:1                                  84:8, 84:19, 86:2,        11:5, 11:9, 11:15
                                                                 disagreed [1] - 45:21


33 of 43 sheets                                                     Page 4 to 4 of 14                                            05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 34 of 43
                                                                                        5


          due [1] - 24:20              47:19, 54:7                exhibit [3] - 78:4,          80:13                     fit [1] - 58:16
          DUI [3] - 50:7, 50:10,      endorsing [1] - 79:14        108:20, 109:10            fair [3] - 36:10, 65:2,     five [16] - 5:12, 5:13,
           103:22                     entail [4] - 57:22, 58:8,   Exhibit [6] - 78:8,          65:7                        5:22, 6:15, 22:23,
          DUIs [1] - 50:14             58:21, 59:9                 78:9, 83:7, 99:11,        fairly [2] - 56:24, 64:24     23:1, 26:2, 53:15,
          duly [2] - 3:3, 112:9       entails [2] - 4:13, 4:14     108:22, 109:11            fall [1] - 24:8               55:5, 56:12, 58:22,
          During [1] - 35:1           entered [1] - 115:3         EXHIBITS [1] - 2:18        fallacious [1] - 90:12        58:24, 59:1, 74:20,
          during [20] - 12:19,        entire [6] - 26:15,         exhibits [1] - 83:6        familiar [1] - 48:10          92:17, 94:9
           30:16, 34:1, 35:21,         29:9, 29:10, 30:3,         experience [2] -           family [8] - 12:22,         five-minute [1] - 56:12
           41:24, 42:11, 42:25,        59:20, 87:12                33:18, 35:7                 27:6, 69:5, 69:25,        Flagler [2] - 2:7, 114:1
           43:1, 43:21, 45:19,        entries [1] - 19:6          experienced [2] -            70:2, 70:6, 70:9,         flexible [1] - 81:14
           49:12, 52:17, 52:24,       entry [1] - 78:12            49:9, 109:18                70:13                     FLORIDA [4] - 1:2,
           53:9, 55:1, 55:18,         enumerable [1] - 85:5       experiences [1] -          far [5] - 27:20, 28:24,       111:2, 112:3, 113:2
           74:8, 99:15, 99:21,        environment [2] -            100:11                      50:2, 68:20, 108:18       Florida [15] - 1:13,
           103:19                      32:19, 32:20               Expert [1] - 2:22          fast [1] - 84:3               1:19, 1:21, 2:4, 2:8,
          dying [1] - 47:7            errata [1] - 113:10         expert [20] - 3:20, 6:6,   faster [1] - 26:4             2:12, 34:17, 34:23,
                                      ERRATA [1] - 115:1           7:6, 8:16, 8:24, 9:25,    father [12] - 17:12,          72:24, 111:4,
                      E               error [2] - 72:10, 81:9      10:5, 10:7, 10:9,           17:24, 19:20, 20:1,         111:15, 112:16,
                                      escape [1] - 101:11          10:14, 10:22, 10:24,        20:8, 20:23, 21:11,         113:19, 114:2, 114:8
                                      ESQUIRE [1] - 114:5          11:4, 37:12, 40:3,          26:22, 26:24, 31:11,      flying [1] - 70:11
          e)"...Any [1] - 115:3
                                      Esquire [3] - 2:5, 2:8,      41:1, 88:7, 89:21,          47:6, 62:23               focus [2] - 54:15, 56:1
          earliest [1] - 114:16                                    96:6, 105:6
                                       2:12                                                  father 's [1] - 26:1        focuses [1] - 33:6
          early [1] - 36:18                                       Expires [1] - 112:17                                   follow [3] - 40:18,
                                      essential [1] - 64:4                                   fearful [3] - 25:21,
          easier [1] - 35:8                                       expires [1] - 113:19                                     63:14, 78:21
                                      establish [1] - 13:3                                     32:18
          easily [1] - 7:20                                       explain [1] - 26:9                                     follow -ups [1] - 78:21
                                      evaluating [2] - 41:23,                                fearless [3] - 24:19,
          eczema [1] - 15:8                                       explained [2] - 25:8,        25:7, 25:18               followed [3] - 30:21,
                                       70:18
          education [5] - 48:15,                                   30:23                     February [1] - 32:3           40:12, 63:13
                                      evaluation [10] - 4:11,
           61:1, 73:22, 73:23,                                    explaining [1] - 30:5      federal [1] - 76:24         following [3] - 16:9,
                                       4:13, 6:13, 8:1, 8:10,
           73:24                                                  express [5] - 52:12,                                     41:17, 42:9
                                       8:11, 41:7, 41:8,                                     feigned [1] - 80:6
          educational [2] -                                        52:14, 66:24, 67:9,                                   follows [1] - 3:4
                                       63:10, 64:2                                           fell [4] - 23:12, 23:20,
           12:24, 48:25                                            67:19                                                 FOR [1] - 2:18
                                      Evaluation [2] - 2:24,                                   56:19, 104:2
          Edward [1] - 51:25                                      expressed [1] - 75:24                                  foregoing [3] - 111:7,
                                       70:25                                                 felt [3] - 24:19, 25:11,
          effect [6] - 39:19,                                     expressive [1] - 52:6                                    113:7, 115:21
                                      evening [1] - 47:19                                      25:20
           83:19, 84:10, 86:22,                                   extended [3] - 66:22,                                  foresee [1] - 67:17
                                      event [3] - 17:4, 17:6,                                few [6] - 10:12, 10:15,
           88:22, 93:1
                                       17:7                        67:1, 67:10                 23:4, 24:16, 37:8,        forget [1] - 51:12
          Effect [2] - 94:15, 95:2
                                      events [1] - 17:19          extensive [2] - 36:24,       78:21                     forgets [1] - 50:17
          effects [2] - 83:15,                                     39:22
                                      exacerbation [2] -                                     field [4] - 68:1, 72:15,    form [43] - 20:2, 20:25,
           84:2                                                   extent [2] - 21:2, 64:5
                                       110:2, 110:6                                            94:8, 107:17                25:13, 31:20, 39:11,
          Effects [1] - 94:19
                                      exact [2] - 10:22,          extreme [3] - 53:4,        figure [1] - 10:11            44:17, 49:3, 49:23,
          effort [4] - 56:5, 61:11,                                75:2, 100:21              file [5] - 3:21, 6:12,        61:7, 62:12, 62:24,
                                       26:23
           61:20, 62:5                                            extremely [2] - 17:19,                                   63:20, 64:14, 65:5,
                                      exactly [10] - 12:5,                                     14:20, 97:2, 114:20
          eggshell [1] - 93:18                                     99:25                                                   65:15, 66:5, 66:16,
                                       27:1, 34:19, 45:5,                                    filed [7] - 1:22, 3:11,
          eight [4] - 4:15, 4:21,                                 eyesight [1] - 13:2          76:23, 76:25, 77:2,         67:2, 67:12, 72:17,
                                       56:20, 59:25, 65:8,
           4:23, 65:23                                                                         78:15                       75:13, 76:1, 76:16,
                                       81:24, 82:21, 107:17
          either [4] - 11:5,                                                                                               93:8, 93:25, 95:14,
           51:24, 65:14, 108:11
                                      examination [3] -                      F               files [1] - 96:23
                                       87:11, 103:20,                                        filled [1] - 97:21            96:17, 97:23, 98:10,
          Elain [1] - 45:13                                                                                                98:22, 99:6, 100:5,
                                       114:13                                                final [2] - 97:4, 97:7
          Elbert [4] - 10:16,                                     F.R.C.P [1] - 115:2                                      101:23, 102:3,
                                      EXAMINATION [2] -                                      financial [1] - 6:12
           71:4, 71:21, 71:23                                     face [3] - 12:4, 45:24                                   102:10, 103:10,
                                       3:6, 78:19                                            financially [1] - 111:10
          element [1] - 60:7                                      face-to-face [1] - 12:4                                  103:15, 104:8,
                                      Examination [2] -                                      fine [2] - 54:21, 55:1
          emotional [2] - 48:22,                                  fact [7] - 17:9, 20:17,                                  104:14, 109:20,
                                       2:17, 2:17                                            finger [1] - 15:12
           92:21                                                    32:23, 46:20, 83:11,                                   109:25, 110:7, 115:3
                                      examinations [1] -                                     fingers [2] - 13:6, 54:3
          emotions [2] - 37:23,                                     84:14, 86:22                                         former [1] - 38:25
                                       61:5                                                  first [27] - 3:3, 3:19,
           39:3                                                   factor [7] - 46:18,                                    forth [5] - 14:8, 56:6,
                                      examined [1] - 3:4                                       3:24, 4:2, 5:15, 5:16,
          employee [3] - 30:25,                                     47:5, 48:19, 48:22,                                    72:11, 81:10, 113:10
                                      examiner [1] - 56:24                                     6:2, 7:1, 7:22, 10:13,
           111:9, 111:9                                             49:1, 49:6, 91:4                                     forwards [1] - 56:23
                                      exceeds [1] - 79:17                                      10:15, 10:17, 12:4,
          empty [1] - 58:4                                        factors [4] - 46:10,                                   foster [1] - 20:19
                                      except [2] - 73:25,                                      12:8, 13:7, 14:3,
          encouraged [2] -                                          46:12, 73:20, 100:20                                 fostering [1] - 20:20
                                       98:15                                                   17:7, 34:9, 36:15,
           69:15, 70:14                                           facts [1] - 45:25                                      Foundation [2] - 16:4,
                                      exclude [1] - 82:22                                      46:17, 55:3, 55:8,
          end [2] - 29:7, 53:17                                   fail [1] - 86:24                                         47:18
                                      excuse [2] - 104:20,                                     55:13, 71:16, 72:3,
          ended [3] - 31:1,                                       failed [2] - 80:12,          80:4, 87:18               four [12] - 5:13, 5:19,
                                       105:18

05/20/2019 12:26:12 AM                                               Page 5 to 5 of 14                                                         34 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 35 of 43
                                                                                        6


              22:23, 23:1, 26:2,      glad [1] - 108:7            80:19, 80:20, 82:1,        54:23, 54:24, 55:4,         85:14, 85:17, 85:23,
              55:3, 55:8, 55:16,      glass [6] - 22:25,          82:7, 82:19, 85:2,         55:5, 55:6, 55:7,           86:21, 88:25, 91:5,
              58:12, 74:19, 95:6       23:12, 23:15, 23:21,       85:10, 85:12, 85:17,       55:17, 55:18                91:7
            fourth [1] - 23:17         24:8, 104:2                85:20, 86:2, 89:2,        hours [27] - 4:16, 4:21,   impairments [1] -
            FPR [1] - 114:24          glasses [4] - 22:23,        89:5, 90:14, 90:21,        4:23, 5:4, 5:19, 5:20,      103:7
            fragile [6] - 17:6,        23:1, 44:19                91:5, 91:13, 91:15         5:21, 5:22, 5:23,         important [4] - 15:25,
              17:19, 20:15, 20:17,    graduated [2] - 48:14,     heavily [5] - 19:25,        5:25, 6:4, 6:15, 6:22,      42:20, 79:23, 80:15
              93:15, 102:21            107:9                      20:4, 20:6, 22:10,         7:2, 12:16, 14:4,         impress [1] - 32:16
            Francisco [1] - 27:6      Grand [2] - 2:3, 114:6      26:15                      53:17, 54:21, 55:3,       improve [1] - 101:6
            frankly [1] - 46:1        GRASSINI [2] -             heavy [2] - 19:23,          55:6, 55:8, 55:9,         IN [2] - 114:10, 115:2
            freely [1] - 39:2          111:15, 112:16             22:13                      55:11, 55:16, 55:25       inability [1] - 107:6
            freeway [1] - 47:19       Grassini [3] - 1:19,       held [2] - 52:23,          houses [1] - 27:6          incapable [1] - 101:17
            frequency [1] - 79:14      111:4, 114:24              106:10                    HRNES [18] - 60:2,         incident [42] - 13:9,
            frequently [2] - 21:10,   GRE [1] - 84:6             help [4] - 26:11, 50:19,    60:15, 70:19, 72:14,        13:15, 13:18, 14:5,
              21:25                   green [1] - 10:19           102:18, 105:25             73:19, 81:20, 82:9,         17:25, 18:11, 18:25,
            Friday [1] - 1:13         Group [1] - 15:9           hereby [3] - 111:5,         82:15, 82:22, 84:15,        19:16, 22:5, 23:3,
            friend [4] - 23:9,        group [9] - 37:20,          113:6, 115:21              85:10, 89:24, 90:6,         23:6, 25:10, 29:14,
              69:10, 70:12, 106:7      37:21, 51:23, 52:1,       herein [1] - 115:23         90:14, 90:21, 91:8,         30:8, 31:9, 31:18,
            friends [1] - 23:19        65:14, 65:19, 65:21,      hereto [1] - 113:10         91:14, 91:16                31:22, 31:25, 41:18,
            front [3] - 8:6, 97:19,    81:6, 81:7                hermit [1] - 20:18         HRNES -R [16] - 60:2,        41:25, 42:10, 42:11,
              98:9                    guess [1] - 25:19          herself [9] - 18:6,         70:19, 72:14, 73:19,        42:25, 43:1, 43:21,
            full [2] - 3:16, 54:25    gun [1] - 24:21             25:6, 25:19, 26:18,        81:20, 82:9, 82:15,         45:19, 46:22, 56:9,
            fun [1] - 25:2                                        29:6, 52:12, 52:14,        82:22, 84:15, 85:10,        60:21, 62:11, 62:21,
                                                                  69:9, 69:13                89:24, 90:14, 90:21,        69:5, 93:7, 93:14,
            functional [2] - 74:20,              H                                           91:8, 91:14, 91:16
              100:22                                             hesitation [1] - 25:11                                  95:13, 95:20, 103:9,
            functioning [5] -                                    high [2] - 48:14, 79:14    huge [1] - 38:4              103:17, 104:2,
                                      habits [1] - 22:5          Highway [1] - 1:12         husband [6] - 12:23,         107:20, 108:3,
              59:15, 60:9, 60:19,
                                      half [2] - 22:24, 73:2     Hispanic [1] - 24:12        27:22, 29:4, 50:19,         109:18
              60:21, 101:18
                                      Halstead [4] - 63:9,       history [29] - 4:17,        71:25, 72:1               incidents [2] - 46:19,
            functions [2] - 85:7,
                                       70:24, 82:20, 84:19        12:22, 12:24, 12:25,      hypertension [1] -           62:16
              95:3
                                      Hamilton [10] - 73:9,       13:9, 13:24, 14:4,         15:7                      include [1] - 73:20
            FURTHER [1] - 111:8
                                       76:5, 79:13, 80:1,         14:5, 14:23, 15:3,                                   included [3] - 7:18,
            future [8] - 64:12,
                                       80:18, 83:10, 84:19,       15:4, 15:19, 18:7,                    I                8:10, 89:4
              65:4, 66:3, 66:13,
                                       87:7, 91:19, 92:15         18:11, 19:16, 19:17,                                 including [2] - 4:16,
              66:25, 67:17, 68:6,
                                      hamilton [2] - 87:16,       21:15, 30:1, 30:16,                                    6:13
              101:9                                                                         idea [6] - 22:25, 44:14,
                                       91:19                      30:19, 47:1, 49:13,                                  income [2] - 9:5, 9:23
                                      Hamilton 's [12] - 14:7,                                44:16, 60:19, 60:20,
                                                                  49:14, 49:21, 50:8,                                  incorrect [1] - 90:2
                       G               14:8, 51:8, 75:8,                                      60:22
                                                                  56:9, 61:1, 61:2                                     incorrectly [1] - 89:8
                                       77:21, 79:3, 83:15,                                  identical [1] - 63:8
                                                                 hit [1] - 47:20                                       independent [2] -
            gainfully [1] - 67:21      84:9, 86:9, 88:4,                                    IDENTIFICATION [1] -
                                                                 hits [1] - 100:15                                       43:10, 94:7
            gathered [2] - 71:16,      88:12, 90:17                                           2:18
                                                                 hold [3] - 6:5, 56:4,                                 Indiana [1] - 72:25
             94:7                     hamilton 's [2] - 78:23,                              identification [5] -
                                                                  61:17                                                indicate [9] - 16:21,
            gathering [2] - 23:6,      81:18                                                  78:10, 83:8, 99:12,
                                                                 holds [1] - 39:3                                        42:22, 43:19, 56:18,
             72:4                     hand [1] - 112:10                                       108:23, 109:12
                                                                 home [5] - 29:4, 32:6,                                  57:11, 59:13, 62:7,
            gender [4] - 73:21,       handbook [1] - 73:7                                   III [10] - 59:20, 80:16,
                                                                  32:10, 32:14, 51:19                                    67:9, 68:12
             73:23, 73:24, 74:2       handle [3] - 25:19,                                     80:17, 80:20, 85:4,
                                                                 hope [2] - 69:8, 70:9                                 indicated [13] - 18:3,
                                       65:19, 69:20                                           85:11, 85:25, 89:3
            general [2] - 40:15,                                 Hospital [8] - 11:1,                                    23:18, 25:25, 41:23,
             63:13                    hard [2] - 8:18, 84:3                                 Illinois [1] - 72:24
                                                                  30:19, 33:13, 33:21,                                   45:18, 46:4, 47:21,
            generalized [3] - 62:7,   haunt [1] - 38:9                                      IMAGINATION [4] -
                                                                  38:10, 38:12, 47:18,                                   48:1, 52:4, 52:20,
             62:15, 102:13            Hawaii [1] - 72:24                                      41:17, 42:9, 42:21,
                                                                  72:5                                                   52:23, 54:12, 68:16
                                                                                              46:3
            generally [4] - 72:14,    head [3] - 15:22, 47:9,    hospitalization [2] -                                 indicates [2] - 27:5,
             81:24, 82:21, 98:5        47:21                                                immediate [1] - 56:22
                                                                  66:4, 66:14                                            79:21
            generic [3] - 37:16,      headache [2] - 15:23,                                 Impact [1] - 94:23
                                                                 Hospitals [1] - 16:4                                  indicating [1] - 16:7
             40:7, 40:15               48:2                                                 Impair [2] - 94:15,
                                                                 host [5] - 23:11,                                     indication [2] - 42:10,
            genetic [1] - 37:24       hear [1] - 13:5                                         95:1
                                                                  23:20, 24:3, 24:5,                                     53:3
            Georgia [1] - 72:24       hearing [2] - 13:2,                                   impaired [6] - 83:12,
                                                                  24:9                                                 indicator [1] - 48:23
                                       15:7                                                   85:19, 91:9, 91:13,
            GG [1] - 112:17                                      hot [1] - 100:16                                      individual [4] - 82:18,
                                                                                              91:14, 91:16
            Gianan [1] - 105:10       heart [1] - 35:20          hour [16] - 4:16, 5:20,                                 82:19, 83:22, 91:10
                                                                                            impairment [10] -
            given [5] - 21:6, 56:4,   Heaton [22] - 60:14,        5:23, 6:2, 6:22,                                     individuals [4] -
                                                                                              59:17, 82:6, 82:10,
             60:1, 115:4, 115:22       63:7, 71:15, 74:3,         12:19, 53:13, 53:15,                                   38:10, 38:11, 46:15,


35 of 43 sheets                                                     Page 6 to 6 of 14                                              05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 36 of 43
                                                                                        7


            81:6                      inventory [4] - 79:12,                                  37:6, 37:7, 55:7,          74:12, 74:17
                                                                            K
          influence [1] - 105:16        79:24, 87:1, 89:7                                     61:2, 84:4, 94:8         lost [3] - 43:20, 45:18,
          information [3] - 4:18,     inventory -2 [4] -                                    leave [1] - 23:9             74:7
            59:25, 75:21                80:14, 86:25, 87:8,      Kaiser [11] - 14:12,       leaving [1] - 51:19        Louisiana [1] - 73:1
          informed [1] - 11:9           89:6                      16:4, 17:15, 19:5,        left [7] - 7:3, 31:1,      LSAT [1] - 84:5
          initial [6] - 7:14, 7:21,   investing [2] - 27:13,      30:21, 31:2, 47:17,         35:12, 47:23, 58:23,     Luke 's [1] - 30:19
            8:3, 12:12, 12:19,          28:23                     48:5, 51:25, 52:2,          59:1, 59:4               lunch [9] - 5:20, 5:21,
            13:23                     investor [1] - 27:17        65:22                     leg [1] - 47:25              5:23, 53:11, 54:24,
          injured [4] - 57:1,         invoices [1] - 7:11        Kansas [1] - 72:25         legal [8] - 9:3, 9:25,       55:4, 55:6, 55:14,
            57:3, 61:25, 62:2         involved [6] - 8:16,       KAPLAN [2] - 2:2,            10:14, 10:17, 40:24,       55:17
          injury [24] - 27:23,          9:3, 9:20, 23:5, 37:2,    114:6                       49:13, 49:21, 50:8       Lynn [1] - 3:17
            40:11, 47:9, 56:25,         54:19                    keep [1] - 46:20           length [1] - 75:11
                                                                 Kentucky [1] - 72:25
            57:8, 57:15, 57:18,       involves [2] - 4:20,                                  letter [1] - 60:6                     M
            60:3, 60:17, 61:16,         9:15                     kept [1] - 30:13           level [1] - 48:15
            61:18, 63:4, 74:6,        inward [1] - 37:22         key [1] - 58:3             lied [1] - 45:24
            74:16, 74:18, 81:11,                                 kind [6] - 13:10, 39:2,                               mad [1] - 25:5
                                      IQ [6] - 57:18, 59:20,                                life [29] - 13:12, 17:9,
            82:9, 82:11, 85:16,                                   48:23, 49:9, 57:15,                                  main [4] - 29:2, 43:2,
                                        59:22, 59:24, 60:25,                                  17:11, 17:20, 26:11,
            91:22, 92:21, 92:22,                                  61:16                                                 44:4, 100:13
                                        85:12                                                 29:13, 37:18, 38:3,
            95:12, 95:20                                         kinds [7] - 15:12,                                    maintain [1] - 8:23
                                      irritable [3] - 25:5,                                   38:7, 38:8, 38:25,
          inpatient [3] - 66:22,        29:5, 68:23               33:18, 35:10, 35:14,        46:19, 46:22, 46:25,     Major [88] - 3:12, 5:5,
            66:25, 67:11              isolate [1] - 25:6          35:16, 37:12, 92:18         47:4, 51:4, 51:11,        12:7, 12:12, 12:18,
          insensitive [2] -                                      knee [1] - 15:7              62:16, 64:6, 64:19,       13:22, 14:11, 14:22,
                                      isolated [1] - 25:20
            56:25, 60:3                                          knees [1] - 47:25            64:22, 64:25, 66:20,      17:23, 18:7, 18:23,
                                      issue [3] - 77:15,
          insurance [1] - 39:21                                  knowledge [1] -              93:17, 95:23, 96:16,      19:25, 20:22, 21:5,
                                        77:18, 77:22
          intake [1] - 3:23                                       107:10                      101:13, 101:16            21:8, 21:9, 21:20,
                                      issued [6] - 6:25, 14:6,
          intelligence [1] -                                     known [2] - 59:16,         lifetime [1] - 73:15        22:4, 22:14, 23:5,
                                        14:19, 76:14, 77:25,
                                                                  94:8                                                  24:2, 24:23, 27:5,
            80:17                       87:17                                               light [2] - 100:4, 100:7
                                                                 knows [2] - 43:9,                                      27:8, 27:12, 27:15,
          intend [1] - 75:12          issues [6] - 14:23,                                   likely [3] - 101:5,
                                                                  92:14                                                 27:24, 28:11, 28:19,
          intensive [1] - 8:19          17:22, 18:8, 19:18,                                   101:10, 101:11
                                                                 KOLITZ [10] - 1:11,                                    30:15, 30:23, 31:8,
          intentional [1] -             19:24, 54:20                                        line [2] - 10:12, 87:12
                                                                  1:17, 2:16, 3:2,                                      32:9, 32:24, 41:18,
            104:16                    issuing [3] - 8:22,                                   lines [2] - 24:17, 57:25
                                                                  111:6, 112:8,                                         41:23, 41:24, 42:10,
          intentionally [1] - 61:4      14:9, 33:6                                          liquor [1] - 27:13
                                                                  113:14, 114:5,                                        42:22, 43:20, 44:25,
          interest [1] - 27:16        itself [1] - 15:19                                    Lisa [4] - 5:9, 96:11,
                                                                  114:12, 115:24                                        45:3, 45:18, 46:5,
          interested [3] - 15:16,     IV [9] - 80:21, 81:12,                                  96:24, 99:8
                                                                 Kolitz [4] - 3:17, 73:7,                               47:19, 48:6, 48:14,
            52:24, 111:10               84:19, 85:7, 85:13,                                 list [3] - 43:15, 108:9,
                                                                  97:16, 105:9                                          49:12, 50:17, 51:15,
          interesting [1] - 54:1        86:1, 86:2, 86:20,                                    108:16
                                                                                                                        51:22, 52:15, 54:20,
          interestingly [1] -           89:4                                                listed [1] - 15:5
                                                                                                                        56:19, 57:6, 59:23,
            71:14                                                            L              lives [1] - 49:10
                                                                                                                        61:4, 62:21, 63:13,
          interfered [2] - 53:5,                  J                                         living [4] - 68:14,
                                                                                                                        65:3, 65:13, 67:25,
            60:10                                                                             68:19, 68:22, 69:1
                                                                 LA [3] - 72:25, 73:1                                   68:5, 68:12, 68:16,
          International [1] - 9:8                                                           LLC [1] - 2:6
                                      Jacksonville [1] -         labeled [2] - 105:24,                                  69:3, 70:5, 70:19,
          internship [1] - 33:23                                                            look [18] - 3:21, 5:7,      74:5, 74:11, 77:11,
                                        69:25                      106:3
          interview [25] - 4:17,                                                              5:9, 21:13, 35:7,         79:13, 80:12, 86:10,
                                      jail [1] - 50:1            labor [1] - 8:19
            5:15, 6:3, 12:12,                                                                 36:22, 45:8, 57:1,        87:9, 88:20, 92:5,
                                      JEANNIE [1] - 114:1        lack [2] - 28:5, 107:6
            12:16, 12:19, 12:20,                                                              58:3, 59:24, 61:13,       93:5, 95:11, 99:14,
                                      Jennifer [1] - 105:10      language [1] - 52:6
            13:23, 21:13, 28:8,                                                               61:20, 61:21, 79:19,      99:20, 102:8,
                                      job [3] - 17:15, 31:16,    Large [2] - 1:21,
            29:8, 29:9, 29:10,                                                                81:22, 82:17, 84:13,      103:21, 104:1,
                                        32:12                      113:19
            29:17, 30:3, 30:16,                                                               101:9                     105:16, 107:19,
                                      joking [1] - 25:3          Las [2] - 69:11, 70:12
            32:25, 48:8, 49:13,                                                             looking [12] - 23:16,       108:2, 109:16
                                      Journal [3] - 94:18,       last [6] - 6:23, 36:8,
            52:12, 55:9, 55:12,                                                               24:15, 27:5, 32:2,       MAJOR [2] - 1:4,
                                        94:22, 94:25               43:12, 68:11, 74:24,
            55:19, 56:7                                                                       34:8, 50:16, 52:3,        114:10
                                      journals [1] - 9:21          106:8
          intoxicated [3] -                                                                   56:17, 62:6, 83:4,       major [9] - 62:7,
                                      judge [1] - 69:19          lasted [1] - 12:16
            107:19, 107:22,                                                                   98:6, 98:8                62:19, 63:1, 74:15,
                                      jumped [1] - 3:15          late [1] - 36:15
            108:2                                                                           looks [4] - 6:21, 7:1,      83:3, 86:24, 89:12,
                                      June [1] - 114:19          LAW [1] - 2:6
          intoxication [1] -                                                                  7:16, 106:21              92:16, 101:15
                                      JURAT [1] - 113:1          lawsuit [2] - 3:11, 3:12
            107:14                                                                          lose [2] - 44:25, 74:16    major 's [1] - 63:3
                                                                 lawsuits [2] - 10:14,
          invalid [5] - 79:22,                                                              loses [1] - 68:22          Major 's [9] - 31:24,
                                                                   40:14
            86:10, 86:18, 88:1,                                                             loss [10] - 15:7, 15:24,    50:23, 67:20, 69:21,
                                                                 least [10] - 10:20,
            89:13                                                                             43:4, 44:6, 44:8,         74:7, 93:23, 101:4,
                                                                   10:24, 34:25, 37:1,
          invalidity [1] - 79:21                                                              44:10, 45:4, 48:4,        101:21, 103:7

05/20/2019 12:26:12 AM                                               Page 7 to 7 of 14                                                        36 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 37 of 43
                                                                                        8


            majority [1] - 87:3         68:22, 68:25, 69:7,      mentions [1] - 42:3       move [3] - 28:15,       MRIs [1] - 100:23
            malingered [3] -            72:25, 78:15, 80:11,     met [4] - 12:4, 12:7,      87:20, 105:5           MS [6] - 77:1, 78:14,
             79:25, 87:1, 89:7          80:13, 92:9, 101:6,       13:22, 27:15             moving [1] - 87:13       96:10, 96:24, 98:17,
            Malingering [1] -           107:21                   method [1] - 89:1         MR [156] - 3:7, 5:17,    110:22
             92:10                     meaning [6] - 22:11,      methodology [2] -          5:24, 11:16, 11:20,    MSVT [1] - 92:2
            malingering [7] - 80:4,     25:1, 29:18, 52:10,       88:4, 88:12               12:1, 12:3, 12:6,      multiple [2] - 4:24,
             80:8, 91:24, 92:1,         71:18, 74:1              MIAMI [1] - 111:3          20:2, 20:9, 20:25,      67:23
             92:3, 92:6, 92:9          means [9] - 21:25,        Miami [9] - 1:13, 2:4,     21:4, 25:13, 25:23,    myalgias [1] - 47:23
            man [2] - 23:7, 23:10       48:23, 49:16, 49:19,      2:8, 2:12, 35:25,         28:3, 28:9, 28:12,
            manage [1] - 41:11          50:5, 80:21, 83:21,       36:3, 72:6, 114:2,        28:18, 29:15, 31:20,              N
            manager [6] - 3:22,         83:22, 92:10              114:8                     31:23, 32:22, 33:2,
             7:8, 43:23, 44:23,        meant [7] - 20:6, 24:5,   MIAMI-DADE [1] -           34:7, 34:11, 34:20,
                                        25:16, 26:25, 30:2,                                 39:11, 40:1, 42:15,    name [3] - 3:8, 3:16,
             96:2, 105:11                                         111:3
                                        30:14, 32:15                                        42:17, 44:17, 44:21,    43:12
            manifestations [1] -                                 might [5] - 22:20,
                                       measure [1] - 81:16                                  49:3, 49:11, 49:23,    named [1] - 14:16
             44:3                                                 77:18, 96:21, 104:6,
                                       measured [1] - 23:1        109:2                     50:6, 56:14, 56:16,    National [1] - 9:7
            manipulate [1] - 61:5
                                       measurements [2] -        mild [8] - 15:23, 48:2,    61:7, 61:8, 62:12,     national [1] - 34:1
            manual [4] - 71:11,
             79:19, 80:5, 90:6          81:9, 81:10               57:8, 63:4, 74:6,         62:18, 62:24, 63:2,    nature [2] - 4:7, 57:20
            manuals [2] - 75:8,        measures [3] - 91:9,       82:10, 98:20, 99:3        63:20, 64:9, 64:14,    near [1] - 10:18
             89:10                      91:24, 92:2              mildly [3] - 83:13,        65:1, 65:5, 65:11,     necessarily [3] - 41:4,
            manufacturer 's [1] -      MEBANE [1] - 2:10          85:18, 91:9               65:15, 66:1, 66:5,      44:5, 44:7
             79:17                     Mebane [1] - 3:9          mine [1] - 98:8            66:11, 66:15, 66:21,   necessary [3] - 43:6,
            March [3] - 77:2,          mechanism [1] -           minimum [2] - 73:12,       67:2, 67:7, 67:12,      64:8, 74:17
             108:12, 108:13             20:12                     77:12                     67:18, 72:17, 73:18,   neck [2] - 47:15, 47:23
            marijuana [4] - 20:22,     medical [24] - 13:8,      minor [3] - 95:12,         75:13, 75:16, 76:1,    need [14] - 40:10,
             21:6, 21:16, 21:21         13:24, 14:4, 14:11,       95:19, 102:23             76:12, 76:16, 76:18,    41:9, 56:12, 64:6,
            mark [3] - 78:3, 78:7,      14:21, 15:3, 18:3,       minute [2] - 53:13,        76:20, 76:22, 76:23,    64:12, 65:3, 66:3,
             108:20                     18:11, 19:5, 19:7,        56:12                     76:25, 77:2, 77:3,      66:8, 66:13, 66:25,
                                        19:16, 41:16, 41:22,     minutes [4] - 53:16,       77:4, 77:5, 78:11,      67:10, 67:15, 74:1,
            marked [6] - 45:11,
                                        42:8, 42:14, 42:21,       55:4, 55:7                78:13, 78:16, 78:20,    77:14
             78:10, 83:8, 99:12,
                                        43:24, 44:2, 46:2,                                  79:4, 79:6, 79:9,      needs [3] - 41:6,
             108:23, 109:12                                      misquote [2] - 34:6,
                                        68:1, 105:20, 106:1,                                81:1, 83:17, 84:24,     50:19, 53:14
            marriage [3] - 27:23,                                 47:16
                                        107:17                                              86:6, 86:11, 86:14,    negative [5] - 15:23,
             29:3, 68:24                                         miss [1] - 87:8
                                       Medical [3] - 15:6,                                  86:16, 87:4, 87:10,     15:24, 48:3, 49:14,
            married [2] - 27:24,                                 miss -scored [1] - 87:8
                                        15:9, 72:6                                          87:23, 87:25, 88:2,     49:21
             28:2                                                missed [1] - 69:12
                                       medication [5] -                                     88:6, 88:10, 88:13,    Neurobiological [1] -
            MASE [1] - 2:10                                      mitigate [1] - 102:16
                                        19:10, 39:17, 40:10,                                88:15, 88:16, 89:14,    94:23
            Mase [1] - 3:9                                       moderately [1] - 83:12
                                        64:3, 102:18                                        89:17, 89:20, 90:18,   neurocognitive [3] -
            master 's [8] - 33:14,                               moment [1] - 96:11
                                       medications [2] -                                    91:3, 92:4, 93:8,       98:21, 99:4, 101:22
             34:7, 34:10, 34:11,                                 month [2] - 22:25,
                                        13:10, 19:13                                        93:10, 93:25, 94:2,    neurological [1] - 48:3
             34:15, 34:23, 35:10,                                 84:7
                                       meet [1] - 11:23                                     95:14, 95:16, 96:13,   neurologist [2] -
             35:12                                               months [9] - 22:11,
                                                                                            96:17, 96:19, 97:5,     40:12, 63:14
            matrix [1] - 60:7          meeting [1] - 14:10        22:20, 23:5, 65:9,
                                                                                            97:8, 97:10, 97:13,    neuropsychiatry [1] -
            matter [10] - 3:20, 4:9,   MEISTER [7] - 2:6,         65:23, 83:16, 83:24,
                                                                                            97:15, 98:23, 99:6,     94:14
             6:11, 7:7, 8:21, 46:1,     77:1, 78:14, 96:10,       84:4, 86:23
                                                                                            99:7, 99:13, 100:5,    Neuropsychiatry [1] -
             64:7, 75:12, 100:6,        96:24, 98:17, 110:22     morning [2] - 3:8,
                                                                                            100:9, 101:23,          95:1
             114:16                    Meister [5] - 2:8, 4:6,    47:22
                                                                                            102:1, 102:3, 102:5,   Neuropsychological
            mattered [1] - 17:1         11:6, 11:7, 11:23        most [18] - 19:1,          102:10, 103:3,          [3] - 2:24, 9:9, 70:24
            matters [2] - 9:25,        memory [11] - 50:19,       27:21, 38:12, 43:9,       103:10, 103:12,        neuropsychological
             10:14                      50:23, 51:1, 51:2,        46:17, 55:21, 55:22,      103:15, 103:18,         [21] - 4:10, 4:13,
            mean [41] - 5:11,           51:7, 51:10, 51:14,       57:17, 59:16, 60:8,       104:8, 104:11,          6:13, 8:10, 9:18,
             16:17, 19:22, 22:2,        56:22, 61:24, 91:25,      60:17, 61:17, 61:24,      104:14, 104:15,         36:5, 36:19, 41:8,
             22:12, 22:19, 23:25,       104:5                     82:8, 86:23, 90:11,       105:5, 105:8, 106:9,    63:9, 86:8, 87:6,
             24:23, 27:19, 29:16,      men [1] - 74:1             91:4, 93:16               106:12, 108:24,         93:4, 93:22, 95:10,
             30:11, 32:17, 37:15,      mention [4] - 16:19,      mother [4] - 17:11,        109:13, 109:20,         99:19, 101:3,
             37:23, 39:3, 39:15,        16:22, 17:7, 90:2         47:3, 47:4                109:22, 109:25,         101:20, 102:7,
             41:14, 42:24, 43:2,       mentioned [11] - 4:20,    motion [2] - 28:4,         110:4, 110:7, 110:8,    103:5, 109:15,
             44:10, 49:22, 49:25,       17:22, 18:14, 33:3,       32:22                     110:10, 110:15,         110:12
             50:3, 50:9, 51:6,          78:22, 78:24, 90:19,     motivation [3] - 61:11,    110:18, 110:21         neuropsychologist
             51:11, 52:9, 52:12,        99:14, 104:3, 104:19      61:20, 61:23             MRI [1] - 74:21          [2] - 33:5, 33:19
             64:16, 66:8, 66:17,       mentioning [1] - 97:17    motor [2] - 73:25, 74:2


37 of 43 sheets                                                     Page 8 to 8 of 14                                         05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 38 of 43
                                                                                        9


          Neuropsychology [1]       November [3] - 4:4,       113:2, 113:3               66:24, 75:9, 75:11,       32:4, 59:13, 80:4
           - 9:7                     12:9, 27:16             offering [1] - 107:18       75:22, 75:24, 76:4,      parental [1] - 12:22
          neuropsychology [2]       nowhere [2] - 83:14,     office [7] - 3:22, 7:8,     76:10, 87:15, 87:16,     parents [2] - 17:10,
           - 6:7, 73:8               84:8                     9:4, 9:6, 53:19, 96:2,     87:17, 87:19, 88:8,       47:3
          Neuroscience [2] -        number [7] - 50:17,       114:17                     89:21, 104:24,           PART [1] - 115:2
           94:18, 94:22              52:17, 58:3, 60:6,      officer [1] - 115:4         105:6, 105:7             part [13] - 4:14, 11:1,
          neuroscience [1] -         79:12, 85:8, 100:17     OFFICES [1] - 1:11         opportunity [1] -          12:20, 13:7, 33:22,
           94:19                    numbers [3] - 56:23,     Offices [2] - 2:3, 114:6    95:22                     36:24, 38:13, 40:13,
          never [16] - 5:1, 9:2,     57:24, 58:1             official [1] - 112:10      order [2] - 16:14,         41:18, 41:21, 69:1,
           11:7, 11:18, 19:22,      nurse [2] - 106:25,      officially [1] - 4:3        29:19                     69:2, 80:19
           23:1, 27:20, 49:17,       107:10                  often [5] - 21:10,         organizations [2] -       part-time [1] - 11:1
           49:18, 50:3, 50:13,      nursing [2] - 107:9,      21:16, 21:18, 21:22,       9:1, 36:14               particularly [2] -
           53:12, 53:16, 60:1,       107:11                   63:18                     organize [1] - 106:6       29:13, 86:19
           63:22, 75:21                                      oftentimes [1] - 56:7      oriented [1] - 46:6       parties [2] - 111:9,
          new [3] - 38:21, 39:8,              O              old [2] - 47:4, 71:15      original [1] - 114:20      114:21
           39:14                                             omit [1] - 59:22           originally [1] - 71:5     parties ' [1] - 111:10
          New [1] - 73:5                                     omitted [3] - 60:2,        osteoarthritis [1] -      partner [1] - 73:7
          next [5] - 25:24, 27:4,   oath [1] - 114:14
                                                              60:3, 60:6                 15:11                    parts [1] - 100:19
           98:17, 108:20,           OATH [1] - 112:1
                                                             ON [2] - 2:2, 2:10         osteomyelitis [1] -       party [5] - 23:9, 23:19,
           109:10                   object [15] - 25:13,                                 15:15
                                                             once [4] - 36:21,                                     24:10, 104:1, 114:20
          nine [3] - 5:25, 17:13,    31:20, 39:11, 49:3,                                outline [1] - 13:19
                                                              64:19, 72:6, 73:14                                  pass [2] - 26:22, 108:8
           47:7                      49:23, 60:4, 63:20,
                                                             one [43] - 4:16, 16:10,    outside [8] - 8:24,       passed [4] - 10:16,
          NO [2] - 1:3, 114:11       65:5, 65:15, 66:5,
                                                              17:14, 22:15, 29:21,       37:11, 40:2, 40:14,       61:13, 89:9, 92:7
                                     66:16, 72:17, 75:13,
          none [1] - 59:3                                     30:12, 31:13, 38:4,        41:1, 52:2, 65:21,       past [9] - 9:3, 10:12,
                                     76:1, 76:16
          nonverbal [1] - 92:1                                38:22, 39:5, 45:23,        79:9                      14:22, 22:6, 39:19,
                                    objecting [1] - 87:12
          normal [4] - 51:1,                                  47:7, 51:5, 51:6,         overall [1] - 9:23         74:20, 92:17,
                                    objection [37] - 20:2,
           51:2, 90:9, 91:17                                  51:13, 53:13, 53:15,      own [4] - 20:19, 27:6,     103:22, 110:3
                                     20:25, 44:17, 61:7,
          normally [1] - 13:1                                 53:24, 58:24, 59:1,        70:12, 85:13             patient [8] - 23:20,
                                     62:12, 62:24, 64:14,
          normative [1] - 81:22                               68:7, 69:1, 71:6,                                    37:13, 37:15, 38:22,
                                     67:2, 67:12, 79:4,
          norms [38] - 60:14,
                                     79:9, 84:24, 86:11,
                                                              71:21, 73:9, 77:12,                  P               40:18, 41:6, 46:5,
           60:15, 63:7, 63:11,                                77:25, 79:23, 81:3,                                  61:4
                                     86:16, 87:10, 87:25,
           70:18, 71:2, 71:12,                                82:22, 84:2, 84:15,                                 patient 's [1] - 27:7
                                     88:6, 88:13, 88:14,                                P.A [3] - 2:2, 2:10,
           71:15, 72:2, 72:14,                                84:17, 91:15, 91:21,                                patients [27] - 33:9,
                                     89:17, 91:3, 93:8,                                  114:6
           73:19, 74:1, 74:4,                                 94:16, 96:22,                                        33:16, 34:2, 35:3,
                                     93:25, 95:14, 96:17,                               p.m [1] - 110:25
           80:19, 80:21, 80:22,                               105:19, 106:8, 109:7                                 35:15, 35:16, 35:20,
                                     99:6, 100:5, 101:23,                               page [25] - 12:21,
           81:3, 81:13, 81:21,                               one-to-one [1] - 51:13                                35:23, 36:4, 36:7,
                                     102:3, 102:10,                                      15:5, 21:15, 23:16,
           82:1, 82:7, 82:9,                                 ones [5] - 38:21,                                     36:9, 36:20, 36:24,
                                     103:10, 103:15,                                     24:15, 25:24, 27:4,
           82:19, 82:21, 84:20,                               60:17, 60:18, 60:20,                                 36:25, 37:3, 37:8,
                                     104:8, 104:14,                                      30:18, 32:2, 35:8,
           85:3, 85:10, 85:13,                                61:17                                                37:11, 37:17, 38:17,
                                     109:20, 109:25,                                     42:3, 47:17, 50:16,
           85:18, 85:20, 89:2,                               ongoing [1] - 41:11                                   39:9, 40:2, 40:5,
                                     110:7                                               52:3, 56:17, 62:6,
           89:5, 90:14, 90:21,                               open [4] - 24:17,                                     40:25, 41:12, 56:7,
                                    objective [1] - 45:22                                63:12, 67:22, 83:10,
           91:6, 91:13, 91:16,                                24:20, 26:2, 35:20                                   73:21
                                    observations [1] -                                   98:16, 98:17,
           91:20                                             opine [1] - 68:2                                     pattern [4] - 61:14,
                                     52:4                                                106:21, 113:10,
          Nos [2] - 83:7, 99:11                              opined [1] - 76:10                                    61:19, 61:21, 62:4
                                    observed [1] - 45:22                                 115:4
          Notary [3] - 1:20,                                 opinion [38] - 64:10,                                peer [3] - 84:21, 95:7,
                                    obtained [1] - 79:15                                PAGE [4] - 2:16, 2:19,
           112:16, 113:18                                     64:11, 67:20, 68:4,                                  95:8
                                    obvious [1] - 52:5                                   2:24, 113:1
          note [4] - 14:22,                                   68:7, 68:9, 74:5,                                   peer-reviewed [2] -
                                    obviously [6] - 13:4,                               PAGE /LINE [1] - 115:6
           41:22, 42:21, 46:3                                 74:6, 74:13, 86:7,                                   95:7, 95:8
                                     25:8, 29:11, 43:4,                                 pages [3] - 74:24,
          noted [6] - 15:21,                                  86:15, 87:3, 87:5,                                  Pelaez [4] - 2:12, 2:17,
                                     69:12, 81:21                                        111:7, 113:7
           25:25, 47:18, 47:22,                               87:22, 87:24, 93:3,                                  3:9, 103:20
                                    occasion [1] - 32:10                                paid [1] - 6:9
           52:5, 98:15                                        93:11, 93:13, 93:21,                                PELAEZ [75] - 3:7,
                                    occasionally [3] -                                  pain [5] - 15:7, 47:23,
          notes [6] - 14:20,                                  94:3, 95:9, 95:17,                                   5:17, 5:24, 12:1,
                                     21:21, 21:22, 21:24                                 47:24
           21:13, 84:13,                                      96:4, 96:5, 99:18,                                   12:6, 20:9, 21:4,
                                    occupied [1] - 52:25                                paper [3] - 3:25,
           104:20, 104:25,                                    99:23, 100:3, 101:2,                                 25:23, 28:9, 28:18,
           111:7                    occur [1] - 80:6                                     36:13, 72:21
                                                              101:19, 102:2,                                       29:15, 31:23, 33:2,
          nothing [4] - 27:9,       occurred [1] - 13:16      102:6, 103:4,             paperclip [1] - 106:18     34:20, 40:1, 42:17,
           56:10, 90:7, 109:7       OF [13] - 1:2, 1:11,      103:13, 103:23,           papers [3] - 9:1, 9:11,    44:21, 49:11, 50:6,
          notice [2] - 21:17,        1:17, 2:2, 2:10,         107:18, 109:14,            36:21                     56:14, 56:16, 61:8,
           114:21                    111:1, 111:2, 111:3,     109:23, 110:11            paragraph [7] - 23:17,     62:18, 63:2, 64:9,
          Notice [1] - 1:21          112:1, 112:3, 112:4,    opinions [17] - 66:2,       24:16, 25:24, 32:3,       65:1, 65:11, 66:1,


05/20/2019 12:26:12 AM                                          Page 9 to 9 of 14                                                       38 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 39 of 43
                                                                                        10


             66:11, 66:21, 67:7,       14:12, 15:9, 17:15,         positive [2] - 37:14,      109:16, 110:13            psychotherapy [3] -
             67:18, 73:18, 75:16,      19:6                         50:8                     problems [14] - 13:13,      63:15, 63:19, 64:12
             76:12, 76:18, 76:22,     person [7] - 38:24,          possibility [1] - 66:18    13:17, 19:12, 47:15,      PTSD [51] - 16:14,
             76:25, 77:3, 77:5,        39:2, 44:2, 45:22,          possible [6] - 16:12,      51:4, 51:7, 51:10,         16:19, 33:16, 35:3,
             78:13, 78:16, 79:4,       58:2, 58:12, 58:14           16:19, 58:2, 58:13,       52:5, 57:1, 62:3,          35:15, 36:7, 36:9,
             79:9, 84:24, 86:11,      person 's [1] - 59:11         61:3, 80:5                68:24, 101:15,             36:25, 37:3, 37:8,
             86:16, 87:10, 87:25,     personal [1] - 56:8          post [2] - 14:9, 83:16     102:24                     37:11, 37:14, 37:16,
             88:6, 88:13, 88:16,      personally [1] - 112:8       postdoctoral [1] -        proceed [1] - 114:20        37:17, 37:24, 37:25,
             89:17, 89:20, 91:3,      perspective [1] -             33:23                    processing [1] - 59:8       38:5, 38:17, 38:23,
             93:8, 93:25, 95:14,       20:11                       posttraumatic [10] -      Professional [3] -          39:5, 39:8, 39:9,
             96:17, 97:10, 99:6,      PET [2] - 74:21,              16:8, 16:12, 16:14,       1:20, 111:5, 111:15        39:16, 39:23, 40:10,
             100:5, 101:23,            100:24                       16:23, 17:3, 17:5,       professional [2] -          41:12, 46:16, 48:20,
             102:3, 102:10,           petrified [1] - 100:1         33:10, 36:4, 67:24,       8:25, 9:21                 51:6, 51:10, 64:19,
             103:10, 103:15,          PH-2B [2] - 2:4, 114:7        102:12                   prognosis [2] - 46:16,      64:23, 72:15, 74:23,
             104:8, 104:14,           Ph.D [2] - 35:1, 35:25       Posttraumatic [1] -        48:19                      92:19, 93:1, 93:6,
             105:5, 109:20,           PH.D [2] - 2:16, 3:2          94:22                    program [1] - 82:16         93:14, 93:20, 93:24,
             109:25, 110:7,           philosophy [1] - 34:13       potential [2] - 16:23,    progress [1] - 14:20        94:12, 94:14, 95:1,
             110:18, 110:21           photophobia [2] -             48:20                    prolonged [1] - 74:23       98:20, 99:3, 100:20,
            people [21] - 25:12,       15:23, 48:3                 practice [16] - 8:24,     pronouncing [1] -           100:21, 101:4,
             33:13, 37:20, 37:21,     physically [2] - 49:18,       10:25, 33:14, 35:14,      18:19                      101:15, 105:2
             38:5, 38:6, 39:15,        54:9                         35:22, 36:16, 37:11,     protective [7] - 46:10,    Public [3] - 1:20,
             39:22, 40:10, 41:2,                                    40:14, 41:1, 83:14,       46:12, 46:18, 48:19,       112:16, 113:18
                                      physician [1] - 41:5
             44:4, 49:7, 56:3,                                      83:18, 84:1, 84:10,       48:22, 49:1, 49:6         publish [1] - 72:8
                                      physician 's [1] - 8:21
             57:1, 57:15, 61:15,                                    86:22, 88:22, 107:1      protocol [1] - 38:16       published [5] - 70:25,
                                      picture [3] - 58:17,
             61:24, 62:3, 71:11,                                   practicing [2] - 44:2,    protocols [1] - 39:14       71:10, 71:17, 72:11,
                                       60:2, 60:4
             73:16, 93:16                                           107:10                   provide [1] - 75:12         73:3
                                      pictures [1] - 58:15
            per [1] - 6:22                                         pre [2] - 13:9, 60:21                                publishing [1] - 71:7
                                      piece [1] - 72:21                                      provided [1] - 8:6
            percent [9] - 8:20,                                    pre-incident [1] -                                   pull [1] - 55:24
                                      place [3] - 16:10, 30:8,                               providers [1] - 19:7
             9:14, 10:3, 81:19,                                     60:21                                               pulled [1] - 26:18
                                       31:13                                                 PROVIDES [1] - 115:2
             82:10, 82:13, 82:14,                                  preaccident [2] - 15:4,                              pulls [1] - 24:21
                                      placed [1] - 15:8                                      psychiatric [6] -
             90:3, 90:6                                             61:1                                                purpose [1] - 61:9
                                      places [1] - 23:22                                      13:11, 15:19, 64:2,
            percentage [1] - 9:23                                  preclude [1] - 80:8                                  purposes [1] - 72:15
                                      plaintiff [3] - 5:5, 12:8,                              66:4, 66:13, 102:18
            percentages [1] - 10:6                                 prediabetes [1] -                                    pursuant [1] - 1:21
                                       93:19                                                 psychiatrist [5] - 40:9,
            percentile [1] - 57:6                                   15:11                                               pursue [2] - 63:18,
                                      Plaintiff [1] - 1:5                                     64:17, 65:25, 66:10,
            percentiles [1] - 56:19                                predicate [1] - 28:6       67:5                       65:13
                                      PLAINTIFF [1] - 2:2
            perception [2] - 99:15,                                preexisting [2] -         psychiatrists [1] -        put [14] - 19:9, 25:2,
                                      PLAINTIFF 'S [1] -
             99:21                                                  62:10, 62:20              41:3                       30:3, 43:9, 50:1,
                                       2:19
            perceptual [1] - 54:2                                  premorbid [3] - 59:15,    Psychological [7] -         54:25, 72:21, 76:5,
                                      plaintiff 's [1] - 6:10
            perfectly [3] - 29:20,                                  60:9, 60:23               9:8, 71:1, 71:6, 72:7,     77:19, 81:4, 84:2,
                                      Plaintiff 's [5] - 83:6,
             30:5, 54:21                                           preparation [4] - 7:17,    72:20, 73:11, 94:24        84:7, 96:2, 98:20
                                       83:7, 99:11, 108:22,
            perform [3] - 5:2,                                      7:18, 8:7                psychological [19] -       putting [2] - 81:14,
                                       109:11
             40:3, 40:19                                           prepare [1] - 75:4         9:17, 13:9, 13:11,         96:22
                                      plaintiffs [1] - 10:7
            performance [3] -                                      prepared [1] - 104:21      14:13, 14:22, 14:23,
                                      plan [2] - 95:24, 96:16
             57:11, 60:16, 61:11                                   prescription [1] - 21:6    15:17, 36:20, 39:1,                 Q
                                      Plaza [2] - 2:3, 114:6
            performed [8] - 4:25,                                  presence [1] - 80:9        41:7, 48:23, 49:8,
                                      plus [1] - 8:3
             5:5, 9:15, 12:11,                                     presenting [1] - 30:1      51:3, 54:10, 63:24,
                                      point [9] - 17:21,                                                                qualifies [1] - 48:18
             50:22, 71:19, 81:9,                                   preventing [1] - 67:25     66:14, 66:23, 102:9,
                                       27:22, 28:3, 31:17,                                                              qualify [1] - 50:7
             92:23                                                                            103:6
                                       36:18, 41:9, 45:1,          previous [4] - 42:24,
            performing [2] -                                                                                            questioned [4] -
                                       98:3, 101:16                 46:22, 46:24, 110:2      psychologically [1] -
             88:21, 92:11                                                                                                13:19, 22:6, 30:18,
                                      points [4] - 38:8, 64:6,     previously [3] - 87:14,    53:25
            performs [1] - 63:24                                                                                         75:19
                                       101:12, 101:16               89:20, 105:6             psychologist [8] -
            perhaps [1] - 96:9                                                                                          questioning [1] -
                                      poor [1] - 61:23             private [2] - 8:20,        20:11, 35:2, 40:8,
            period [3] - 35:5,                                                                                           87:13
                                      poorly [3] - 61:16,           33:14                     63:25, 64:17, 65:17,
             69:25, 74:8                                                                                                questionnaire [2] -
                                       62:1, 92:11                 probability [18] -         66:10, 67:6
            permanent [8] - 38:4,                                                                                        97:21, 98:7
                                      portion [3] - 41:22,          72:10, 81:10, 81:16,     psychologists [3] -
             101:4, 101:10,                                                                                             questions [13] - 12:25,
                                       46:4, 84:12                  82:11, 85:15, 86:9,       35:14, 35:22, 41:3
             101:22, 102:4,                                                                                              13:1, 28:4, 28:10,
                                      position [5] - 9:1,           87:7, 90:3, 93:5,        psychology [4] - 6:8,
             102:9, 102:20,                                                                                              28:13, 28:14, 28:15,
                                       9:11, 30:22, 36:13,          93:23, 95:11, 99:20,      11:2, 34:24, 35:24
             109:17                                                                                                      52:11, 78:17, 84:8,
                                       36:21                        101:3, 101:21,           psychomotor [1] -
            Permanente [4] -                                                                                             103:21, 104:1,
                                      positioned [1] - 96:1         102:8, 103:6,             57:16


39 of 43 sheets                                                      Page 10 to 10 of 14                                           05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 40 of 43
                                                                                        11


           105:10                     88:20                    Redweld [1] - 96:23         74:18, 74:24, 75:7,       78:25, 95:7, 95:8,
          quick [2] - 5:14, 56:12    rear [1] - 47:19          reference [1] - 114:13      75:8, 75:10, 75:25,       96:4, 104:19
          quickly [7] - 48:9,        rear-ended [1] - 47:19    referral [1] - 41:5         76:6, 76:7, 77:7,        reviewing [1] - 14:21
           58:2, 58:5, 58:12,        reason [1] - 69:13        referred [1] - 9:6          77:16, 78:4, 78:23,      revised [6] - 63:10,
           58:18, 59:5, 59:12        REASON [1] - 115:6        referring [3] - 94:11,      78:25, 79:1, 79:3,        71:10, 71:17, 71:18,
          quiet [1] - 51:13          reasonable [12] - 86:8,    94:13, 105:22              80:1, 81:18, 82:20,       71:20, 72:12
          quite [3] - 37:8, 46:1,     87:6, 93:4, 93:22,       refresh [1] - 104:5         83:10, 84:9, 87:19,      Revised [1] - 70:25
           56:2                       95:10, 99:19, 101:3,     refundable [2] - 6:14,      89:16, 89:24, 90:17,     revisions [1] - 98:1
          quotation [1] - 24:18       101:20, 102:7,            8:12                       91:11, 92:24, 95:23,     reworked [1] - 72:11
          quote [5] - 24:17,          103:5, 109:15,           regard [6] - 93:12,         96:8, 96:20, 97:4,       Richard [2] - 86:9,
           24:19, 24:20, 24:22,       110:12                    94:4, 95:18, 99:24,        97:7, 97:18, 98:2,        87:7
           26:3                      reasoning [1] - 60:7       103:14, 109:24             99:2, 104:22, 111:5      room [1] - 54:6
          quote -unquote [1] -       reasons [2] - 89:12,      regarding [17] - 14:12,   reported [1] - 89:8        ROTHSTEIN [2] - 2:2,
           24:19                      115:4                     14:23, 19:17, 53:22,     REPORTER [1] -              114:6
          quoted [3] - 20:14,        rebuttal [1] - 87:15       66:3, 66:24, 67:20,        111:1                    royalties [1] - 73:13
           74:18, 74:23              receive [2] - 75:21,       77:10, 87:14, 88:4,      Reporter [3] - 1:20,       RULE [1] - 115:2
          quotes [1] - 25:2           77:21                     88:6, 89:16, 89:17,        111:5, 111:15            rule [1] - 84:3
                                     received [2] - 14:13,      95:23, 104:25,           REPORTING [1] -            Rule [1] - 87:20
                     R                14:19                     105:7, 105:14              114:1                    RUSSELL [10] - 1:11,
                                     receives [1] - 73:12      Regina [1] - 71:5         reports [2] - 33:7,         1:17, 2:16, 3:2,
                                     receiving [1] - 77:18     regular [2] - 32:5,         76:14                     111:6, 112:8,
          race [2] - 73:21, 73:23                                                        represent [1] - 3:10
                                     receptive [1] - 52:6       32:14                                                113:14, 114:5,
          ramble [1] - 29:25                                                             represented [1] - 11:5
                                     recess [3] - 5:18,        reiterate [1] - 32:22                                 114:12, 115:24
          rambled [1] - 29:9                                                             Republic [1] - 70:7
                                      56:15, 97:12             relate [1] - 15:12                                   Russell [22] - 3:8,
          rambling [7] - 29:17,                                related [1] - 103:8       requested [1] - 111:6
                                     reclusive [1] - 29:5                                                            3:17, 3:18, 10:17,
           29:18, 30:2, 30:10,                                                           required [2] - 33:24,
                                     recommend [1] - 64:1      relates [1] - 89:21                                   10:24, 28:9, 33:3,
           30:14, 52:13, 55:19                                                             52:18
                                     recommendation [5] -      relating [2] - 16:1,                                  46:11, 56:17, 63:9,
          range [1] - 90:9                                                               research [17] - 9:20,       70:24, 71:4, 71:22,
                                      37:16, 37:24, 63:13,      16:7
          rarely [1] - 29:4                                                                51:8, 56:3, 73:24,        71:23, 73:12, 75:3,
                                      67:4, 67:8               relation [1] - 71:24
          rates [1] - 85:25                                                                74:14, 75:7, 76:4,        78:22, 82:21, 84:20,
                                     recommendations           relative [2] - 111:9,
          rather [1] - 32:25                                                               81:12, 84:1, 85:5,        97:16, 105:9, 110:16
                                      [11] - 37:13, 38:16,      111:9
          rating [2] - 82:6, 91:5     38:19, 40:4, 40:15,                                  85:9, 92:16, 92:24,      russell [1] - 73:5
                                                               released [4] - 75:1,
          ratings [2] - 82:18,        63:18, 65:13, 66:3,       100:11, 100:17,            94:6, 94:7, 100:24       Russell 's [1] - 28:7
           88:25                      66:24, 77:10, 96:15       100:19                   resignation [1] - 31:4
          raw [4] - 76:8, 77:21,                                                         respect [1] - 87:9
                                     recommended [2] -         remember [13] -                                                S
           79:16, 79:19               79:18, 98:2               16:18, 19:9, 22:2,       responds [1] - 64:18
          RE [1] - 114:10            Record [1] - 114:25        42:12, 42:16, 43:12,     response [2] - 79:16,
          read [20] - 6:25, 14:17,                                                         79:20                    sad [1] - 50:18
                                     record [11] - 3:16,        45:2, 46:9, 70:2,
           15:10, 19:2, 24:6,                                                            rest [2] - 38:7, 60:15     SALLY [10] - 1:11,
                                      5:17, 42:14, 42:21,       70:3, 77:17, 93:19,
           31:14, 31:15, 43:11,                                                          result [6] - 13:18,         1:17, 2:16, 3:2,
                                      56:14, 97:11, 97:14,      96:22
           43:16, 43:22, 48:5,                                                             93:6, 93:14, 94:12,       111:6, 112:8,
                                      106:9, 106:11,           remembered [1] -
           51:7, 51:24, 69:10,                                                             95:12, 95:20              113:14, 114:5,
                                      106:13, 111:7             108:5
           81:18, 90:6, 110:18,                                                          results [4] - 61:14,        114:12, 115:24
                                     records [34] - 6:24,      remembers [1] - 13:15
           110:20, 113:6,                                                                  62:4, 86:10, 87:8        Sally [1] - 3:17
                                      9:19, 13:24, 14:6,       rendered [2] - 75:10,
           115:21                                                                        retained [5] - 4:2, 4:5,   San [1] - 27:6
                                      14:11, 14:12, 14:15,      87:16
          readily [1] - 52:16                                                              4:8, 11:17, 11:19        saw [8] - 16:6, 19:13,
                                      14:21, 15:10, 15:22,     rent [1] - 27:7
          reading [20] - 4:18,                                                           retainer [6] - 3:23,        19:23, 42:7, 67:20,
                                      16:3, 16:7, 18:4,        repeat [1] - 56:23
           6:14, 6:17, 6:18,                                                               6:15, 7:3, 7:22, 8:4,     104:3, 104:9, 104:10
                                      19:1, 19:5, 19:14,       report [75] - 4:19,
           6:22, 6:23, 7:2, 7:3,      19:15, 21:18, 27:10,                                 8:12                     scale [2] - 79:20,
                                                                6:16, 6:25, 8:21,
           7:4, 7:13, 7:22, 8:2,      28:8, 28:22, 32:25,                                retraumatized [1] -         80:17
                                                                8:22, 9:20, 12:21,
           8:12, 8:21, 9:19,          41:17, 41:22, 42:2,                                  23:25                    scans [2] - 74:21,
                                                                14:6, 14:8, 14:9,
           14:4, 60:12, 60:22,        42:8, 43:7, 46:2,                                  review [17] - 7:13,         100:24
                                                                14:19, 16:22, 17:8,
           60:24, 114:19              46:4, 47:15, 48:5,                                   7:14, 8:2, 8:3, 9:19,    scare [1] - 37:23
                                                                17:18, 20:15, 23:16,
          realize [1] - 11:10         51:25, 77:19                                         14:11, 14:15, 28:7,      scary [1] - 25:9
                                                                23:18, 23:23, 24:16,
          really [17] - 11:12,       recounted [1] - 21:20      27:5, 28:1, 28:7,          33:1, 41:21, 42:8,       schedule [1] - 5:7
           15:13, 17:9, 20:4,        recounting [2] -           30:3, 40:23, 47:17,        42:13, 45:12, 69:21,     School [1] - 72:6
           21:17, 22:1, 25:16,        29:12, 62:22              50:16, 51:8, 52:3,         84:21, 95:22, 111:6      school [1] - 48:14
           25:17, 27:18, 32:12,      recovery [2] - 46:16,      56:18, 62:6, 63:12,      reviewed [12] - 13:23,     scientific [4] - 63:6,
           32:15, 39:20, 43:2,        48:20                     64:11, 67:10, 67:19,       15:6, 41:16, 44:22,       81:12, 88:24, 89:1
           44:20, 45:23, 68:24,      red [2] - 58:10            68:12, 74:7, 74:11,        46:2, 75:5, 78:23,       scientifically [1] -


05/20/2019 12:26:12 AM                                           Page 11 to 11 of 14                                                    40 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 41 of 43
                                                                                        12


             80:23                     September [1] - 23:18      shortly [1] - 23:3          40:9, 41:7, 44:9           72:10, 81:8, 82:15,
            scientist [1] - 100:18     sequencing [1] - 60:6      shoulder [1] - 47:23       somewhat [2] - 59:6,        89:5, 90:8
            scientists [1] - 74:21     series [1] - 46:19         show [5] - 51:9, 56:3,      102:19                    status [1] - 39:1
            scope [8] - 79:4,          seriousness [1] -           90:6, 105:13, 105:21      somewhere [7] - 24:6,      steadily [2] - 52:20,
             79:10, 84:25, 86:12,       47:13                     showed [1] - 50:25          29:8, 51:20, 96:2,         54:13
             86:17, 87:11, 88:7,       serve [1] - 10:7           showing [3] - 59:11,        104:4, 104:10, 106:5      stenographic [1] -
             89:18                     service [2] - 35:9,         72:22, 86:3               soon [2] - 26:13,           111:7
            score [11] - 60:9,          35:13                     shown [1] - 94:6            26:21                     stenographically [1] -
             79:16, 79:18, 79:20,      Services [5] - 71:1,       shows [3] - 73:25,         soothsayer [1] - 67:16      111:5
             80:2, 85:15, 85:17,        71:6, 72:8, 72:20,         74:14, 92:25              sorry [1] - 58:25          still [11] - 8:23, 21:21,
             85:23, 86:4, 86:22,        73:11                     sides [1] - 58:10          sort [1] - 24:6             24:15, 36:20, 39:16,
             91:8                      services [2] - 6:10, 7:6   signature [1] - 114:15     sounds [1] - 48:10          51:16, 68:17, 73:12,
            scored [1] - 87:8          serving [7] - 3:20,        signed [1] - 98:13         South [4] - 1:12, 2:3,      74:12, 76:7, 77:13
            scores [5] - 82:18,         8:15, 9:25, 10:5,         significance [3] -          2:11, 114:7               stop [1] - 54:5
             82:19, 84:10, 89:24,       10:9, 10:21, 11:4          20:10, 50:2, 57:5         SOUTHERN [1] - 1:2         stopped [3] - 22:12,
             89:25                     session [1] - 52:2         significant [3] - 20:13,   span [4] - 56:20,           22:13, 36:22
            scoring [5] - 6:15, 8:1,   sessions [4] - 52:18,       54:10, 67:24               56:22, 57:3, 57:20        Street [2] - 2:7, 114:1
             57:6, 72:15, 89:1          52:21, 52:24, 105:4       significantly [1] -        specific [5] - 16:5,       strength [1] - 70:10
            scratch [2] - 59:2,        set [9] - 63:11, 64:22,     86:24                      63:17, 77:10,             Stress [2] - 94:19,
             59:4                       70:18, 71:2, 71:12,       signing [1] - 114:19        100:19, 105:14             94:22
            seal [1] - 112:10           72:1, 72:13, 73:19,       signs [2] - 107:13,        specifically [4] - 20:5,   stress [24] - 16:9,
            search [5] - 57:13,         113:9                      107:14                     23:13, 24:7, 28:8          16:12, 16:14, 16:17,
             57:19, 58:20, 58:22,      setting [2] - 51:5,        SIMS [3] - 2:20, 79:24,    speed [2] - 57:17, 59:8     16:23, 17:4, 17:5,
             59:7                       51:13                      80:12                     speeded [1] - 57:19         17:9, 17:15, 20:14,
            secluding [1] - 69:13      several [3] - 54:21,       simultaneously [1] -       split [2] - 5:12, 44:15     20:23, 33:10, 36:4,
            seclusive [1] - 68:23       55:25, 71:16               80:7                      spread [3] - 4:24, 5:1,     38:8, 51:3, 64:5,
            second [4] - 17:6,         severe [14] - 60:11,       Sincerely [1] - 114:22      5:3                        67:24, 75:2, 100:12,
             24:16, 44:15, 55:5         61:18, 74:22, 92:19,      singer [5] - 82:12,        spun [1] - 47:20            100:14, 100:20,
            section [3] - 28:6,         93:1, 93:6, 93:13,         89:22, 91:20, 92:14,      SS [2] - 111:3, 113:2       101:12, 101:15,
             105:14, 105:21             93:20, 93:23, 94:12,       92:20                     St [1] - 30:19              102:12
            security [1] - 70:11        100:20, 101:9,            singer 's [2] - 78:25,     stable [1] - 101:14        stressed [1] - 51:12
            see [38] - 6:13, 7:1,       102:15, 105:2              89:16                     staff [1] - 11:2           stresses [1] - 20:16
             13:4, 15:3, 16:1,         severely [2] - 57:3,       sit [6] - 33:25, 55:25,    stand [2] - 44:9, 70:22    stressful [1] - 46:19
             19:6, 19:15, 21:14,        64:20                      75:17, 75:23, 76:13,      standard [2] - 91:23,      stressor [2] - 38:4,
             22:6, 26:11, 31:13,       sexually [1] - 49:18        77:24                      92:2                       47:10
             34:14, 34:18, 40:2,       SH [1] - 24:18             situation [1] - 32:12      standardized [1] -         stressors [4] - 37:18,
             40:25, 42:1, 42:13,       shaken [1] - 54:7          six [3] - 14:4, 74:20,      92:23                      38:3, 46:22, 46:24
             44:7, 58:17, 60:25,       shall [4] - 106:13,         84:4                      standing [1] - 88:14       strike [7] - 21:8, 28:4,
             69:23, 70:4, 70:11,        114:19, 114:20,           slightly [1] - 102:16      standpoint [1] - 54:11      28:15, 32:23, 87:13,
             70:16, 77:3, 83:2,         115:3                     slow [1] - 106:22          stands [1] - 70:23          87:20, 105:5
             84:9, 84:12, 89:11,       shape [1] - 95:4           smoker [1] - 22:8          Starkey [1] - 71:5         struck [1] - 23:11
             91:12, 96:5, 98:4,        share [1] - 40:23          so.. [1] - 101:1                                      structure [1] - 79:24
                                                                                             start [3] - 10:13,
             98:15, 100:23,            sheet [2] - 3:23, 3:25     social [5] - 23:6, 25:2,                              structured [2] - 87:1,
                                                                                              10:20, 58:11
             100:25, 106:2, 109:6      SHEET [1] - 115:1           25:18, 35:9, 35:12                                    89:7
                                                                                             started [3] - 10:25,
            seeing [1] - 18:19         ship [19] - 17:25,         sold [2] - 72:22, 73:14                               structures [5] - 92:25,
                                                                                              36:16, 36:19
            seizures [2] - 15:24,       18:12, 18:25, 19:17,      solution [1] - 38:22                                   95:5, 100:22,
                                                                                             starting [1] - 23:17
             48:4                       22:12, 23:4, 29:14,                                                              100:23, 101:1
                                                                  someone [31] - 13:4,       STATE [3] - 111:2,
            sell [2] - 27:13, 73:15     32:20, 41:18, 62:11,       16:11, 16:19, 17:3,                                  struggled [1] - 17:23
                                                                                              112:3, 113:2
            sense [2] - 46:14,          93:7, 93:15, 95:13,        17:19, 23:10, 24:21,                                 students [1] - 36:2
                                                                                             state [6] - 3:16, 29:11,
             61:22                      95:21, 103:9,              33:15, 34:18, 40:24,                                 styled [1] - 114:13
                                                                                              33:25, 49:8, 92:21,
            sensitive [6] - 57:17,      103:17, 104:3,             44:5, 46:18, 50:9,         93:15                     subject [2] - 19:16,
             59:16, 60:17, 82:9,        109:19, 110:9              51:3, 51:9, 53:14,                                    21:12
                                                                                             State [3] - 1:21,
             90:11, 99:25              shock [1] - 43:3            54:9, 56:23, 61:23,                                  subscribed [1] -
                                                                                              112:16, 113:19
            sensory [5] - 13:1,        shoots [1] - 24:21          62:5, 74:15, 75:2,                                    113:16
                                                                                             statement [2] - 90:12,
             54:1, 54:20, 99:15,       short [6] - 5:18, 55:12,    86:3, 92:19, 93:1,                                   substance [1] - 115:3
                                                                                              115:4
             99:21                      56:15, 83:23, 83:24,       100:7, 100:11,                                       substituting [1] -
                                                                                             STATES [1] - 1:1
            sent [1] - 4:18             97:12                      101:14, 103:2,                                        86:19
                                                                                             statistical [1] - 82:16
            sentence [1] - 68:11       shorter [1] - 39:23         104:17, 106:22                                       substitution [2] -
                                                                                             statisticians [2] -
            separate [2] - 74:1,       SHORTHAND [1] -            sometimes [7] - 9:18,                                  84:18, 84:23
                                                                                              71:7, 72:9
             115:4                      111:1                      11:12, 21:15, 38:2,                                  subtest [4] - 58:20,
                                                                                             statistics [6] - 71:18,

41 of 43 sheets                                                     Page 12 to 12 of 14                                              05/20/2019 12:26:12 AM
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 42 of 43
                                                                                        13


           59:22, 60:16, 85:6       talks [3] - 39:2, 80:1,      55:13, 55:14, 55:25,     106:10, 108:22,           Trauma [3] - 94:15,
          subtests [4] - 57:11,       83:10                      56:18, 56:21, 60:15,     109:11, 110:24              94:24, 95:2
           59:14, 59:16, 85:24      task [3] - 56:6, 57:19,      61:19, 71:9, 72:16,    they've [6] - 37:17,        traumatic [2] - 95:12,
          sue [1] - 31:2              59:7                       77:20, 81:19, 83:15,     37:18, 37:19, 38:25,        95:19
          suffer [1] - 15:22        tasks [2] - 52:25, 56:4      83:16, 84:4, 88:1,       49:10, 83:25              Traumatic [1] - 94:19
          suffered [6] - 16:8,      tears [2] - 82:3, 82:5       88:18, 88:19, 88:21,   third [2] - 32:2, 33:24     treat [3] - 9:12, 36:14,
           62:7, 62:10, 62:21,      technician [1] - 54:2        89:13, 90:15           threat [1] - 31:1             38:11
           74:5, 110:3              telephone [1] - 114:17     tests [31] - 13:5,       threatened [1] - 30:24      treatable [2] - 38:1,
          suffering [7] - 15:10,    temper [1] - 68:23           53:18, 54:16, 56:1,    three [10] - 5:22,            38:2
           27:23, 29:4, 36:9,       ten [11] - 33:11, 33:17,     56:25, 57:13, 57:14,     10:25, 11:13, 36:5,       treated [8] - 9:3, 33:9,
           53:4, 93:6, 93:13          33:21, 34:25, 35:1,        59:10, 60:8, 61:11,      64:3, 71:6, 83:5,           33:13, 35:3, 36:9,
          suggest [2] - 40:7,         35:4, 36:23, 39:20,        61:12, 61:15, 61:20,     83:16, 83:24, 86:23         38:10, 38:20, 39:9
           114:16                     53:13, 55:4, 55:7          61:24, 71:8, 71:19,    throughout [6] - 29:9,      treater [1] - 33:21
          suitable [1] - 114:17     ten-minute [1] - 53:13       73:25, 74:2, 81:8,       29:10, 29:17, 30:2,       treaters [2] - 67:5,
          Suite [4] - 1:12, 2:7,    ten-year [1] - 35:4          81:14, 81:23, 82:8,      52:21, 54:13                67:15
           2:11, 114:2              tensions [1] - 49:10         83:23, 84:22, 84:23,   throw [2] - 101:13,         treating [11] - 18:15,
          summation [1] - 59:10     term [3] - 39:23,            89:10, 90:9, 90:10,      101:17                      18:24, 33:16, 33:17,
          supervised [2] - 35:2,      93:19, 102:17              91:10, 92:6            ticket [1] - 50:4             36:6, 36:20, 36:24,
           36:2                     terminated [1] - 30:24     Thanksgivings [1] -      timecard [1] - 30:25          39:15, 40:22, 41:2,
          supervision [2] -         termination [2] - 31:4,      69:12                  timed [3] - 56:6,             41:9
           33:24, 40:9                31:5                     THE [67] - 2:2, 2:10,      59:11, 60:16              treatment [20] - 9:2,
          supervisor [1] - 36:1     terms [7] - 10:6,            3:5, 5:19, 11:18,      TO [1] - 114:5                9:5, 13:11, 14:13,
          supplemental [1] -          15:17, 38:16, 40:17,       11:22, 12:5, 20:3,     Tobias [2] - 43:11,           36:6, 36:16, 36:23,
           76:14                      46:15, 48:19, 104:6        21:1, 25:15, 28:21,      106:7                       37:2, 37:9, 38:16,
          suppose [1] - 51:21                                    31:22, 34:9, 34:16,    today [10] - 8:17, 10:8,      38:18, 38:23, 39:5,
                                    terrible [1] - 26:10
          suppressions [1] -                                     39:13, 42:16, 44:18,     11:24, 75:11, 75:17,        39:23, 39:25, 40:4,
                                    test [47] - 9:1, 9:12,
           54:4                                                  49:5, 49:25, 62:13,      75:23, 76:11, 76:13,        40:17, 41:6, 41:9,
                                      36:14, 37:10, 37:14,
                                                                 62:25, 63:22, 64:15,     77:24, 87:18                77:11
          surgery [1] - 35:20         51:14, 52:16, 53:13,
                                                                 65:7, 65:17, 66:7,     today 's [3] - 8:8, 75:4,   treatments [3] - 39:8,
          surprised [1] - 70:8        53:17, 53:22, 53:24,
                                                                 66:17, 67:3, 67:13,      78:5                        39:18, 39:22
          surprisingly [1] - 73:2     54:2, 54:3, 54:7,
                                                                 72:19, 75:15, 76:3,    together [6] - 19:21,       trial [3] - 75:20,
          sustain [1] - 95:19         54:8, 54:19, 55:2,
                                                                 76:21, 79:5, 79:11,      26:18, 55:25, 78:15,        108:11, 108:19
          sustained [2] - 95:11,      56:20, 57:6, 57:18,
                                                                 83:9, 85:1, 86:13,       81:15, 115:22             tried [5] - 19:19,
           109:16                     57:22, 58:7, 58:19,
                                                                 86:18, 87:21, 88:1,                                  19:21, 24:5, 25:6,
          switched [1] - 19:12        59:8, 59:20, 59:23,                               TOMM [1] - 92:1
                                                                 88:9, 88:18, 89:19,                                  26:11
          sworn [2] - 3:4, 112:9      60:12, 60:22, 60:24,                              Tonya [1] - 2:8
                                                                 89:23, 91:4, 93:9,                                 tries [1] - 84:2
          Sworn [1] - 113:16          61:14, 62:4, 63:6,                                took [5] - 30:8, 53:8,
                                                                 94:1, 95:15, 96:12,                                trips [3] - 69:4, 69:14,
          symbol [11] - 57:12,        70:19, 72:3, 76:8,                                  80:20, 89:2, 114:20
                                                                 96:18, 96:21, 97:1,                                  70:13
           57:16, 57:18, 57:22,       79:17, 81:3, 81:4,                                top [1] - 57:24
                                                                 97:6, 98:19, 100:6,
           57:25, 58:1, 58:6,         81:11, 83:25, 85:12,                              topic [3] - 29:21,          trouble [1] - 57:9
                                                                 101:24, 102:4,
           58:20, 58:22, 59:6         86:10, 91:15, 91:25,                                29:22, 30:12              true [3] - 111:7, 113:8,
                                                                 102:11, 103:11,
          symbol -coding [4] -        99:15, 99:21                                      total [2] - 6:1, 80:2         115:23
                                                                 103:16, 104:9,
           57:12, 57:16, 57:22,     testable [1] - 4:15                                 touch [2] - 54:2, 54:9      try [1] - 19:8
                                                                 109:21, 110:1,
           58:6                     tested [3] - 14:18,                                 touching [4] - 54:20,       trying [8] - 9:9, 26:9,
                                                                 110:17, 110:20,
          symptom [5] - 79:11,        37:8, 40:24                                         100:2, 100:4, 100:8         29:2, 31:15, 32:7,
                                                                 110:23
           80:14, 86:25, 87:8,      testified [2] - 3:4,                                towards [2] - 8:12,           32:16, 98:4, 106:6
                                                               them .. [1] - 115:5
           89:6                       108:11                                              32:4                      TSI [1] - 89:6
                                                               themselves [1] - 89:10
          symptomatology [3] -      Testimony [1] - 2:22                                Tower [1] - 2:6             TSI-2 [1] - 2:20
                                                               therapist [1] - 14:16
           79:25, 87:2, 89:8        testimony [2] - 87:14,                              trails [1] - 83:12          Tucker [3] - 43:13,
                                                               therapists [1] - 65:24
          symptoms [5] - 79:15,       108:1                                             transcribed [1] -             43:19, 106:7
                                                               therapy [21] - 33:18,
           80:6, 107:3, 107:13,     testing [54] - 4:14,                                  114:15                    tucker 's [1] - 43:16
                                                                 34:2, 35:1, 35:11,
           107:14                     4:16, 4:21, 4:24, 5:4,                            transcript [8] - 44:23,     two [35] - 5:6, 5:20,
                                                                 35:15, 35:23, 36:1,
          System [1] - 70:25          6:1, 8:1, 8:22, 9:16,                               45:13, 111:6, 111:7,        5:21, 5:23, 6:3, 6:15,
                                                                 36:17, 37:20, 37:22,
          system [2] - 63:10,         9:18, 15:13, 33:6,                                  113:7, 114:14,              7:4, 10:24, 11:12,
                                                                 39:16, 52:1, 65:3,
           81:22                      33:16, 35:11, 36:6,                                 114:20, 115:21              12:16, 12:19, 22:11,
                                                                 65:14, 65:20, 65:21,
                                      36:17, 36:19, 36:20,                              trash [2] - 24:24,            22:20, 26:4, 26:16,
                                                                 66:23, 67:1, 67:11,
                                      40:3, 40:19, 50:22,                                                             27:6, 35:13, 35:22,
                      T                                          77:11, 102:17
                                                                                          25:11
                                      50:25, 51:5, 52:18,                               trauma [8] - 15:22,           55:9, 55:11, 55:18,
                                                               Thereupon [11] - 3:1,
                                      52:21, 52:24, 53:6,                                 47:9, 47:21, 79:11,         58:10, 58:25, 63:6,
          table [3] - 23:12,                                     5:18, 56:15, 78:9,
                                      53:9, 53:10, 54:5,                                  80:13, 86:25, 87:8,         68:10, 69:12, 76:8,
            23:21, 24:8                                          83:7, 97:12, 99:11,
                                      54:13, 54:22, 55:9,                                 89:6                        80:14, 91:8, 92:6,


05/20/2019 12:26:12 AM                                           Page 13 to 13 of 14                                                      42 of 43 sheets
      Case 1:18-cv-21914-RNS Document 31-8 Entered on FLSD Docket 05/21/2019 Page 43 of 43
                                                                                        14


              92:23, 99:9, 102:15      109:3, 109:4, 109:6,                                 75:15, 76:3, 76:21,       yesterday [1] - 75:6
                                                                           W
            two-hour [2] - 12:19,      109:7                                                79:5, 79:11, 83:9,        yourself [2] - 6:5,
              55:18                   ups [1] - 78:21                                       85:1, 86:13, 86:18,        100:16
            type [3] - 59:7, 65:14,   upset [5] - 29:7,          WAIS [18] - 59:20,         87:21, 88:1, 88:9,        YOURSELF [1] -
              66:13                    29:24, 51:11, 52:13,       80:16, 80:20, 80:21,      88:18, 89:19, 89:23,       114:13
            types [1] - 35:23          56:8                       81:12, 84:19, 85:4,       91:4, 93:9, 94:1,
                                                                  85:7, 85:11, 85:13,       95:15, 96:12, 96:18,
            typical [3] - 52:17,      uses [4] - 21:21,                                                                          Z
              53:8, 56:2               73:10, 84:15, 85:3         85:25, 86:1, 86:2,        96:21, 97:1, 97:6,
                                                                  86:20, 89:3, 89:4         98:19, 100:6,
                                                                 WAIS -III [9] - 59:20,     101:24, 102:4,            Zablotny [1] - 18:18
                       U                          V                                                                   Zealand [1] - 73:5
                                                                  80:16, 80:20, 85:4,       102:11, 103:11,
                                                                  85:11, 85:25, 89:3        103:16, 104:9,
            UCSF [1] - 15:6           VA [9] - 11:1, 33:13,      WAIS -IV [9] - 80:21,      109:21, 110:1,
            umbilical [1] - 15:14      33:21, 36:5, 36:7,         81:12, 84:19, 85:7,       110:17, 110:20,
            unable [2] - 31:14,        38:10, 38:12, 72:5         85:13, 86:1, 86:2,        110:23, 112:10
             68:13                    vacation [1] - 70:6         86:20, 89:4              witness [16] - 3:3,
            unclear [1] - 108:1       vacations [2] - 69:4,      waiting [1] - 76:7         3:20, 7:6, 8:16, 9:25,
            under [14] - 20:14,        70:15                     waive [1] - 110:19         10:5, 10:14, 10:22,
             33:15, 35:21, 40:9,      valid [4] - 80:23,         waived [1] - 114:19        10:24, 11:4, 37:12,
             51:3, 52:4, 58:4,         81:20, 82:23, 88:23       walk [1] - 48:1            40:3, 41:2, 43:10,
             75:2, 76:23, 87:20,      validated [3] - 63:6,      wall [2] - 34:12, 34:15    115:3, 115:4
             98:20, 100:20,            85:21, 86:20              wants [2] - 13:12,        woke [1] - 47:22
             105:16, 114:14           validity [5] - 61:12,       115:3                    woman [2] - 20:15,
            underlined [1] - 75:6      72:10, 79:16, 81:5,       weakness [1] - 48:2        43:3
            underneath [2] -           81:9                      wean [1] - 19:8           women [1] - 74:1
             57:24, 58:2              Valium [4] - 18:21,        Wechsler [2] - 60:24,     won [1] - 31:3
            undersigned [1] -          18:24, 19:8, 19:11         80:17                    words [5] - 40:7,
             112:7                    value [1] - 45:24          week [2] - 26:2, 84:5      40:13, 85:2, 99:3,
            understood [4] - 8:13,    Vanderhoof [2] -           weekend [1] - 22:16        106:22
             53:21, 91:19, 91:20       14:16, 51:25              weekends [2] - 22:9,      world [1] - 25:9
            undisclosed [4] -         vanderhoof 's [1] -         22:18                    worried [1] - 25:20
             87:14, 88:7, 89:21,       104:20                    weeks [3] - 26:4,         worrying [1] - 24:20
             105:6                    variable [1] - 43:6         26:16, 76:9              worse [2] - 17:6, 32:21
            unethical [1] - 40:20     variables [2] - 39:4,      welcome [2] - 110:17,     would 've [1] - 55:16
            unfamiliar [1] - 100:2     39:24                      110:23                   WPS [1] - 2:21
            Unfortunately [1] -       Vegas [2] - 69:11,         well -documented [1] -    write [1] - 73:6
             67:22                     70:12                      18:10                    writing [3] - 4:19,
            UNITED [1] - 1:1          verbal [1] - 9:19          West [2] - 2:7, 114:1      9:21, 76:7
            University [4] - 34:17,   verbally [1] - 30:24       Western [4] - 70:25,      written [3] - 9:20,
             35:24, 36:3, 72:6        version [1] - 71:9          71:5, 72:7, 73:10         47:2, 85:5
            university [1] - 34:23    versus [2] - 10:8,         western [1] - 72:20
            unless [2] - 57:2,         107:14                    whiplash [1] - 74:15                 Y
             60:11                    veterans [1] - 38:12       white [2] - 58:10,
            unlike [2] - 51:7, 73:8   Victor [3] - 2:12, 3:9,     58:11
            unquote [1] - 24:19        78:11                                               year [10] - 33:22,
                                                                 whole [5] - 47:5,
            unscientific [2] -        visibly [2] - 29:7, 54:6                              33:23, 33:24, 34:23,
                                                                  55:20, 57:18, 85:12,
             80:24, 81:2              visit [2] - 69:24, 70:12                              35:4, 36:22, 68:10,
                                                                  85:22
            unusual [2] - 56:10,      visited [2] - 69:11,                                  73:2, 77:13, 84:7
                                                                 wine [5] - 22:9, 22:15,
             79:14                     70:2                                                years [30] - 9:4, 10:12,
                                                                  22:17, 22:22, 44:19
            up [19] - 5:12, 7:10,     Vitae [1] - 2:23                                      10:15, 10:18, 10:25,
                                                                 Witness [1] - 2:22
             7:20, 8:6, 17:10,        vitae [1] - 108:25                                    19:2, 22:8, 28:2,
                                                                 WITNESS [66] - 3:5,
             17:18, 20:20, 30:22,     vocabulary [2] -                                      30:23, 33:11, 33:21,
                                                                  5:19, 11:18, 11:22,
             31:2, 40:18, 44:9,        60:10, 60:13                                         34:25, 35:1, 35:4,
                                                                  12:5, 20:3, 21:1,
             47:3, 47:22, 52:23,      vocational [1] - 96:6                                 35:17, 36:5, 36:23,
                                                                  25:15, 28:21, 31:22,
             56:4, 61:17, 64:16,                                                            37:2, 37:5, 37:6,
                                      voicemail [1] - 31:1        34:9, 34:16, 39:13,
             64:17, 64:24                                                                   37:7, 39:20, 47:4,
                                      vs [1] - 1:6                42:16, 44:18, 49:5,
            upbringing [2] -                                                                71:16, 72:4, 73:24,
                                                                  49:25, 62:13, 62:25,
             38:24, 49:9                                                                    74:20, 85:8, 92:17,
                                                                  63:22, 64:15, 65:7,
            updated [7] - 108:16,                                                           94:9
                                                                  65:17, 66:7, 66:17,
             108:17, 109:1,                                                                years' [1] - 33:17
                                                                  67:3, 67:13, 72:19,


43 of 43 sheets                                                    Page 14 to 14 of 14                                           05/20/2019 12:26:12 AM
